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            EXHIBIT E
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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  10000518      Y           $32.94            $63.07              $75.33              $112.12             $69.03              $59.81             $148.26              $42.77             $337.89                $941.22
  10004416      Y           $10.61            $20.32              $24.27              $36.13              $22.24              $19.27             $47.77               $13.78             $108.87                $303.27
  10005480      Y            $0.57             $1.09               $1.30               $1.93               $1.19               $1.03              $2.55                $0.74              $5.82                 $16.20
  10010220      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10010831      Y            $7.21            $13.81              $16.49              $24.55              $15.11              $13.09             $32.46                $9.36             $73.97                 $206.06
  10011307      Y           $16.03            $30.69              $36.66              $54.56              $33.59              $29.10             $72.14               $20.81             $164.42                $458.00
  10011960      Y           $48.62            $93.10              $111.20             $165.49             $101.89             $88.29             $218.84              $63.13             $498.75               $1,389.30
  10012893      Y            $2.40             $4.60               $5.49               $8.17               $5.03               $4.36             $10.81                $3.12             $24.63                 $68.61
  10013040      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10014519      Y          $1,358.02         $2,600.07           $3,105.62           $4,621.93           $2,845.66           $2,465.73          $6,111.85            $1,763.00         $13,929.44             $38,801.32
  10016333      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10016546      Y           $51.31            $98.25              $117.35             $174.64             $107.53             $93.17             $230.94              $66.62             $526.34               $1,466.14
  10017828      Y          $1,400.05         $2,680.54           $3,201.74           $4,764.97           $2,933.73           $2,542.04          $6,301.00            $1,817.56         $14,360.53             $40,002.16
  10017984      Y           $222.57           $426.13             $508.99             $757.50             $466.38             $404.11           $1,001.69             $288.94           $2,282.93              $6,359.24
  10018387      Y           $38.15            $73.05              $87.25              $129.85             $79.95              $69.27             $171.71              $49.53             $391.34               $1,090.11
  10020101      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10021710      Y           $55.48            $106.23             $126.88             $188.83             $116.26             $100.74            $249.70              $72.03             $569.08               $1,585.22
  10023658      Y           $65.37            $125.16             $149.49             $222.48             $136.98             $118.69            $294.20              $84.86             $670.51               $1,867.75
  10025979      Y          $1,009.32         $1,932.44           $2,308.18           $3,435.14           $2,114.97           $1,832.60          $4,542.49            $1,310.31         $10,352.73             $28,838.18
  10026789      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94              $2.34                $0.68              $5.34                 $14.86
  10030328      Y          $1,737.19         $3,326.03           $3,972.74           $5,912.41           $3,640.19           $3,154.18          $7,818.33            $2,255.24         $17,818.65             $49,634.97
  10032690      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10032703      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10034455      Y            $6.24            $11.95              $14.27              $21.24              $13.08              $11.33             $28.09                $8.10             $64.02                 $178.34
  10034480      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10036326      Y           $154.31           $295.44             $352.88             $525.18             $323.34             $280.17            $694.47              $200.33           $1,582.77              $4,408.89
  10036547      Y            $2.36             $4.52               $5.40               $8.04               $4.95               $4.29             $10.63                $3.07             $24.23                 $67.48
  10038493      Y         $27,418.07        $52,494.77          $62,701.72          $93,315.56          $57,453.06          $49,782.43         $123,396.64          $35,594.51         $281,231.64            $783,388.40
  10038949      Y            $3.94             $7.54               $9.00              $13.39               $8.25               $7.15             $17.71                $5.11             $40.37                 $112.45
  10039503      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10043578      Y           $29.13            $55.77              $66.61              $99.13              $61.04              $52.89             $131.09              $37.81             $298.77                $832.24
  10046194      Y            $3.61             $6.90               $8.25              $12.27               $7.56               $6.55             $16.23                $4.68             $36.99                 $103.04
  10046607      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10049290      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10049487      Y            $8.78            $16.81              $20.07              $29.88              $18.39              $15.94             $39.51               $11.40             $90.04                 $250.81
  10050787      Y            $1.28             $2.45               $2.92               $4.35               $2.68               $2.32              $5.75                $1.66             $13.10                 $36.50
  10051902      Y           $22.54            $43.15              $51.54              $76.71              $47.23              $40.92             $101.44              $29.26             $231.19                $644.00
  10056467      Y            $1.40             $2.68               $3.20               $4.76               $2.93               $2.54              $6.29                $1.82             $14.34                 $39.95
  10056483      Y           $15.61            $29.89              $35.70              $53.14              $32.72              $28.35             $70.27               $20.27             $160.14                $446.08
  10058427      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10062890      Y            $2.84             $5.44               $6.50               $9.68               $5.96               $5.16             $12.80                $3.69             $29.17                 $81.24
  10063145      Y           $70.33            $134.66             $160.84             $239.37             $147.38             $127.70            $316.53              $91.31             $721.41               $2,009.52
  10063420      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  10064516      Y            $0.61             $1.17               $1.40               $2.08               $1.28               $1.11               $2.75               $0.79              $6.27                 $17.48
  10065318      Y            $2.29             $4.38               $5.23               $7.79               $4.80               $4.16              $10.30               $2.97             $23.47                 $65.39
  10066098      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  10066632      Y           $110.66           $211.87             $253.06             $376.62             $231.88             $200.92             $498.02             $143.66           $1,135.03              $3,161.70
  10066667      Y           $21.23            $40.64              $48.55              $72.25              $44.48              $38.54              $95.54              $27.56             $217.74                $606.53
  10073582      Y          $1,749.29         $3,349.20           $4,000.42           $5,953.60           $3,665.55           $3,176.16           $7,872.79           $2,270.96         $17,942.78             $49,980.75
  10074678      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  10075739      Y            $9.49            $18.17              $21.70              $32.30              $19.88              $17.23              $42.71              $12.32             $97.33                 $271.12
  10076700      Y            $1.39             $2.66               $3.17               $4.72               $2.91               $2.52               $6.24               $1.80             $14.23                 $39.63
  10076905      Y           $54.68            $104.70             $125.06             $186.11             $114.59             $99.29              $246.11             $70.99             $560.90               $1,562.43
  10076956      Y           $608.50          $1,165.03           $1,391.56           $2,070.98           $1,275.08           $1,104.84           $2,738.58            $789.96           $6,241.47             $17,386.01
  10077359      Y            $2.21             $4.23               $5.06               $7.52               $4.63               $4.01               $9.95               $2.87             $22.67                 $63.16
  10078401      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  10080430      Y           $116.22           $222.52             $265.79             $395.56             $243.54             $211.03             $523.07             $150.88           $1,192.13              $3,320.76
  10081917      Y            $4.16             $7.97               $9.52              $14.16               $8.72               $7.56              $18.73               $5.40             $42.68                 $118.89
  10083383      Y            $8.60            $16.46              $19.67              $29.27              $18.02              $15.61              $38.70              $11.16             $88.21                 $245.71
  10084215      Y           $43.35            $82.99              $99.12              $147.52             $90.83              $78.70              $195.08             $56.27             $444.60               $1,238.45
  10084800      Y            $7.28            $13.94              $16.65              $24.78              $15.26              $13.22              $32.77               $9.45             $74.69                 $208.06
  10087320      Y           $45.34            $86.80              $103.68             $154.30             $95.00              $82.32              $204.04             $58.86             $465.02               $1,295.34
  10087354      Y           $65.96            $126.29             $150.85             $224.50             $138.22             $119.77             $296.87             $85.63             $676.59               $1,884.69
  10087494      Y           $11.57            $22.16              $26.46              $39.39              $24.25              $21.01              $52.08              $15.02             $118.70                $330.65
  10087923      Y          $3,659.16         $7,005.84           $8,368.04          $12,453.70           $7,667.56           $6,643.86          $16,468.25           $4,750.37         $37,532.58             $104,549.36
  10088083      Y           $28.76            $55.07              $65.78              $97.89              $60.27              $52.22              $129.45             $37.34             $295.02                $821.79
  10091157      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  10095381      Y           $11.71            $22.41              $26.77              $39.84              $24.53              $21.26              $52.69              $15.20             $120.08                $334.49
  10096310      Y           $25.08            $48.03              $57.36              $85.37              $52.56              $45.54              $112.89             $32.56             $257.29                $716.69
  10097988      Y            $5.20             $9.96              $11.89              $17.70              $10.90               $9.44              $23.41               $6.75             $53.35                 $148.61
  10098259      Y           $14.76            $28.26              $33.76              $50.24              $30.93              $26.80              $66.44              $19.17             $151.42                $421.80
  10098909      Y         $13,627.90        $26,092.05          $31,165.32          $46,381.65          $28,556.52          $24,743.90          $61,333.18          $17,691.93         $139,783.63            $389,376.08
  10099034      Y           $17.95            $34.36              $41.04              $61.08              $37.61              $32.59              $80.77              $23.30             $184.08                $512.77
  10099425      Y           $11.23            $21.50              $25.68              $38.21              $23.53              $20.38              $50.53              $14.58             $115.16                $320.78
  10101187      Y           $222.79           $426.56             $509.50             $758.26             $466.85             $404.52            $1,002.70            $289.23           $2,285.23              $6,365.65
  10101861      Y            $3.32             $6.36               $7.59              $11.30               $6.96               $6.03              $14.94               $4.31             $34.06                 $94.88
  10103732      Y           $183.41           $351.16             $419.44             $624.23             $384.33             $333.02             $825.46             $238.11           $1,881.29              $5,240.44
  10105972      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  10107746      Y           $18.47            $35.37              $42.24              $62.87              $38.71              $33.54              $83.14              $23.98             $189.48                $527.80
  10108220      Y           $22.33            $42.74              $51.06              $75.98              $46.78              $40.54              $100.48             $28.98             $229.00                $637.88
  10108564      Y           $38.53            $73.77              $88.11              $131.14             $80.74              $69.96              $173.41             $50.02             $395.21               $1,100.90
  10108742      Y           $45.94            $87.95              $105.06             $156.35             $96.26              $83.41              $206.75             $59.64             $471.20               $1,312.55
  10109005      Y           $20.55            $39.34              $46.99              $69.93              $43.05              $37.30              $92.47              $26.67             $210.74                $587.03
  10110852      Y           $21.90            $41.94              $50.09              $74.55              $45.90              $39.77              $98.58              $28.44             $224.68                $625.86
  10112677      Y            $5.24            $10.03              $11.97              $17.82              $10.97               $9.51              $23.57               $6.80             $53.71                 $149.61
  10113312      Y            $0.78             $1.50               $1.79               $2.66               $1.64               $1.42               $3.52               $1.02              $8.02                 $22.35

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  10114386      Y            $0.40             $0.77              $0.93                $1.38               $0.85               $0.73              $1.82                $0.53              $4.15                 $11.56
  10115668      Y          $1,116.46         $2,137.58          $2,553.20            $3,799.79           $2,339.48           $2,027.13          $5,024.68            $1,449.40         $11,451.69             $31,899.40
  10115676      Y            $1.11             $2.12              $2.54                $3.78               $2.33               $2.01              $4.99                $1.44             $11.38                 $31.70
  10119485      Y            $4.16             $7.97              $9.52               $14.16               $8.72               $7.56             $18.73                $5.40             $42.68                 $118.89
  10121005      Y            $0.42             $0.80              $0.95                $1.42               $0.87               $0.75              $1.87                $0.54              $4.26                 $11.88
  10125272      Y            $0.00             $0.00           $405,818.63             $0.00               $0.00               $0.00              $0.00                $0.00              $0.00               $405,818.63
  10125337      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10126147      Y           $894.76          $1,713.11          $2,046.21            $3,045.26           $1,874.92           $1,624.60          $4,026.92            $1,161.59          $9,177.70             $25,565.06
  10126520      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10126651      Y           $15.84            $30.34             $36.23               $53.92              $33.20              $28.77             $71.31               $20.57             $162.52                $452.70
  10126988      Y           $12.09            $23.15             $27.65               $41.15              $25.34              $21.95             $54.42               $15.70             $124.02                $345.46
  10130659      Y            $7.02            $13.44             $16.06               $23.90              $14.71              $12.75             $31.60                $9.12             $72.02                 $200.63
  10135634      Y            $1.33             $2.55              $3.05                $4.53               $2.79               $2.42              $5.99                $1.73             $13.66                 $38.05
  10137890      Y           $20.81            $39.83             $47.58               $70.81              $43.60              $37.78             $93.64               $27.01             $213.41                $594.46
  10144994      Y            $4.24             $8.11              $9.69               $14.42               $8.88               $7.69             $19.07                $5.50             $43.46                 $121.07
  10150218      Y           $22.46            $43.00             $51.36               $76.44              $47.06              $40.78             $101.08              $29.16             $230.36                $641.69
  10153284      Y           $23.13            $44.28             $52.89               $78.72              $48.47              $41.99             $104.09              $30.03             $237.24                $660.84
  10154744      Y            $5.83            $11.15             $13.32               $19.83              $12.21              $10.58             $26.22                $7.56             $59.75                 $166.45
  10155767      Y           $27.39            $52.45             $62.65               $93.23              $57.40              $49.74             $123.29              $35.56             $280.99                $782.70
  10165487      Y            $0.00             $0.00              $0.00                $0.00               $0.00            $48,661.70         $120,618.66          $34,793.18         $274,900.37            $478,973.92
  10166220      Y           $58.30            $111.63            $133.33              $198.43             $122.17             $105.86            $262.39              $75.69             $598.02               $1,665.81
  10169407      Y           $44.18            $84.58             $101.03              $150.35             $92.57              $80.21             $198.82              $57.35             $453.13               $1,262.23
  10169431      Y            $0.17             $0.33              $0.40                $0.59               $0.36               $0.31              $0.78                $0.23              $1.78                  $4.95
  10169679      Y            $8.67            $16.60             $19.82               $29.50              $18.17              $15.74             $39.02               $11.25             $88.92                 $247.69
  10170782      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10171622      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  10171630      Y            $2.20             $4.21              $5.03                $7.48               $4.61               $3.99              $9.89                $2.85             $22.55                 $62.80
  10171673      Y         $11,392.36        $21,811.86         $26,052.91           $38,773.13          $23,872.06          $20,684.87         $51,271.98           $14,789.71         $116,853.28            $325,502.16
  40000001      Y            $0.38             $0.72              $0.86                $1.28               $0.79               $0.68              $1.70                $0.49              $3.87                 $10.77
  40000010      Y            $0.83             $1.58              $1.89                $2.82               $1.73               $1.50              $3.72                $1.07              $8.49                 $23.64
  40000028      Y            $1.21             $2.32              $2.78                $4.13               $2.54               $2.20              $5.46                $1.58             $12.45                 $34.68
  40000036      Y            $0.45             $0.86              $1.03                $1.53               $0.94               $0.82              $2.03                $0.59              $4.62                 $12.88
  40000044      Y            $0.26             $0.50              $0.59                $0.89               $0.54               $0.47              $1.17                $0.34              $2.67                  $7.43
  40000052      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40000060      Y            $2.39             $4.57              $5.46                $8.13               $5.00               $4.34             $10.75                $3.10             $24.49                 $68.23
  40000079      Y            $0.07             $0.13              $0.15                $0.22               $0.14               $0.12              $0.30                $0.09              $0.68                  $1.88
  40000087      Y           $963.02          $1,843.80          $2,202.31            $3,277.58           $2,017.96           $1,748.54          $4,334.13            $1,250.21          $9,877.86             $27,515.39
  40000095      Y           $24.15            $46.24             $55.23               $82.19              $50.61              $43.85             $108.69              $31.35             $247.72                $690.03
  40000109      Y            $0.52             $1.00              $1.19                $1.77               $1.09               $0.94              $2.34                $0.68              $5.34                 $14.86
  40000117      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40000125      N            $0.00             $0.00              $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40000133      Y            $1.04             $1.99              $2.37                $3.53               $2.17               $1.88              $4.67                $1.35             $10.63                 $29.62
  40000141      Y            $0.87             $1.66              $1.98                $2.95               $1.82               $1.57              $3.90                $1.12              $8.89                 $24.76

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40000150      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000168      Y           $1.04             $1.99               $2.38               $3.54               $2.18               $1.89               $4.68               $1.35               $10.67                $29.72
  40000176      Y           $1.92             $3.68               $4.40               $6.55               $4.03               $3.49               $8.66               $2.50               $19.74                $54.99
  40000184      Y           $0.05             $0.10               $0.12               $0.18               $0.11               $0.10               $0.24               $0.07                $0.54                 $1.51
  40000192      Y           $0.66             $1.26               $1.50               $2.24               $1.38               $1.19               $2.96               $0.85                $6.74                $18.78
  40000206      Y           $2.40             $4.59               $5.49               $8.16               $5.03               $4.35              $10.79               $3.11               $24.60                $68.53
  40000214      Y           $0.06             $0.12               $0.14               $0.21               $0.13               $0.11               $0.28               $0.08                $0.63                 $1.76
  40000222      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000230      Y           $0.36             $0.69               $0.83               $1.23               $0.76               $0.66               $1.63               $0.47                $3.72                $10.35
  40000249      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000257      Y           $0.45             $0.86               $1.03               $1.53               $0.94               $0.82               $2.03               $0.59                $4.62                $12.88
  40000265      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36                $2.84                 $7.92
  40000273      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36                $2.85                 $7.93
  40000281      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000290      Y           $0.53             $1.01               $1.21               $1.80               $1.11               $0.96               $2.38               $0.69                $5.42                $15.11
  40000303      Y           $0.59             $1.13               $1.35               $2.01               $1.24               $1.07               $2.65               $0.77                $6.05                $16.84
  40000311      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000320      Y           $0.19             $0.37               $0.44               $0.65               $0.40               $0.35               $0.86               $0.25                $1.96                 $5.45
  40000338      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000346      Y          $20.81            $39.83              $47.58              $70.81              $43.60              $37.78              $93.64              $27.01              $213.41               $594.46
  40000354      Y           $3.76             $7.20               $8.61              $12.81               $7.89               $6.83              $16.94               $4.89               $38.60               $107.52
  40000362      Y         $1,299.85         $2,488.71           $2,972.61           $4,423.97           $2,723.77           $2,360.12           $5,850.07           $1,687.49           $13,332.82            $37,139.41
  40000370      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000389      Y           $8.93            $17.10              $20.42              $30.40              $18.71              $16.22              $40.19              $11.59               $91.60               $255.17
  40000397      Y         $1,998.31         $3,825.98           $4,569.89           $6,801.12           $4,187.35           $3,628.30           $8,993.52           $2,594.24           $20,497.02            $57,095.74
  40000400      Y           $0.62             $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81                $6.40                $17.83
  40000419      Y         $1,360.58         $2,604.98           $3,111.49           $4,630.65           $2,851.03           $2,470.38           $6,123.39           $1,766.33           $13,955.73            $38,874.56
  40000427      Y           $0.79             $1.51               $1.80               $2.68               $1.65               $1.43               $3.54               $1.02                $8.07                $22.48
  40000435      Y           $0.14             $0.28               $0.33               $0.49               $0.30               $0.26               $0.65               $0.19                $1.49                 $4.14
  40000443      Y           $6.21            $11.90              $14.21              $21.15              $13.02              $11.28              $27.97               $8.07               $63.74               $177.54
  40000451      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000460      Y           $0.84             $1.60               $1.91               $2.84               $1.75               $1.52               $3.76               $1.08                $8.57                $23.87
  40000478      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000486      Y           $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14                $1.07                 $2.97
  40000494      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000508      Y           $1.32             $2.53               $3.03               $4.51               $2.77               $2.40               $5.96               $1.72               $13.58                $37.82
  40000516      Y           $1.19             $2.29               $2.73               $4.06               $2.50               $2.17               $5.37               $1.55               $12.25                $34.12
  40000524      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000532      Y           $0.83             $1.58               $1.89               $2.82               $1.73               $1.50               $3.73               $1.07                $8.49                $23.65
  40000540      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000559      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00                 $0.00
  40000567      Y           $0.11             $0.21               $0.25               $0.38               $0.23               $0.20               $0.50               $0.14                $1.14                 $3.17
  40000575      Y           $0.68             $1.29               $1.55               $2.30               $1.42               $1.23               $3.04               $0.88                $6.94                $19.32

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40000583      Y           $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41               $3.20                  $8.92
  40000591      Y           $9.58            $18.35              $21.92              $32.62              $20.08              $17.40              $43.13              $12.44              $98.30                 $273.83
  40000605      Y           $0.19             $0.37               $0.44               $0.65               $0.40               $0.35               $0.86               $0.25               $1.96                  $5.45
  40000613      Y           $1.58             $3.02               $3.61               $5.37               $3.31               $2.86               $7.10               $2.05              $16.18                 $45.08
  40000621      Y        $213,438.19       $408,649.83         $488,106.69         $726,422.62         $447,248.02         $387,535.41         $960,591.25         $277,088.36        $2,189,270.66          $6,098,351.03
  40000630      Y           $0.78             $1.50               $1.79               $2.67               $1.64               $1.42               $3.53               $1.02               $8.05                 $22.42
  40000648      Y           $0.40             $0.76               $0.91               $1.36               $0.84               $0.72               $1.79               $0.52               $4.09                 $11.39
  40000656      Y           $0.41             $0.78               $0.93               $1.39               $0.85               $0.74               $1.83               $0.53               $4.18                 $11.64
  40000664      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000672      Y           $0.77             $1.48               $1.76               $2.62               $1.62               $1.40               $3.47               $1.00               $7.91                 $22.03
  40000680      Y           $0.07             $0.13               $0.15               $0.23               $0.14               $0.12               $0.30               $0.09               $0.69                  $1.93
  40000699      Y           $0.09             $0.17               $0.20               $0.30               $0.18               $0.16               $0.39               $0.11               $0.89                  $2.48
  40000702      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000710      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000729      Y           $0.34             $0.65               $0.77               $1.15               $0.71               $0.61               $1.52               $0.44               $3.47                  $9.66
  40000737      Y           $0.50             $0.96               $1.15               $1.71               $1.05               $0.91               $2.26               $0.65               $5.14                 $14.33
  40000745      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.84                  $7.92
  40000753      Y           $0.18             $0.35               $0.42               $0.62               $0.38               $0.33               $0.82               $0.24               $1.88                  $5.23
  40000761      Y           $0.80             $1.53               $1.83               $2.72               $1.67               $1.45               $3.59               $1.04               $8.19                 $22.82
  40000770      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.85                  $7.93
  40000788      Y           $0.09             $0.17               $0.20               $0.30               $0.18               $0.16               $0.39               $0.11               $0.89                  $2.48
  40000796      Y           $1.36             $2.61               $3.12               $4.64               $2.86               $2.48               $6.14               $1.77              $14.00                 $38.99
  40000800      Y           $0.27             $0.52               $0.62               $0.93               $0.57               $0.49               $1.23               $0.35               $2.79                  $7.78
  40000818      Y           $2.09             $4.00               $4.78               $7.11               $4.38               $3.79               $9.40               $2.71              $21.42                 $59.67
  40000826      Y           $0.52             $1.00               $1.20               $1.78               $1.10               $0.95               $2.36               $0.68               $5.37                 $14.96
  40000834      Y           $0.34             $0.65               $0.77               $1.15               $0.71               $0.61               $1.52               $0.44               $3.47                  $9.66
  40000842      Y           $0.42             $0.81               $0.96               $1.44               $0.88               $0.77               $1.90               $0.55               $4.33                 $12.05
  40000850      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000869      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000877      Y           $0.17             $0.33               $0.40               $0.59               $0.36               $0.31               $0.78               $0.23               $1.78                  $4.95
  40000885      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000893      Y           $0.19             $0.37               $0.44               $0.65               $0.40               $0.35               $0.86               $0.25               $1.96                  $5.45
  40000907      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000915      Y           $1.08             $2.07               $2.47               $3.67               $2.26               $1.96               $4.86               $1.40              $11.07                 $30.84
  40000923      Y           $0.28             $0.54               $0.65               $0.96               $0.59               $0.51               $1.27               $0.37               $2.90                  $8.09
  40000931      Y           $0.46             $0.88               $1.05               $1.56               $0.96               $0.83               $2.06               $0.59               $4.69                 $13.07
  40000940      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40000958      Y           $0.26             $0.50               $0.59               $0.89               $0.54               $0.47               $1.17               $0.34               $2.67                  $7.43
  40000966      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.84                  $7.91
  40000974      Y           $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41               $3.20                  $8.92
  40000982      Y           $0.16             $0.30               $0.36               $0.53               $0.33               $0.29               $0.71               $0.20               $1.61                  $4.49
  40000990      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40001008      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
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Final Net Fund Amount:
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          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40001016      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001024      Y            $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14              $1.07                  $2.97
  40001032      Y            $0.38             $0.73               $0.87               $1.30               $0.80               $0.69               $1.72               $0.50              $3.91                 $10.90
  40001040      Y            $0.88             $1.69               $2.02               $3.01               $1.85               $1.61               $3.98               $1.15              $9.07                 $25.26
  40001059      Y            $0.40             $0.76               $0.91               $1.36               $0.84               $0.72               $1.79               $0.52              $4.09                 $11.39
  40001067      Y            $0.32             $0.61               $0.73               $1.09               $0.67               $0.58               $1.44               $0.42              $3.29                  $9.16
  40001075      Y            $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13              $8.89                 $24.77
  40001083      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001091      Y            $0.14             $0.27               $0.32               $0.47               $0.29               $0.25               $0.62               $0.18              $1.42                  $3.96
  40001105      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001113      Y            $0.13             $0.25               $0.29               $0.44               $0.27               $0.23               $0.58               $0.17              $1.32                  $3.67
  40001121      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001130      Y            $1.04             $1.99               $2.38               $3.54               $2.18               $1.89               $4.68               $1.35             $10.67                 $29.72
  40001148      Y            $3.42             $6.54               $7.82              $11.63               $7.16               $6.21              $15.38               $4.44             $35.06                 $97.67
  40001156      Y            $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41              $3.20                  $8.92
  40001164      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001172      Y            $1.13             $2.17               $2.59               $3.85               $2.37               $2.05               $5.09               $1.47             $11.60                 $32.32
  40001180      Y            $0.49             $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63              $4.98                 $13.87
  40001199      Y            $0.24             $0.46               $0.56               $0.83               $0.51               $0.44               $1.09               $0.32              $2.49                  $6.94
  40001202      Y            $4.85             $9.29              $11.10              $16.52              $10.17               $8.81              $21.85               $6.30             $49.79                 $138.71
  40001210      Y           $18.17            $34.79              $41.55              $61.84              $38.07              $32.99              $81.77              $23.59             $186.37                $519.14
  40001229      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001237      Y            $0.33             $0.64               $0.76               $1.13               $0.70               $0.61               $1.50               $0.43              $3.42                  $9.53
  40001245      Y            $0.91             $1.75               $2.09               $3.11               $1.91               $1.66               $4.11               $1.18              $9.36                 $26.07
  40001253      Y            $0.09             $0.17               $0.20               $0.30               $0.19               $0.16               $0.40               $0.11              $0.91                  $2.53
  40001261      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001270      Y            $1.39             $2.66               $3.17               $4.72               $2.91               $2.52               $6.24               $1.80             $14.23                 $39.63
  40001288      Y         $10,937.64        $20,941.27          $25,013.03          $37,225.54          $22,919.23          $19,859.26          $49,225.51          $14,199.40         $112,189.20            $312,510.07
  40001296      Y            $0.08             $0.16               $0.19               $0.28               $0.17               $0.15               $0.37               $0.11              $0.84                  $2.35
  40001300      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001318      Y            $0.73             $1.41               $1.68               $2.50               $1.54               $1.33               $3.31               $0.95              $7.54                 $21.00
  40001326      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001334      Y            $0.44             $0.85               $1.01               $1.50               $0.93               $0.80               $1.99               $0.57              $4.53                 $12.63
  40001342      Y           $23.67            $45.31              $54.12              $80.55              $49.59              $42.97             $106.51              $30.72             $242.75                $676.20
  40001350      Y            $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90              $7.11                 $19.82
  40001369      Y            $2.77             $5.29               $6.32               $9.41               $5.79               $5.02              $12.45               $3.59             $28.37                 $79.01
  40001377      Y            $0.42             $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54              $4.27                 $11.89
  40001385      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001393      Y            $0.97             $1.86               $2.22               $3.30               $2.03               $1.76               $4.37               $1.26              $9.96                 $27.74
  40001407      Y            $0.84             $1.61               $1.92               $2.86               $1.76               $1.52               $3.78               $1.09              $8.61                 $23.98
  40001415      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001423      Y            $1.46             $2.79               $3.33               $4.96               $3.05               $2.64               $6.55               $1.89             $14.94                 $41.61
  40001431      Y            $0.42             $0.81               $0.96               $1.43               $0.88               $0.76               $1.90               $0.55              $4.32                 $12.03

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                                                Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 8 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40001440      Y            $0.80             $1.53               $1.83               $2.72               $1.68               $1.45               $3.60               $1.04              $8.21                 $22.87
  40001458      Y            $0.42             $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54              $4.27                 $11.89
  40001466      Y            $0.24             $0.46               $0.56               $0.83               $0.51               $0.44               $1.09               $0.32              $2.49                  $6.94
  40001474      Y            $0.16             $0.32               $0.38               $0.56               $0.35               $0.30               $0.74               $0.21              $1.69                  $4.71
  40001482      Y            $2.83             $5.41               $6.46               $9.62               $5.92               $5.13              $12.72               $3.67             $28.99                 $80.75
  40001490      Y            $1.13             $2.17               $2.59               $3.85               $2.37               $2.06               $5.10               $1.47             $11.62                 $32.36
  40001504      Y            $0.08             $0.15               $0.17               $0.26               $0.16               $0.14               $0.34               $0.10              $0.78                  $2.18
  40001512      Y            $0.76             $1.46               $1.74               $2.60               $1.60               $1.39               $3.43               $0.99              $7.82                 $21.80
  40001520      Y            $0.48             $0.92               $1.10               $1.63               $1.01               $0.87               $2.16               $0.62              $4.92                 $13.71
  40001539      Y          $8,158.27        $15,619.86          $18,656.95          $27,766.12          $17,095.21          $14,812.80          $36,716.78          $10,591.18         $83,680.71             $233,097.88
  40001547      Y           $30.54            $58.47              $69.84             $103.94              $63.99              $55.45             $137.44              $39.65             $313.25                $872.57
  40001555      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001563      Y            $0.36             $0.69               $0.83               $1.23               $0.76               $0.66               $1.63               $0.47              $3.71                 $10.33
  40001571      Y            $2.27             $4.36               $5.20               $7.74               $4.77               $4.13              $10.24               $2.95             $23.33                 $64.99
  40001580      Y            $0.72             $1.39               $1.66               $2.47               $1.52               $1.32               $3.26               $0.94              $7.43                 $20.70
  40001598      Y            $0.11             $0.22               $0.26               $0.38               $0.24               $0.21               $0.51               $0.15              $1.16                  $3.23
  40001601      Y            $0.11             $0.22               $0.26               $0.38               $0.24               $0.20               $0.51               $0.15              $1.16                  $3.22
  40001610      Y            $1.07             $2.06               $2.46               $3.66               $2.25               $1.95               $4.84               $1.40             $11.03                 $30.71
  40001628      Y            $0.64             $1.22               $1.46               $2.17               $1.33               $1.16               $2.87               $0.83              $6.53                 $18.20
  40001636      Y            $0.78             $1.49               $1.78               $2.65               $1.63               $1.41               $3.50               $1.01              $7.98                 $22.22
  40001644      Y           $181.92          $348.31             $416.04             $619.17             $381.21             $330.32             $818.76             $236.18            $1,866.02              $5,197.93
  40001652      Y            $4.79             $9.16              $10.94              $16.29              $10.03               $8.69              $21.54               $6.21             $49.08                 $136.73
  40001660      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001679      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001687      Y            $0.55             $1.06               $1.26               $1.88               $1.16               $1.00               $2.48               $0.72              $5.66                 $15.75
  40001695      Y            $0.44             $0.85               $1.01               $1.50               $0.93               $0.80               $1.99               $0.57              $4.53                 $12.63
  40001709      Y            $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41              $3.20                  $8.92
  40001717      Y           $17.74            $33.96              $40.57              $60.37              $37.17              $32.21              $79.83              $23.03             $181.94                $506.81
  40001725      Y           $58.80           $112.58             $134.47             $200.12             $123.21             $106.76             $264.64              $76.34             $603.13               $1,680.06
  40001733      Y         $19,693.75        $37,705.75          $45,037.17          $67,026.36          $41,267.17          $35,757.54          $88,632.89          $25,566.69         $202,002.04            $562,689.37
  40001741      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001750      Y            $0.66             $1.26               $1.50               $2.24               $1.38               $1.19               $2.96               $0.85              $6.74                 $18.77
  40001768      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40001776      Y            $5.32            $10.19              $12.18              $18.12              $11.16               $9.67              $23.96               $6.91             $54.61                 $152.13
  40001784      Y            $0.09             $0.17               $0.20               $0.30               $0.18               $0.16               $0.39               $0.11              $0.89                  $2.48
  40001792      Y            $0.58             $1.12               $1.33               $1.99               $1.22               $1.06               $2.63               $0.76              $5.99                 $16.67
  40001806      Y           $32.43            $62.08              $74.16             $110.36              $67.95              $58.88             $145.94              $42.10             $332.61                $926.50
  40001814      Y            $0.86             $1.64               $1.96               $2.91               $1.79               $1.55               $3.85               $1.11              $8.78                 $24.46
  40001822      Y            $1.06             $2.03               $2.43               $3.62               $2.23               $1.93               $4.78               $1.38             $10.90                 $30.35
  40001830      Y            $0.97             $1.86               $2.22               $3.30               $2.03               $1.76               $4.37               $1.26              $9.96                 $27.74
  40001849      Y            $2.25             $4.31               $5.15               $7.66               $4.72               $4.09              $10.13               $2.92             $23.09                 $64.31
  40001857      Y            $0.21             $0.40               $0.48               $0.71               $0.44               $0.38               $0.94               $0.27              $2.13                  $5.94
  40001865      Y            $1.18             $2.26               $2.70               $4.02               $2.47               $2.14               $5.31               $1.53             $12.11                 $33.74

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40001873      Y          $17.86            $34.19              $40.84               $60.78             $37.42              $32.42               $80.37             $23.18              $183.17               $510.24
  40001881      Y           $0.36             $0.70               $0.83                $1.24              $0.76               $0.66                $1.64              $0.47                $3.73                $10.40
  40001890      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40001903      Y           $0.10             $0.20               $0.24                $0.35              $0.22               $0.19                $0.47              $0.13                $1.06                 $2.96
  40001911      Y           $2.09             $3.99               $4.77                $7.10              $4.37               $3.79                $9.39              $2.71               $21.39                $59.59
  40001920      Y           $0.26             $0.50               $0.59                $0.89              $0.54               $0.47                $1.17              $0.34                $2.67                 $7.43
  40001938      Y           $0.92             $1.77               $2.11                $3.14              $1.93               $1.67                $4.15              $1.20                $9.46                $26.35
  40001946      Y           $1.10             $2.11               $2.52                $3.75              $2.31               $2.00                $4.95              $1.43               $11.29                $31.46
  40001954      Y           $0.34             $0.65               $0.77                $1.15              $0.71               $0.61                $1.52              $0.44                $3.47                 $9.66
  40001962      Y           $0.62             $1.18               $1.41                $2.10              $1.29               $1.12                $2.78              $0.80                $6.33                $17.64
  40001970      Y           $0.49             $0.93               $1.11                $1.65              $1.02               $0.88                $2.18              $0.63                $4.98                $13.87
  40001989      Y           $0.15             $0.28               $0.33                $0.49              $0.30               $0.26                $0.65              $0.19                $1.49                 $4.15
  40001997      Y           $0.26             $0.50               $0.59                $0.88              $0.54               $0.47                $1.17              $0.34                $2.66                 $7.42
  40002004      Y           $0.42             $0.80               $0.95                $1.42              $0.87               $0.76                $1.87              $0.54                $4.27                $11.89
  40002012      Y           $0.16             $0.30               $0.36                $0.53              $0.33               $0.28                $0.70              $0.20                $1.60                 $4.46
  40002020      Y           $0.45             $0.86               $1.02                $1.52              $0.94               $0.81                $2.01              $0.58                $4.59                $12.78
  40002039      Y           $0.26             $0.50               $0.60                $0.90              $0.55               $0.48                $1.19              $0.34                $2.70                 $7.53
  40002047      Y           $2.63             $5.04               $6.03                $8.97              $5.52               $4.78               $11.86              $3.42               $27.02                $75.28
  40002055      Y           $5.20             $9.96              $11.89               $17.70             $10.90               $9.44               $23.40              $6.75               $53.33               $148.56
  40002063      Y           $0.18             $0.35               $0.42                $0.62              $0.38               $0.33                $0.82              $0.24                $1.87                 $5.20
  40002071      Y           $1.65             $3.15               $3.77                $5.61              $3.45               $2.99                $7.41              $2.14               $16.89                $47.06
  40002080      Y           $0.31             $0.60               $0.71                $1.06              $0.65               $0.57                $1.40              $0.40                $3.20                 $8.91
  40002098      Y           $0.57             $1.09               $1.30                $1.93              $1.19               $1.03                $2.56              $0.74                $5.82                $16.22
  40002101      Y           $0.35             $0.66               $0.79                $1.18              $0.73               $0.63                $1.56              $0.45                $3.56                 $9.91
  40002110      Y           $0.31             $0.60               $0.71                $1.06              $0.65               $0.57                $1.40              $0.41                $3.20                 $8.92
  40002128      Y           $0.37             $0.70               $0.84                $1.25              $0.77               $0.67                $1.65              $0.48                $3.76                $10.48
  40002136      Y           $0.38             $0.73               $0.87                $1.30              $0.80               $0.69                $1.72              $0.50                $3.91                $10.90
  40002144      Y           $0.92             $1.76               $2.10                $3.13              $1.92               $1.67                $4.13              $1.19                $9.42                $26.25
  40002152      Y           $0.43             $0.83               $0.99                $1.48              $0.91               $0.79                $1.95              $0.56                $4.45                $12.38
  40002160      Y           $0.34             $0.65               $0.77                $1.15              $0.71               $0.61                $1.52              $0.44                $3.47                 $9.66
  40002179      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002187      Y           $0.64             $1.22               $1.46                $2.17              $1.34               $1.16                $2.87              $0.83                $6.54                $18.21
  40002195      Y           $0.99             $1.89               $2.26                $3.36              $2.07               $1.79                $4.45              $1.28               $10.14                $28.24
  40002209      Y           $0.47             $0.91               $1.08                $1.61              $0.99               $0.86                $2.13              $0.62                $4.86                $13.55
  40002217      Y           $0.26             $0.50               $0.60                $0.89              $0.55               $0.48                $1.18              $0.34                $2.70                 $7.51
  40002225      Y           $0.26             $0.49               $0.58                $0.87              $0.54               $0.46                $1.15              $0.33                $2.62                 $7.30
  40002233      Y           $0.36             $0.70               $0.83                $1.24              $0.76               $0.66                $1.64              $0.47                $3.73                $10.39
  40002241      Y         $3,290.99         $6,300.94           $7,526.08           $11,200.66          $6,896.09           $5,975.38           $14,811.29          $4,272.41           $33,756.22            $94,030.06
  40002250      Y           $0.10             $0.20               $0.24                $0.35              $0.22               $0.19                $0.47              $0.14                $1.07                 $2.97
  40002268      Y           $0.88             $1.69               $2.02                $3.01              $1.85               $1.61                $3.98              $1.15                $9.07                $25.26
  40002276      Y           $0.71             $1.36               $1.63                $2.42              $1.49               $1.29                $3.20              $0.92                $7.29                $20.31
  40002284      Y           $1.55             $2.97               $3.55                $5.28              $3.25               $2.81                $6.98              $2.01               $15.90                $44.29
  40002292      Y           $0.43             $0.83               $0.99                $1.48              $0.91               $0.79                $1.95              $0.56                $4.45                $12.38

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 10 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40002306      Y            $0.09             $0.17               $0.20              $0.30                $0.18               $0.16              $0.39                $0.11              $0.89                  $2.48
  40002314      Y            $0.52             $0.99               $1.19              $1.77                $1.09               $0.94              $2.34                $0.67              $5.32                 $14.83
  40002322      Y         $42,007.80        $80,428.35          $96,066.64         $142,970.75          $88,025.05          $76,272.72         $189,058.62          $54,535.10         $430,880.96           $1,200,246.00
  40002330      Y            $0.45             $0.86               $1.02              $1.52                $0.94               $0.81              $2.01                $0.58              $4.58                 $12.77
  40002349      Y          $3,973.95         $7,608.54           $9,087.93         $13,525.07            $8,327.19           $7,215.42         $17,885.00            $5,159.04         $40,761.46             $113,543.60
  40002357      Y           $105.79           $202.55             $241.93            $360.05              $221.68             $192.08            $476.11              $137.34           $1,085.10              $3,022.63
  40002365      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002373      Y            $1.09             $2.09               $2.50              $3.72                $2.29               $1.98              $4.92                $1.42             $11.20                 $31.21
  40002381      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002390      Y            $0.31             $0.60               $0.71              $1.06                $0.65               $0.56              $1.40                $0.40              $3.19                  $8.89
  40002403      Y            $0.15             $0.28               $0.34              $0.50                $0.31               $0.27              $0.66                $0.19              $1.52                  $4.22
  40002411      Y            $0.15             $0.28               $0.34              $0.50                $0.31               $0.27              $0.66                $0.19              $1.52                  $4.22
  40002420      Y            $0.20             $0.38               $0.45              $0.68                $0.42               $0.36              $0.89                $0.26              $2.04                  $5.68
  40002438      Y            $0.50             $0.96               $1.14              $1.70                $1.05               $0.91              $2.25                $0.65              $5.12                 $14.26
  40002446      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002454      Y            $0.22             $0.43               $0.51              $0.76                $0.47               $0.41              $1.01                $0.29              $2.30                  $6.42
  40002462      Y            $0.42             $0.81               $0.96              $1.43                $0.88               $0.76              $1.90                $0.55              $4.32                 $12.04
  40002470      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002489      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002497      Y            $3.48             $6.66               $7.95             $11.83                $7.28               $6.31             $15.65                $4.51             $35.66                 $99.32
  40002500      Y            $3.43             $6.57               $7.85             $11.68                $7.19               $6.23             $15.45                $4.46             $35.21                 $98.09
  40002519      Y            $4.48             $8.58              $10.25             $15.25                $9.39               $8.14             $20.17                $5.82             $45.97                 $128.06
  40002527      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002535      Y            $7.52            $14.41              $17.21             $25.61               $15.77              $13.66             $33.87                $9.77             $77.18                 $215.00
  40002543      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002551      Y            $1.61             $3.09               $3.69              $5.49                $3.38               $2.93              $7.26                $2.09             $16.54                 $46.07
  40002560      Y            $0.98             $1.87               $2.24              $3.33                $2.05               $1.78              $4.40                $1.27             $10.04                 $27.95
  40002578      Y            $0.53             $1.02               $1.21              $1.81                $1.11               $0.96              $2.39                $0.69              $5.44                 $15.15
  40002586      Y            $0.45             $0.86               $1.03              $1.53                $0.94               $0.82              $2.02                $0.58              $4.61                 $12.85
  40002594      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40002608      Y            $0.38             $0.73               $0.87              $1.30                $0.80               $0.69              $1.72                $0.49              $3.91                 $10.89
  40002616      Y            $0.17             $0.33               $0.39              $0.58                $0.36               $0.31              $0.76                $0.22              $1.74                  $4.85
  40002624      Y            $0.10             $0.20               $0.24              $0.35                $0.22               $0.19              $0.47                $0.14              $1.07                  $2.97
  40002632      Y            $1.39             $2.66               $3.17              $4.72                $2.91               $2.52              $6.24                $1.80             $14.23                 $39.63
  40002640      Y            $0.78             $1.50               $1.79              $2.67                $1.64               $1.42              $3.53                $1.02              $8.03                 $22.38
  40002659      Y            $0.76             $1.46               $1.74              $2.60                $1.60               $1.38              $3.43                $0.99              $7.82                 $21.79
  40002667      Y            $0.87             $1.66               $1.98              $2.95                $1.82               $1.57              $3.90                $1.13              $8.89                 $24.77
  40002675      Y            $0.42             $0.80               $0.95              $1.42                $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  40002683      Y            $0.88             $1.69               $2.02              $3.01                $1.85               $1.61              $3.98                $1.15              $9.07                 $25.26
  40002691      Y            $0.50             $0.96               $1.15              $1.71                $1.05               $0.91              $2.26                $0.65              $5.16                 $14.37
  40002705      Y            $0.17             $0.33               $0.40              $0.59                $0.36               $0.31              $0.78                $0.23              $1.78                  $4.95
  40002713      Y            $0.45             $0.86               $1.03              $1.53                $0.94               $0.82              $2.03                $0.59              $4.62                 $12.88
  40002721      Y            $0.38             $0.73               $0.87              $1.30                $0.80               $0.69              $1.72                $0.50              $3.91                 $10.90

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40002730      Y           $1.18             $2.25               $2.69                $4.01              $2.47               $2.14                $5.30              $1.53               $12.08                $33.65
  40002748      Y           $4.16             $7.97               $9.52               $14.16              $8.72               $7.56               $18.73              $5.40               $42.68                $118.89
  40002756      Y           $0.45             $0.86               $1.03                $1.53              $0.94               $0.82                $2.03              $0.59                $4.62                $12.88
  40002764      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002772      Y           $0.30             $0.58               $0.69                $1.03              $0.64               $0.55                $1.37              $0.39                $3.11                 $8.67
  40002780      Y           $1.20             $2.29               $2.74                $4.07              $2.51               $2.17                $5.38              $1.55               $12.27                $34.18
  40002799      Y           $0.72             $1.37               $1.64                $2.44              $1.50               $1.30                $3.22              $0.93                $7.34                $20.46
  40002802      Y           $0.22             $0.42               $0.51                $0.76              $0.47               $0.40                $1.00              $0.29                $2.28                 $6.34
  40002810      Y           $0.71             $1.36               $1.63                $2.42              $1.49               $1.29                $3.20              $0.92                $7.29                $20.31
  40002829      Y           $0.62             $1.18               $1.41                $2.09              $1.29               $1.12                $2.77              $0.80                $6.31                $17.59
  40002837      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002845      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002853      Y           $0.17             $0.33               $0.40                $0.59              $0.36               $0.31                $0.78              $0.23                $1.78                 $4.95
  40002861      Y           $1.63             $3.12               $3.73                $5.55              $3.42               $2.96                $7.33              $2.12               $16.72                $46.57
  40002870      Y           $0.55             $1.06               $1.27                $1.89              $1.16               $1.01                $2.50              $0.72                $5.69                $15.85
  40002888      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002896      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002900      Y           $0.17             $0.33               $0.40                $0.59              $0.36               $0.31                $0.78              $0.23                $1.78                 $4.95
  40002918      Y           $0.35             $0.66               $0.79                $1.18              $0.73               $0.63                $1.56              $0.45                $3.56                 $9.91
  40002926      Y           $1.01             $1.93               $2.30                $3.42              $2.11               $1.83                $4.53              $1.31               $10.31                $28.73
  40002934      Y           $0.87             $1.66               $1.98                $2.95              $1.82               $1.57                $3.90              $1.13                $8.89                $24.77
  40002942      Y           $0.44             $0.85               $1.01                $1.50              $0.93               $0.80                $1.99              $0.57                $4.53                $12.62
  40002950      Y           $0.26             $0.50               $0.59                $0.89              $0.54               $0.47                $1.17              $0.34                $2.67                 $7.43
  40002969      Y           $2.77             $5.31               $6.34                $9.44              $5.81               $5.04               $12.48              $3.60               $28.45                $79.25
  40002977      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40002985      Y           $0.10             $0.20               $0.24                $0.35              $0.22               $0.19                $0.47              $0.14                $1.07                 $2.97
  40002993      Y           $0.36             $0.70               $0.83                $1.24              $0.76               $0.66                $1.64              $0.47                $3.74                $10.43
  40003000      Y           $0.82             $1.57               $1.88                $2.80              $1.72               $1.49                $3.70              $1.07                $8.43                $23.49
  40003019      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003027      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003035      Y           $0.83             $1.58               $1.89                $2.81              $1.73               $1.50                $3.72              $1.07                $8.48                $23.61
  40003043      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003051      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003060      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003078      Y           $0.64             $1.22               $1.45                $2.17              $1.33               $1.16                $2.86              $0.83                $6.52                $18.18
  40003086      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003094      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003108      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003116      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003124      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003132      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003140      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003159      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40003167      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003175      Y           $0.16             $0.30               $0.36               $0.53               $0.33               $0.28                $0.70              $0.20                $1.60                 $4.46
  40003183      Y           $0.07             $0.13               $0.16               $0.24               $0.15               $0.13                $0.31              $0.09                $0.71                 $1.98
  40003191      Y           $0.76             $1.46               $1.74               $2.60               $1.60               $1.39                $3.43              $0.99                $7.82                $21.80
  40003205      Y           $0.35             $0.67               $0.79               $1.18               $0.73               $0.63                $1.56              $0.45                $3.57                 $9.93
  40003213      Y           $0.63             $1.21               $1.45               $2.15               $1.33               $1.15                $2.85              $0.82                $6.49                $18.08
  40003221      Y           $0.61             $1.17               $1.40               $2.08               $1.28               $1.11                $2.75              $0.79                $6.26                $17.44
  40003230      Y           $0.52             $1.00               $1.19               $1.77               $1.09               $0.94                $2.34              $0.68                $5.34                $14.86
  40003248      Y           $0.97             $1.86               $2.22               $3.30               $2.03               $1.76                $4.37              $1.26                $9.95                $27.72
  40003256      Y           $0.43             $0.83               $0.99               $1.47               $0.91               $0.79                $1.95              $0.56                $4.44                $12.37
  40003264      Y           $1.32             $2.52               $3.01               $4.48               $2.76               $2.39                $5.93              $1.71               $13.51                $37.63
  40003272      Y           $2.12             $4.05               $4.84               $7.20               $4.43               $3.84                $9.52              $2.75               $21.70                $60.44
  40003280      Y           $0.35             $0.66               $0.79               $1.17               $0.72               $0.63                $1.55              $0.45                $3.54                 $9.86
  40003299      Y           $0.74             $1.41               $1.69               $2.51               $1.55               $1.34                $3.33              $0.96                $7.58                $21.11
  40003302      Y           $0.27             $0.51               $0.61               $0.91               $0.56               $0.48                $1.20              $0.35                $2.74                 $7.63
  40003310      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003329      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003337      Y           $0.35             $0.66               $0.79               $1.18               $0.73               $0.63                $1.56              $0.45                $3.56                 $9.91
  40003345      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003353      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003361      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003370      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003388      Y           $0.22             $0.42               $0.51               $0.75               $0.46               $0.40                $0.99              $0.29                $2.27                 $6.32
  40003396      Y           $2.92             $5.59               $6.68               $9.94               $6.12               $5.30               $13.15              $3.79               $29.96                $83.46
  40003400      Y           $1.27             $2.43               $2.91               $4.33               $2.66               $2.31                $5.72              $1.65               $13.04                $36.31
  40003418      Y           $0.21             $0.40               $0.48               $0.71               $0.44               $0.38                $0.94              $0.27                $2.13                 $5.94
  40003426      Y           $0.26             $0.50               $0.59               $0.89               $0.54               $0.47                $1.17              $0.34                $2.67                 $7.43
  40003434      Y           $1.84             $3.52               $4.20               $6.25               $3.85               $3.34                $8.27              $2.39               $18.85                $52.51
  40003442      Y           $0.83             $1.59               $1.90               $2.83               $1.74               $1.51                $3.75              $1.08                $8.54                $23.78
  40003450      Y           $0.12             $0.23               $0.28               $0.41               $0.26               $0.22                $0.55              $0.16                $1.25                 $3.48
  40003469      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003477      Y           $0.65             $1.25               $1.49               $2.21               $1.36               $1.18                $2.93              $0.84                $6.67                $18.59
  40003485      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003493      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003507      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003515      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003523      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003531      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003540      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003558      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003566      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003574      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40003582      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40003590      Y           $0.83              $1.59               $1.90               $2.83               $1.74               $1.51               $3.74              $1.08                $8.53                $23.77
  40003604      Y           $1.09              $2.09               $2.50               $3.72               $2.29               $1.98               $4.92              $1.42               $11.20                $31.21
  40003612      Y           $0.24              $0.46               $0.56               $0.83               $0.51               $0.44               $1.09              $0.32                $2.49                 $6.94
  40003620      Y           $0.31              $0.60               $0.71               $1.06               $0.65               $0.57               $1.40              $0.41                $3.20                 $8.92
  40003639      Y           $0.16              $0.30               $0.36               $0.53               $0.33               $0.28               $0.70              $0.20                $1.60                 $4.46
  40003647      Y           $1.02              $1.96               $2.34               $3.48               $2.14               $1.86               $4.60              $1.33               $10.49                $29.23
  40003655      Y           $0.21              $0.40               $0.48               $0.71               $0.44               $0.38               $0.94              $0.27                $2.13                 $5.94
  40003663      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003671      Y           $0.36              $0.68               $0.81               $1.21               $0.74               $0.65               $1.60              $0.46                $3.65                $10.16
  40003680      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003698      Y           $6.02             $11.54              $13.78              $20.51              $12.62              $10.94              $27.12              $7.82               $61.80                $172.14
  40003701      Y           $0.50              $0.95               $1.14               $1.69               $1.04               $0.90               $2.24              $0.65                $5.10                $14.20
  40003710      Y           $1.48              $2.83               $3.38               $5.03               $3.10               $2.68               $6.65              $1.92               $15.16                $42.23
  40003728      Y           $0.42              $0.80               $0.95               $1.42               $0.87               $0.76               $1.87              $0.54                $4.27                $11.89
  40003736      Y           $3.59              $6.87               $8.21              $12.21               $7.52               $6.52              $16.15              $4.66               $36.81                $102.54
  40003744      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003752      Y           $0.26              $0.50               $0.59               $0.89               $0.54               $0.47               $1.17              $0.34                $2.67                 $7.43
  40003760      Y           $0.94              $1.79               $2.14               $3.19               $1.96               $1.70               $4.21              $1.22                $9.60                $26.75
  40003779      Y           $1.95              $3.73               $4.46               $6.64               $4.09               $3.54               $8.78              $2.53               $20.01                $55.73
  40003787      Y           $0.26              $0.50               $0.59               $0.88               $0.54               $0.47               $1.17              $0.34                $2.66                 $7.42
  40003795      Y           $0.34              $0.65               $0.78               $1.16               $0.72               $0.62               $1.54              $0.44                $3.51                 $9.77
  40003809      Y           $0.38              $0.73               $0.87               $1.30               $0.80               $0.69               $1.72              $0.50                $3.91                $10.90
  40003817      Y           $1.14              $2.19               $2.62               $3.89               $2.40               $2.08               $5.15              $1.48               $11.73                $32.68
  40003825      Y           $0.73              $1.39               $1.66               $2.47               $1.52               $1.32               $3.27              $0.94                $7.45                $20.76
  40003833      Y           $0.14              $0.27               $0.32               $0.47               $0.29               $0.25               $0.62              $0.18                $1.42                 $3.96
  40003841      Y           $1.04              $1.99               $2.38               $3.54               $2.18               $1.89               $4.68              $1.35               $10.67                $29.72
  40003850      Y           $0.95              $1.82               $2.18               $3.24               $2.00               $1.73               $4.29              $1.24                $9.77                $27.21
  40003868      Y           $1.20              $2.29               $2.74               $4.07               $2.51               $2.17               $5.38              $1.55               $12.27                $34.18
  40003876      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003884      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003892      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003906      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003914      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003922      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003930      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003949      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003957      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003965      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003973      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003981      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40003990      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004007      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004015      Y           $0.46              $0.88               $1.05               $1.56               $0.96               $0.83               $2.07              $0.60                $4.71                $13.12

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40004023      Y           $0.38              $0.73               $0.87               $1.30               $0.80               $0.69               $1.72              $0.50                $3.91                $10.90
  40004031      Y           $0.56              $1.07               $1.28               $1.90               $1.17               $1.02               $2.52              $0.73                $5.74                $15.98
  40004040      Y           $2.08              $3.98               $4.76               $7.08               $4.36               $3.78               $9.36              $2.70               $21.34                $59.45
  40004058      Y           $1.32              $2.52               $3.01               $4.48               $2.76               $2.39               $5.93              $1.71               $13.52                $37.65
  40004066      Y           $6.11             $11.70              $13.98              $20.80              $12.81              $11.10              $27.51              $7.93               $62.69                $174.62
  40004074      Y           $0.29              $0.56               $0.67               $1.00               $0.62               $0.54               $1.33              $0.38                $3.02                 $8.42
  40004082      Y           $1.95              $3.74               $4.47               $6.65               $4.09               $3.55               $8.79              $2.54               $20.03                $55.80
  40004090      Y           $4.68              $8.96              $10.71              $15.93               $9.81               $8.50              $21.07              $6.08               $48.02                $133.75
  40004104      Y           $0.08              $0.15               $0.18               $0.27               $0.16               $0.14               $0.35              $0.10                $0.80                 $2.23
  40004112      Y           $0.32              $0.61               $0.73               $1.09               $0.67               $0.58               $1.44              $0.41                $3.27                 $9.12
  40004120      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81              $0.81                $6.40                $17.83
  40004139      Y           $0.29              $0.56               $0.67               $1.00               $0.62               $0.54               $1.33              $0.38                $3.02                 $8.42
  40004147      Y           $0.23              $0.44               $0.52               $0.78               $0.48               $0.41               $1.03              $0.30                $2.34                 $6.51
  40004155      Y           $0.23              $0.43               $0.52               $0.77               $0.47               $0.41               $1.01              $0.29                $2.31                 $6.44
  40004163      Y           $0.23              $0.45               $0.54               $0.80               $0.49               $0.42               $1.05              $0.30                $2.40                 $6.69
  40004171      Y           $1.14              $2.19               $2.62               $3.89               $2.40               $2.08               $5.15              $1.49               $11.74                $32.70
  40004180      Y           $0.03              $0.07               $0.08               $0.12               $0.07               $0.06               $0.15              $0.04                $0.35                 $0.98
  40004198      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004201      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004210      Y           $0.19              $0.37               $0.44               $0.65               $0.40               $0.35               $0.86              $0.25                $1.96                 $5.45
  40004228      Y           $0.65              $1.24               $1.48               $2.20               $1.36               $1.17               $2.91              $0.84                $6.63                $18.48
  40004236      Y           $0.59              $1.12               $1.34               $2.00               $1.23               $1.06               $2.64              $0.76                $6.01                $16.75
  40004244      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004252      Y           $0.47              $0.90               $1.07               $1.59               $0.98               $0.85               $2.11              $0.61                $4.80                $13.38
  40004260      Y           $0.82              $1.57               $1.88               $2.80               $1.72               $1.49               $3.70              $1.07                $8.43                $23.49
  40004279      Y           $0.10              $0.20               $0.24               $0.35               $0.22               $0.19               $0.47              $0.13                $1.06                 $2.96
  40004287      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004295      Y           $0.93              $1.78               $2.12               $3.16               $1.95               $1.69               $4.18              $1.21                $9.52                $26.53
  40004309      Y           $0.45              $0.86               $1.03               $1.53               $0.94               $0.82               $2.02              $0.58                $4.60                $12.83
  40004317      Y           $0.28              $0.53               $0.63               $0.94               $0.58               $0.50               $1.25              $0.36                $2.85                 $7.93
  40004325      Y           $0.12              $0.23               $0.28               $0.41               $0.25               $0.22               $0.54              $0.16                $1.24                 $3.46
  40004333      Y           $0.23              $0.45               $0.54               $0.80               $0.49               $0.42               $1.05              $0.30                $2.40                 $6.69
  40004341      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004350      Y           $0.38              $0.73               $0.87               $1.30               $0.80               $0.69               $1.72              $0.50                $3.91                $10.90
  40004368      Y           $2.17              $4.15               $4.96               $7.38               $4.54               $3.94               $9.75              $2.81               $22.23                $61.92
  40004376      Y           $3.92              $7.50               $8.96              $13.34               $8.21               $7.11              $17.63              $5.09               $40.19                $111.96
  40004384      Y           $0.38              $0.74               $0.88               $1.31               $0.81               $0.70               $1.73              $0.50                $3.95                $11.00
  40004392      Y           $0.11              $0.20               $0.24               $0.36               $0.22               $0.19               $0.47              $0.14                $1.08                 $3.01
  40004406      Y           $3.55              $6.81               $8.13              $12.10               $7.45               $6.45              $16.00              $4.61               $36.46                $101.55
  40004414      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004422      Y           $0.24              $0.46               $0.56               $0.83               $0.51               $0.44               $1.09              $0.32                $2.49                 $6.94
  40004430      Y           $1.66              $3.19               $3.81               $5.66               $3.49               $3.02               $7.49              $2.16               $17.07                $47.56
  40004449      Y           $0.33              $0.63               $0.75               $1.12               $0.69               $0.60               $1.48              $0.43                $3.38                 $9.41

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40004457      Y           $0.71             $1.36                $1.63               $2.42               $1.49              $1.29                $3.20              $0.92                $7.29                $20.31
  40004465      Y           $2.06             $3.95                $4.72               $7.02               $4.32              $3.75                $9.29              $2.68               $21.16                $58.95
  40004473      Y           $1.15             $2.21                $2.64               $3.92               $2.42              $2.09                $5.19              $1.50               $11.83                $32.94
  40004481      Y           $1.26             $2.41                $2.87               $4.28               $2.63              $2.28                $5.66              $1.63               $12.89                $35.92
  40004490      Y           $0.83             $1.59                $1.90               $2.83               $1.74              $1.51                $3.75              $1.08                $8.54                $23.78
  40004503      Y           $0.39             $0.75                $0.89               $1.33               $0.82              $0.71                $1.76              $0.51                $4.00                $11.15
  40004511      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004520      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004538      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004546      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004554      Y           $1.05             $2.01                $2.40               $3.58               $2.20              $1.91                $4.73              $1.36               $10.78                $30.02
  40004562      Y           $0.17             $0.33                $0.40               $0.59               $0.36              $0.31                $0.78              $0.23                $1.78                 $4.95
  40004570      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004589      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004597      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004600      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004619      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004627      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004635      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004643      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004651      Y           $4.99             $9.55               $11.41              $16.98              $10.46              $9.06               $22.46              $6.48               $51.19                $142.58
  40004660      Y           $0.94             $1.79                $2.14               $3.19               $1.96              $1.70                $4.21              $1.22                $9.60                $26.75
  40004678      Y           $0.08             $0.15                $0.18               $0.27               $0.16              $0.14                $0.35              $0.10                $0.80                 $2.23
  40004686      Y           $0.52             $1.00                $1.19               $1.77               $1.09              $0.94                $2.34              $0.68                $5.34                $14.86
  40004694      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004708      Y           $0.60             $1.15                $1.37               $2.04               $1.25              $1.09                $2.70              $0.78                $6.14                $17.11
  40004716      Y           $3.16             $6.06                $7.24              $10.77               $6.63              $5.75               $14.24              $4.11               $32.46                $90.41
  40004724      Y           $0.80             $1.52                $1.82               $2.71               $1.67              $1.45                $3.58              $1.03                $8.17                $22.75
  40004732      Y           $2.15             $4.12                $4.92               $7.33               $4.51              $3.91                $9.69              $2.79               $22.08                $61.50
  40004740      Y           $2.80             $5.36                $6.41               $9.53               $5.87              $5.09               $12.61              $3.64               $28.73                $80.04
  40004759      Y           $0.13             $0.25                $0.29               $0.44               $0.27              $0.23                $0.58              $0.17                $1.32                 $3.67
  40004767      Y           $0.29             $0.56                $0.67               $0.99               $0.61              $0.53                $1.31              $0.38                $2.98                 $8.31
  40004775      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004783      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004791      Y           $1.42             $2.72                $3.25               $4.84               $2.98              $2.58                $6.40              $1.85               $14.60                $40.66
  40004805      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40004813      Y           $0.14             $0.26                $0.32               $0.47               $0.29              $0.25                $0.62              $0.18                $1.41                 $3.94
  40004821      Y           $0.31             $0.60                $0.71               $1.06               $0.65              $0.57                $1.40              $0.41                $3.20                 $8.92
  40004830      Y           $2.63             $5.03                $6.01               $8.94               $5.50              $4.77               $11.82              $3.41               $26.94                $75.05
  40004848      Y           $1.07             $2.05                $2.45               $3.65               $2.25              $1.95                $4.83              $1.39               $11.01                $30.66
  40004856      Y           $0.58             $1.11                $1.33               $1.98               $1.22              $1.05                $2.61              $0.75                $5.96                $16.60
  40004864      Y           $0.18             $0.35                $0.42               $0.62               $0.38              $0.33                $0.82              $0.24                $1.87                 $5.20
  40004872      Y           $0.10             $0.20                $0.24               $0.35               $0.22              $0.19                $0.47              $0.13                $1.06                 $2.96

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40004880      Y           $0.31              $0.60               $0.71               $1.06               $0.65               $0.57               $1.40              $0.41                $3.20                 $8.92
  40004899      Y           $0.15              $0.29               $0.35               $0.52               $0.32               $0.28               $0.69              $0.20                $1.56                 $4.36
  40004902      Y           $0.16              $0.30               $0.36               $0.53               $0.33               $0.28               $0.70              $0.20                $1.60                 $4.46
  40004910      Y           $0.95              $1.82               $2.17               $3.23               $1.99               $1.72               $4.27              $1.23                $9.74                $27.12
  40004929      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004937      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40004945      Y           $0.21              $0.40               $0.47               $0.71               $0.43               $0.38               $0.93              $0.27                $2.13                 $5.93
  40004953      Y           $0.39              $0.75               $0.89               $1.33               $0.82               $0.71               $1.76              $0.51                $4.01                $11.17
  40004961      Y           $0.10              $0.20               $0.24               $0.35               $0.22               $0.19               $0.47              $0.14                $1.07                 $2.97
  40004970      Y           $0.37              $0.71               $0.85               $1.27               $0.78               $0.68               $1.68              $0.48                $3.82                $10.64
  40004988      Y           $0.47              $0.90               $1.07               $1.59               $0.98               $0.85               $2.11              $0.61                $4.80                $13.38
  40004996      Y           $0.02              $0.04               $0.05               $0.08               $0.05               $0.04               $0.10              $0.03                $0.23                 $0.64
  40005003      Y           $0.14              $0.27               $0.32               $0.47               $0.29               $0.25               $0.62              $0.18                $1.42                 $3.96
  40005011      Y           $0.66              $1.26               $1.51               $2.24               $1.38               $1.20               $2.97              $0.86                $6.76                $18.82
  40005020      Y           $0.21              $0.40               $0.48               $0.71               $0.44               $0.38               $0.94              $0.27                $2.13                 $5.94
  40005038      Y           $1.02              $1.95               $2.33               $3.47               $2.14               $1.85               $4.59              $1.32               $10.47                $29.16
  40005046      Y           $0.44              $0.83               $1.00               $1.48               $0.91               $0.79               $1.96              $0.57                $4.47                $12.44
  40005054      Y           $0.33              $0.63               $0.75               $1.12               $0.69               $0.60               $1.48              $0.43                $3.38                 $9.41
  40005062      Y           $0.21              $0.40               $0.48               $0.71               $0.44               $0.38               $0.94              $0.27                $2.13                 $5.94
  40005070      Y           $4.05              $7.75               $9.26              $13.78               $8.48               $7.35              $18.22              $5.26               $41.53                $115.67
  40005089      Y           $0.20              $0.38               $0.45               $0.68               $0.42               $0.36               $0.89              $0.26                $2.04                 $5.68
  40005097      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005100      Y           $0.23              $0.45               $0.54               $0.80               $0.49               $0.42               $1.05              $0.30                $2.40                 $6.69
  40005119      Y           $0.34              $0.65               $0.77               $1.15               $0.71               $0.61               $1.52              $0.44                $3.47                 $9.66
  40005127      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005135      Y           $0.77              $1.48               $1.76               $2.63               $1.62               $1.40               $3.47              $1.00                $7.91                $22.04
  40005143      Y           $1.98              $3.78               $4.52               $6.73               $4.14               $3.59               $8.90              $2.57               $20.27                $56.47
  40005151      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005160      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005178      Y           $0.56              $1.08               $1.29               $1.92               $1.18               $1.02               $2.54              $0.73                $5.79                $16.12
  40005186      Y           $0.97              $1.86               $2.22               $3.30               $2.03               $1.76               $4.37              $1.26                $9.95                $27.72
  40005194      Y           $6.31             $12.08              $14.43              $21.48              $13.22              $11.46              $28.40              $8.19               $64.73                $180.32
  40005208      Y           $0.29              $0.56               $0.67               $1.00               $0.62               $0.54               $1.33              $0.38                $3.03                 $8.43
  40005216      Y           $0.28              $0.53               $0.63               $0.94               $0.58               $0.50               $1.25              $0.36                $2.85                 $7.93
  40005224      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005232      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005240      Y           $0.18              $0.35               $0.41               $0.61               $0.38               $0.33               $0.81              $0.23                $1.85                 $5.15
  40005259      Y           $1.89              $3.62               $4.32               $6.43               $3.96               $3.43               $8.51              $2.45               $19.38                $54.00
  40005267      Y           $0.81              $1.56               $1.86               $2.77               $1.71               $1.48               $3.67              $1.06                $8.36                $23.28
  40005275      Y           $0.92              $1.76               $2.10               $3.13               $1.93               $1.67               $4.14              $1.19                $9.43                $26.26
  40005283      Y           $0.34              $0.65               $0.78               $1.15               $0.71               $0.62               $1.53              $0.44                $3.48                 $9.68
  40005291      Y           $0.82              $1.58               $1.88               $2.80               $1.73               $1.50               $3.71              $1.07                $8.45                $23.53
  40005305      Y           $1.56              $2.99               $3.57               $5.31               $3.27               $2.83               $7.02              $2.03               $16.01                $44.58

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40005313      Y           $0.10              $0.20               $0.24               $0.35               $0.22               $0.19               $0.47              $0.14                $1.07                 $2.97
  40005321      Y           $0.48              $0.91               $1.09               $1.62               $1.00               $0.86               $2.14              $0.62                $4.88                $13.60
  40005330      Y           $0.24              $0.46               $0.55               $0.82               $0.51               $0.44               $1.09              $0.31                $2.48                 $6.91
  40005348      Y           $0.66              $1.26               $1.51               $2.25               $1.38               $1.20               $2.97              $0.86                $6.78                $18.87
  40005356      Y           $1.52              $2.91               $3.48               $5.18               $3.19               $2.76               $6.85              $1.98               $15.61                $43.47
  40005364      Y           $0.87              $1.66               $1.98               $2.95               $1.82               $1.57               $3.90              $1.13                $8.89                $24.77
  40005372      Y           $6.07             $11.62              $13.88              $20.65              $12.72              $11.02              $27.31              $7.88               $62.24                $173.38
  40005380      Y           $0.11              $0.21               $0.25               $0.38               $0.23               $0.20               $0.50              $0.14                $1.14                 $3.17
  40005399      Y           $4.75              $9.10              $10.86              $16.17               $9.95               $8.63              $21.38              $6.17               $48.73                $135.73
  40005402      Y           $0.27              $0.51               $0.61               $0.91               $0.56               $0.49               $1.21              $0.35                $2.76                 $7.68
  40005410      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81              $0.81                $6.40                $17.83
  40005429      Y           $0.93              $1.79               $2.14               $3.18               $1.96               $1.70               $4.20              $1.21                $9.58                $26.68
  40005437      Y           $1.09              $2.09               $2.50               $3.72               $2.29               $1.98               $4.92              $1.42               $11.20                $31.20
  40005445      Y           $0.09              $0.17               $0.20               $0.30               $0.18               $0.16               $0.39              $0.11                $0.89                 $2.48
  40005453      Y           $0.16              $0.30               $0.36               $0.53               $0.33               $0.28               $0.70              $0.20                $1.60                 $4.46
  40005461      Y           $0.39              $0.75               $0.90               $1.34               $0.83               $0.71               $1.77              $0.51                $4.04                $11.25
  40005470      Y           $0.90              $1.73               $2.06               $3.07               $1.89               $1.64               $4.06              $1.17                $9.25                $25.76
  40005488      Y           $1.01              $1.94               $2.32               $3.45               $2.13               $1.84               $4.56              $1.32               $10.40                $28.98
  40005496      Y           $0.15              $0.28               $0.34               $0.50               $0.31               $0.27               $0.66              $0.19                $1.51                 $4.21
  40005500      Y           $0.51              $0.98               $1.17               $1.75               $1.08               $0.93               $2.31              $0.67                $5.26                $14.66
  40005518      Y           $0.81              $1.54               $1.84               $2.74               $1.69               $1.46               $3.63              $1.05                $8.27                $23.04
  40005526      Y           $0.82              $1.57               $1.88               $2.80               $1.72               $1.49               $3.70              $1.07                $8.43                $23.48
  40005534      Y           $0.35              $0.66               $0.79               $1.18               $0.73               $0.63               $1.56              $0.45                $3.56                 $9.91
  40005542      Y           $1.36              $2.59               $3.10               $4.61               $2.84               $2.46               $6.10              $1.76               $13.90                $38.72
  40005550      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81              $0.81                $6.40                $17.83
  40005569      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005577      Y           $0.45              $0.86               $1.03               $1.53               $0.94               $0.82               $2.03              $0.59                $4.62                $12.88
  40005585      Y           $0.23              $0.45               $0.54               $0.80               $0.49               $0.42               $1.05              $0.30                $2.40                 $6.69
  40005593      Y           $0.51              $0.97               $1.16               $1.73               $1.07               $0.92               $2.29              $0.66                $5.22                $14.53
  40005607      Y           $1.39              $2.66               $3.17               $4.72               $2.91               $2.52               $6.24              $1.80               $14.23                $39.63
  40005615      Y           $0.76              $1.46               $1.74               $2.60               $1.60               $1.39               $3.43              $0.99                $7.82                $21.80
  40005623      Y           $0.87              $1.66               $1.98               $2.95               $1.82               $1.57               $3.90              $1.13                $8.89                $24.77
  40005631      Y           $0.87              $1.66               $1.98               $2.95               $1.82               $1.57               $3.90              $1.13                $8.89                $24.77
  40005640      Y           $4.63              $8.87              $10.60              $15.77               $9.71               $8.41              $20.86              $6.02               $47.54                $132.42
  40005658      Y           $0.16              $0.32               $0.38               $0.56               $0.35               $0.30               $0.74              $0.21                $1.69                 $4.71
  40005666      Y           $0.48              $0.91               $1.09               $1.62               $1.00               $0.87               $2.15              $0.62                $4.89                $13.62
  40005674      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40005682      Y           $1.01              $1.93               $2.30               $3.42               $2.11               $1.83               $4.53              $1.31               $10.31                $28.73
  40005690      Y           $0.08              $0.15               $0.18               $0.27               $0.16               $0.14               $0.35              $0.10                $0.80                 $2.23
  40005704      Y           $0.63              $1.21               $1.45               $2.15               $1.33               $1.15               $2.85              $0.82                $6.49                $18.08
  40005712      Y           $0.54              $1.03               $1.23               $1.83               $1.13               $0.98               $2.42              $0.70                $5.51                $15.36
  40005720      Y           $3.25              $6.22               $7.43              $11.06               $6.81               $5.90              $14.63              $4.22               $33.33                $92.85
  40005739      Y           $1.32              $2.52               $3.01               $4.48               $2.76               $2.39               $5.93              $1.71               $13.52                $37.65

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

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Final Net Fund Amount:
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                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40005747      Y           $0.23              $0.43               $0.52               $0.77               $0.47              $0.41                $1.01              $0.29                $2.31                 $6.44
  40005755      Y           $0.24              $0.46               $0.55               $0.82               $0.51              $0.44                $1.09              $0.31                $2.49                 $6.93
  40005763      Y           $1.08              $2.06               $2.46               $3.66               $2.25              $1.95                $4.84              $1.40               $11.03                $30.73
  40005771      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40005780      Y           $0.20              $0.39               $0.46               $0.69               $0.43              $0.37                $0.91              $0.26                $2.08                 $5.80
  40005798      Y           $0.37              $0.71               $0.84               $1.25               $0.77              $0.67                $1.66              $0.48                $3.78                $10.53
  40005801      Y           $0.28              $0.53               $0.63               $0.94               $0.58              $0.50                $1.25              $0.36                $2.85                 $7.93
  40005810      Y           $1.46              $2.79               $3.33               $4.95               $3.05              $2.64                $6.55              $1.89               $14.92                $41.57
  40005828      Y           $0.49              $0.93               $1.11               $1.65               $1.02              $0.88                $2.18              $0.63                $4.98                $13.87
  40005836      Y           $1.68              $3.22               $3.84               $5.72               $3.52              $3.05                $7.56              $2.18               $17.24                $48.02
  40005844      Y           $0.82              $1.58               $1.88               $2.80               $1.73              $1.50                $3.71              $1.07                $8.45                $23.53
  40005852      Y           $2.59              $4.96               $5.93               $8.82               $5.43              $4.71               $11.67              $3.37               $26.59                $74.06
  40005860      Y           $2.95              $5.65               $6.75              $10.05               $6.18              $5.36               $13.28              $3.83               $30.27                $84.33
  40005879      Y           $0.47              $0.90               $1.07               $1.59               $0.98              $0.85                $2.11              $0.61                $4.80                $13.38
  40005887      Y           $2.36              $4.51               $5.39               $8.03               $4.94              $4.28               $10.61              $3.06               $24.19                $67.37
  40005895      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40005909      Y           $3.19              $6.10               $7.29              $10.85               $6.68              $5.79               $14.34              $4.14               $32.69                $91.05
  40005917      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40005925      Y           $0.23              $0.43               $0.52               $0.77               $0.47              $0.41                $1.01              $0.29                $2.31                 $6.44
  40005933      Y           $0.49              $0.93               $1.11               $1.65               $1.02              $0.88                $2.18              $0.63                $4.98                $13.86
  40005941      Y           $0.73              $1.39               $1.67               $2.48               $1.53              $1.32                $3.28              $0.95                $7.47                $20.81
  40005950      Y           $0.53              $1.01               $1.21               $1.80               $1.11              $0.96                $2.38              $0.69                $5.42                $15.11
  40005968      Y           $1.11              $2.12               $2.53               $3.77               $2.32              $2.01                $4.99              $1.44               $11.37                $31.67
  40005976      Y           $3.99              $7.64               $9.13              $13.58               $8.36              $7.25               $17.96              $5.18               $40.94                $114.05
  40005984      Y           $2.48              $4.75               $5.67               $8.44               $5.20              $4.50               $11.16              $3.22               $25.43                $70.84
  40005992      Y           $0.35              $0.66               $0.79               $1.18               $0.73              $0.63                $1.56              $0.45                $3.56                 $9.91
  40006000      Y           $0.48              $0.91               $1.09               $1.62               $1.00              $0.87                $2.15              $0.62                $4.89                $13.62
  40006018      Y           $0.57              $1.10               $1.31               $1.95               $1.20              $1.04                $2.58              $0.74                $5.87                $16.35
  40006026      Y           $0.37              $0.70               $0.84               $1.25               $0.77              $0.67                $1.65              $0.48                $3.77                $10.50
  40006034      Y           $5.40             $10.33              $12.34              $18.37              $11.31              $9.80               $24.29              $7.01               $55.36                $154.20
  40006042      Y           $0.12              $0.23               $0.28               $0.41               $0.25              $0.22                $0.55              $0.16                $1.24                 $3.47
  40006050      Y           $0.38              $0.73               $0.87               $1.30               $0.80              $0.69                $1.72              $0.50                $3.91                $10.90
  40006069      Y           $0.35              $0.68               $0.81               $1.21               $0.74              $0.64                $1.60              $0.46                $3.64                $10.14
  40006077      Y           $0.70              $1.33               $1.59               $2.37               $1.46              $1.27                $3.14              $0.90                $7.15                $19.91
  40006085      Y           $0.36              $0.69               $0.82               $1.22               $0.75              $0.65                $1.62              $0.47                $3.68                $10.26
  40006093      Y           $0.94              $1.81               $2.16               $3.22               $1.98              $1.72                $4.25              $1.23                $9.69                $27.00
  40006107      Y           $0.46              $0.89               $1.06               $1.58               $0.97              $0.84                $2.09              $0.60                $4.76                $13.25
  40006115      Y           $0.10              $0.20               $0.24               $0.35               $0.22              $0.19                $0.47              $0.14                $1.07                 $2.97
  40006123      Y           $0.69              $1.33               $1.59               $2.36               $1.45              $1.26                $3.12              $0.90                $7.11                $19.82
  40006131      Y           $0.17              $0.32               $0.38               $0.57               $0.35              $0.31                $0.76              $0.22                $1.73                 $4.81
  40006140      Y           $1.39              $2.66               $3.17               $4.72               $2.91              $2.52                $6.24              $1.80               $14.23                $39.63
  40006158      Y           $0.61              $1.16               $1.39               $2.07               $1.27              $1.10                $2.73              $0.79                $6.22                $17.34
  40006166      Y           $0.21              $0.40               $0.48               $0.71               $0.44              $0.38                $0.94              $0.27                $2.13                 $5.94

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40006174      Y           $1.11             $2.12               $2.53               $3.77               $2.32               $2.01               $4.98               $1.44              $11.36                 $31.64
  40006182      Y           $0.18             $0.35               $0.41               $0.61               $0.38               $0.33               $0.81               $0.23               $1.85                  $5.15
  40006190      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40006204      Y           $0.99             $1.89               $2.26               $3.36               $2.07               $1.79               $4.45               $1.28              $10.14                 $28.24
  40006212      Y           $0.18             $0.35               $0.42               $0.62               $0.38               $0.33               $0.82               $0.24               $1.87                  $5.20
  40006220      Y           $0.30             $0.58               $0.69               $1.03               $0.64               $0.55               $1.37               $0.39               $3.11                  $8.67
  40006239      Y           $0.59             $1.13               $1.35               $2.00               $1.23               $1.07               $2.65               $0.76               $6.04                 $16.83
  40006247      Y           $0.81             $1.55               $1.85               $2.75               $1.69               $1.47               $3.64               $1.05               $8.29                 $23.08
  40006255      Y           $1.25             $2.39               $2.85               $4.25               $2.62               $2.27               $5.62               $1.62              $12.80                 $35.67
  40006263      Y           $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.13               $1.06                  $2.96
  40006271      Y           $0.23             $0.45               $0.53               $0.79               $0.49               $0.42               $1.05               $0.30               $2.39                  $6.66
  40006280      Y           $2.60             $4.98               $5.95               $8.85               $5.45               $4.72              $11.70               $3.38              $26.68                 $74.31
  40006298      Y           $0.22             $0.41               $0.50               $0.74               $0.45               $0.39               $0.98               $0.28               $2.22                  $6.19
  40006301      Y           $0.86             $1.65               $1.97               $2.93               $1.80               $1.56               $3.87               $1.12               $8.83                 $24.60
  40006310      Y           $0.01             $0.01               $0.02               $0.02               $0.01               $0.01               $0.03               $0.01               $0.07                  $0.20
  40006328      Y           $1.41             $2.70               $3.23               $4.81               $2.96               $2.56               $6.36               $1.83              $14.49                 $40.35
  40006336      Y           $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14               $1.07                  $2.97
  40006344      Y           $1.98             $3.78               $4.52               $6.73               $4.14               $3.59               $8.90               $2.57              $20.27                 $56.47
  40006352      Y          $893.03          $1,709.79           $2,042.24           $3,039.36           $1,871.29           $1,621.45           $4,019.12           $1,159.34           $9,159.92             $25,515.54
  40006360      Y           $1.14             $2.19               $2.61               $3.89               $2.39               $2.07               $5.14               $1.48              $11.72                 $32.65
  40006379      Y           $0.46             $0.88               $1.05               $1.56               $0.96               $0.83               $2.07               $0.60               $4.71                 $13.13
  40006387      Y           $0.29             $0.56               $0.67               $1.00               $0.62               $0.53               $1.32               $0.38               $3.01                  $8.40
  40006395      Y           $2.27             $4.35               $5.19               $7.73               $4.76               $4.12              $10.22               $2.95              $23.30                 $64.89
  40006409      Y           $1.11             $2.13               $2.54               $3.79               $2.33               $2.02               $5.01               $1.44              $11.41                 $31.79
  40006417      Y           $2.95             $5.64               $6.74              $10.03               $6.18               $5.35              $13.27               $3.83              $30.23                 $84.21
  40006425      Y           $3.50             $6.71               $8.01              $11.92               $7.34               $6.36              $15.76               $4.55              $35.92                $100.07
  40006433      Y           $0.94             $1.79               $2.14               $3.19               $1.96               $1.70               $4.21               $1.22               $9.60                 $26.75
  40006441      Y           $0.58             $1.11               $1.32               $1.97               $1.21               $1.05               $2.60               $0.75               $5.93                 $16.53
  40006450      Y           $1.04             $1.99               $2.38               $3.54               $2.18               $1.89               $4.68               $1.35              $10.66                 $29.69
  40006468      Y           $2.38             $4.56               $5.45               $8.11               $5.00               $4.33              $10.73               $3.09              $24.45                 $68.11
  40006476      Y           $1.14             $2.19               $2.62               $3.89               $2.40               $2.08               $5.15               $1.49              $11.74                 $32.70
  40006484      Y           $1.18             $2.26               $2.70               $4.02               $2.47               $2.14               $5.31               $1.53              $12.10                 $33.71
  40006492      Y           $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                 $19.82
  40006506      Y           $0.29             $0.55               $0.65               $0.97               $0.60               $0.52               $1.29               $0.37               $2.93                  $8.17
  40006514      Y           $1.56             $2.99               $3.57               $5.31               $3.27               $2.83               $7.02               $2.02              $16.00                 $44.56
  40006522      Y           $0.58             $1.12               $1.34               $1.99               $1.23               $1.06               $2.63               $0.76               $6.00                 $16.70
  40006530      Y           $4.68             $8.96              $10.71              $15.93               $9.81               $8.50              $21.07               $6.08              $48.02                $133.75
  40006549      Y           $0.31             $0.59               $0.71               $1.05               $0.65               $0.56               $1.39               $0.40               $3.17                  $8.82
  40006557      Y           $0.64             $1.22               $1.46               $2.17               $1.34               $1.16               $2.87               $0.83               $6.55                 $18.25
  40006565      Y           $0.99             $1.90               $2.27               $3.38               $2.08               $1.80               $4.47               $1.29              $10.19                 $28.37
  40006573      Y           $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14               $1.07                  $2.97
  40006581      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40006590      Y           $0.24             $0.46               $0.55               $0.82               $0.51               $0.44               $1.09               $0.31               $2.48                  $6.91

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40006603      Y            $3.28             $6.27               $7.49              $11.15               $6.87               $5.95             $14.75                $4.25             $33.61                 $93.63
  40006611      Y            $1.49             $2.86               $3.42               $5.08               $3.13               $2.71              $6.72                $1.94             $15.32                 $42.69
  40006620      Y            $0.56             $1.08               $1.29               $1.92               $1.18               $1.02              $2.54                $0.73              $5.78                 $16.10
  40006638      Y            $0.63             $1.20               $1.43               $2.13               $1.31               $1.14              $2.82                $0.81              $6.43                 $17.91
  40006646      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94              $2.34                $0.68              $5.34                 $14.86
  40006654      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94              $2.34                $0.68              $5.34                 $14.86
  40006662      Y            $0.68             $1.29               $1.55               $2.30               $1.42               $1.23              $3.04                $0.88              $6.94                 $19.32
  40006670      Y            $0.16             $0.30               $0.36               $0.53               $0.33               $0.28              $0.70                $0.20              $1.60                  $4.46
  40006689      Y            $0.10             $0.20               $0.24               $0.35               $0.22               $0.19              $0.47                $0.14              $1.07                  $2.97
  40006697      Y            $0.69             $1.33               $1.58               $2.36               $1.45               $1.26              $3.12                $0.90              $7.10                 $19.78
  40006700      Y            $0.66             $1.26               $1.51               $2.24               $1.38               $1.20              $2.97                $0.86              $6.76                 $18.82
  40006719      Y           $23.82            $45.60              $54.47              $81.07              $49.91              $43.25             $107.20              $30.92             $244.32                $680.56
  40006727      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006735      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006743      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006751      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006760      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006778      Y            $0.90             $1.72               $2.06               $3.06               $1.88               $1.63              $4.05                $1.17              $9.22                 $25.69
  40006786      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006794      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006808      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006816      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006824      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006832      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006840      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006859      Y            $0.62             $1.20               $1.43               $2.12               $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  40006867      Y            $1.95             $3.73               $4.45               $6.62               $4.08               $3.53              $8.76                $2.53             $19.96                 $55.61
  40006875      Y            $0.55             $1.05               $1.26               $1.88               $1.15               $1.00              $2.48                $0.72              $5.65                 $15.74
  40006883      Y            $1.19             $2.28               $2.72               $4.05               $2.50               $2.16              $5.36                $1.55             $12.22                 $34.03
  40006891      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006905      Y            $0.48             $0.91               $1.09               $1.62               $1.00               $0.87              $2.14                $0.62              $4.89                 $13.61
  40006913      Y            $0.99             $1.89               $2.26               $3.36               $2.07               $1.79              $4.44                $1.28             $10.12                 $28.19
  40006921      Y            $0.60             $1.15               $1.38               $2.05               $1.26               $1.09              $2.71                $0.78              $6.17                 $17.19
  40006930      Y            $0.41             $0.78               $0.93               $1.38               $0.85               $0.74              $1.83                $0.53              $4.16                 $11.60
  40006948      Y            $1.04             $1.99               $2.38               $3.54               $2.18               $1.89              $4.68                $1.35             $10.67                 $29.72
  40006956      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40006964      Y            $0.69             $1.33               $1.59               $2.36               $1.45               $1.26              $3.12                $0.90              $7.11                 $19.82
  40006972      Y            $0.35             $0.66               $0.79               $1.18               $0.73               $0.63              $1.56                $0.45              $3.56                  $9.91
  40006980      Y            $0.45             $0.86               $1.03               $1.53               $0.94               $0.82              $2.02                $0.58              $4.61                 $12.85
  40006999      Y            $0.09             $0.17               $0.20               $0.30               $0.18               $0.16              $0.40                $0.11              $0.90                  $2.51
  40007006      Y            $0.11             $0.20               $0.24               $0.36               $0.22               $0.19              $0.48                $0.14              $1.08                  $3.02
  40007014      Y            $2.65             $5.08               $6.06               $9.03               $5.56               $4.82             $11.94                $3.44             $27.20                 $75.77
  40007022      Y            $3.02             $5.78               $6.90              $10.27               $6.32               $5.48             $13.58                $3.92             $30.94                 $86.20

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40007030      Y           $0.15             $0.30               $0.35                $0.53              $0.32               $0.28                $0.70              $0.20                $1.58                 $4.41
  40007049      Y           $0.10             $0.20               $0.24                $0.35              $0.22               $0.19                $0.47              $0.14                $1.07                 $2.97
  40007057      Y           $0.74             $1.41               $1.69                $2.51              $1.54               $1.34                $3.32              $0.96                $7.56                $21.05
  40007065      Y           $0.16             $0.32               $0.38                $0.56              $0.35               $0.30                $0.74              $0.21                $1.69                 $4.71
  40007073      Y           $0.43             $0.83               $0.99                $1.47              $0.91               $0.78                $1.95              $0.56                $4.43                $12.35
  40007081      Y           $1.61             $3.09               $3.69                $5.49              $3.38               $2.93                $7.26              $2.09               $16.54                $46.07
  40007090      Y           $0.55             $1.05               $1.25                $1.86              $1.15               $0.99                $2.47              $0.71                $5.62                $15.65
  40007103      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40007111      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40007120      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40007138      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40007146      N           $0.00             $0.00               $0.00                $0.00              $0.00               $0.00                $0.00              $0.00                $0.00                 $0.00
  40007154      Y           $0.20             $0.39               $0.47                $0.70              $0.43               $0.37                $0.92              $0.27                $2.09                 $5.84
  40007162      Y           $0.40             $0.76               $0.91                $1.36              $0.84               $0.72                $1.79              $0.52                $4.09                $11.39
  40007170      Y           $0.50             $0.97               $1.15                $1.72              $1.06               $0.92                $2.27              $0.65                $5.18                $14.42
  40007189      Y           $0.73             $1.39               $1.66                $2.47              $1.52               $1.32                $3.27              $0.94                $7.45                $20.75
  40007197      Y           $0.08             $0.15               $0.18                $0.27              $0.16               $0.14                $0.35              $0.10                $0.80                 $2.23
  40007200      Y           $0.55             $1.06               $1.27                $1.89              $1.16               $1.01                $2.50              $0.72                $5.69                $15.85
  40007219      Y           $0.35             $0.66               $0.79                $1.18              $0.73               $0.63                $1.56              $0.45                $3.56                 $9.91
  40007227      Y           $0.79             $1.51               $1.81                $2.69              $1.65               $1.43                $3.55              $1.03                $8.10                $22.56
  40007235      Y           $0.31             $0.60               $0.71                $1.06              $0.65               $0.57                $1.40              $0.41                $3.20                 $8.92
  40007243      Y           $0.85             $1.62               $1.94                $2.89              $1.78               $1.54                $3.82              $1.10                $8.71                $24.25
  40007251      Y           $0.42             $0.80               $0.95                $1.42              $0.87               $0.75                $1.87              $0.54                $4.26                $11.88
  40007260      Y           $0.10             $0.20               $0.24                $0.35              $0.22               $0.19                $0.47              $0.13                $1.06                 $2.96
  40007278      Y           $1.10             $2.11               $2.52                $3.74              $2.31               $2.00                $4.95              $1.43               $11.29                $31.44
  40007286      Y           $0.46             $0.87               $1.04                $1.55              $0.96               $0.83                $2.05              $0.59                $4.68                $13.03
  40007294      Y           $0.53             $1.02               $1.22                $1.81              $1.12               $0.97                $2.40              $0.69                $5.47                $15.23
  40007308      Y           $0.49             $0.93               $1.11                $1.65              $1.02               $0.88                $2.18              $0.63                $4.98                $13.87
  40007316      Y           $0.50             $0.96               $1.15                $1.71              $1.05               $0.91                $2.26              $0.65                $5.15                $14.34
  40007324      Y           $0.42             $0.80               $0.95                $1.41              $0.87               $0.75                $1.87              $0.54                $4.26                $11.86
  40007332      Y           $2.32             $4.45               $5.31                $7.91              $4.87               $4.22               $10.46              $3.02               $23.83                $66.38
  40007340      Y           $0.97             $1.86               $2.22                $3.30              $2.03               $1.76                $4.37              $1.26                $9.96                $27.74
  40007359      Y           $0.76             $1.46               $1.74                $2.60              $1.60               $1.39                $3.43              $0.99                $7.82                $21.80
  40007367      Y           $0.17             $0.33               $0.40                $0.59              $0.36               $0.31                $0.78              $0.23                $1.78                 $4.95
  40007375      Y           $0.96             $1.84               $2.20                $3.27              $2.02               $1.75                $4.33              $1.25                $9.87                $27.49
  40007383      Y           $0.07             $0.13               $0.16                $0.24              $0.15               $0.13                $0.31              $0.09                $0.71                 $1.98
  40007391      Y           $4.28             $8.20               $9.79               $14.58              $8.97               $7.78               $19.27              $5.56               $43.93                $122.36
  40007405      Y           $0.10             $0.20               $0.24                $0.35              $0.22               $0.19                $0.47              $0.14                $1.07                 $2.97
  40007413      Y           $0.81             $1.54               $1.84                $2.74              $1.69               $1.46                $3.63              $1.05                $8.27                $23.04
  40007421      Y           $1.09             $2.08               $2.49                $3.70              $2.28               $1.98                $4.90              $1.41               $11.16                $31.08
  40007430      Y           $3.00             $5.75               $6.87               $10.22              $6.29               $5.45               $13.51              $3.90               $30.80                $85.80
  40007448      Y           $0.52             $1.00               $1.19                $1.77              $1.09               $0.94                $2.34              $0.68                $5.34                $14.86
  40007456      Y           $0.26             $0.50               $0.59                $0.89              $0.54               $0.47                $1.17              $0.34                $2.67                 $7.43

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40007464      Y           $1.32              $2.52               $3.01               $4.48               $2.76               $2.39               $5.93              $1.71               $13.52                $37.65
  40007472      Y           $0.96              $1.84               $2.20               $3.27               $2.01               $1.74               $4.32              $1.25                $9.85                $27.44
  40007480      Y           $1.79              $3.42               $4.08               $6.08               $3.74               $3.24               $8.04              $2.32               $18.32                $51.02
  40007499      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40007502      Y           $0.27              $0.52               $0.62               $0.92               $0.57               $0.49               $1.22              $0.35                $2.77                 $7.73
  40007510      Y           $0.33              $0.63               $0.75               $1.12               $0.69               $0.60               $1.48              $0.43                $3.38                 $9.41
  40007529      Y           $0.10              $0.20               $0.24               $0.35               $0.22               $0.19               $0.47              $0.13                $1.06                 $2.96
  40007537      Y           $0.13              $0.25               $0.30               $0.45               $0.28               $0.24               $0.59              $0.17                $1.35                 $3.75
  40007545      Y           $0.48              $0.92               $1.10               $1.64               $1.01               $0.87               $2.16              $0.62                $4.93                $13.74
  40007553      Y           $0.38              $0.72               $0.86               $1.28               $0.79               $0.68               $1.70              $0.49                $3.87                $10.77
  40007561      Y           $0.44              $0.84               $1.01               $1.50               $0.92               $0.80               $1.98              $0.57                $4.52                $12.58
  40007570      Y           $1.16              $2.22               $2.66               $3.95               $2.43               $2.11               $5.23              $1.51               $11.92                $33.19
  40007588      Y           $0.62              $1.19               $1.42               $2.11               $1.30               $1.13               $2.79              $0.81                $6.37                $17.73
  40007596      Y           $1.06              $2.03               $2.43               $3.61               $2.23               $1.93               $4.78              $1.38               $10.89                $30.34
  40007600      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40007618      Y           $0.24              $0.46               $0.56               $0.83               $0.51               $0.44               $1.09              $0.32                $2.49                 $6.94
  40007626      Y           $1.47              $2.81               $3.35               $4.99               $3.07               $2.66               $6.60              $1.90               $15.05                $41.91
  40007634      Y           $0.37              $0.71               $0.85               $1.27               $0.78               $0.68               $1.68              $0.48                $3.82                $10.65
  40007642      Y           $0.42              $0.80               $0.95               $1.42               $0.87               $0.76               $1.87              $0.54                $4.27                $11.89
  40007650      Y           $0.34              $0.66               $0.79               $1.17               $0.72               $0.62               $1.55              $0.45                $3.52                 $9.81
  40007669      Y           $0.13              $0.25               $0.30               $0.44               $0.27               $0.24               $0.59              $0.17                $1.33                 $3.72
  40007677      Y           $0.67              $1.28               $1.53               $2.28               $1.40               $1.22               $3.01              $0.87                $6.86                $19.12
  40007685      Y           $1.42              $2.72               $3.25               $4.84               $2.98               $2.58               $6.40              $1.85               $14.58                $40.62
  40007693      Y           $0.95              $1.83               $2.18               $3.25               $2.00               $1.73               $4.29              $1.24                $9.78                $27.25
  40007707      Y           $0.66              $1.26               $1.51               $2.24               $1.38               $1.20               $2.97              $0.86                $6.76                $18.82
  40007715      Y           $0.07              $0.14               $0.17               $0.25               $0.15               $0.13               $0.33              $0.09                $0.75                 $2.08
  40007723      Y           $0.42              $0.80               $0.95               $1.42               $0.87               $0.76               $1.87              $0.54                $4.27                $11.89
  40007731      Y           $0.13              $0.25               $0.30               $0.45               $0.28               $0.24               $0.59              $0.17                $1.35                 $3.75
  40007740      Y           $0.66              $1.26               $1.51               $2.24               $1.38               $1.20               $2.96              $0.85                $6.75                $18.81
  40007758      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40007766      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40007774      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40007782      Y           $0.98              $1.88               $2.24               $3.33               $2.05               $1.78               $4.41              $1.27               $10.05                $27.99
  40007790      Y           $2.22              $4.25               $5.08               $7.55               $4.65               $4.03               $9.99              $2.88               $22.76                $63.41
  40007804      Y           $0.33              $0.63               $0.75               $1.12               $0.69               $0.60               $1.48              $0.43                $3.38                 $9.41
  40007812      Y           $0.75              $1.43               $1.70               $2.54               $1.56               $1.35               $3.36              $0.97                $7.65                $21.30
  40007820      Y           $4.44              $8.50              $10.15              $15.11               $9.30               $8.06              $19.98              $5.76               $45.53                $126.82
  40007839      Y           $0.23              $0.45               $0.54               $0.80               $0.49               $0.42               $1.05              $0.30                $2.40                 $6.69
  40007847      Y           $0.12              $0.23               $0.28               $0.41               $0.25               $0.22               $0.55              $0.16                $1.24                 $3.47
  40007855      Y           $0.03              $0.07               $0.08               $0.12               $0.07               $0.06               $0.16              $0.05                $0.36                 $0.99
  40007863      Y           $0.51              $0.98               $1.17               $1.74               $1.07               $0.93               $2.30              $0.66                $5.25                $14.61
  40007871      Y           $0.81              $1.54               $1.84               $2.74               $1.69               $1.46               $3.63              $1.05                $8.27                $23.04
  40007880      Y           $7.19             $13.76              $16.43              $24.46              $15.06              $13.05              $32.34              $9.33               $73.71                $205.31

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40007898      Y           $0.21              $0.40               $0.48               $0.71               $0.44               $0.38               $0.94               $0.27               $2.13                 $5.94
  40007901      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40007910      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40007928      Y           $1.19              $2.27               $2.72               $4.04               $2.49               $2.16               $5.35               $1.54              $12.19                $33.95
  40007936      Y           $0.40              $0.76               $0.91               $1.36               $0.84               $0.72               $1.79               $0.52               $4.09                $11.39
  40007944      Y           $2.43              $4.65               $5.55               $8.26               $5.09               $4.41              $10.92               $3.15              $24.90                $69.35
  40007952      Y           $2.60              $4.98               $5.95               $8.85               $5.45               $4.72              $11.70               $3.38              $26.68                $74.31
  40007960      Y           $4.16              $7.97               $9.52              $14.16               $8.72               $7.56              $18.73               $5.40              $42.68                $118.89
  40007979      Y           $1.61              $3.09               $3.69               $5.49               $3.38               $2.93               $7.26               $2.09              $16.54                $46.07
  40007987      Y           $0.16              $0.30               $0.36               $0.53               $0.33               $0.28               $0.70               $0.20               $1.60                 $4.46
  40007995      Y           $0.52              $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68               $5.34                $14.86
  40008002      Y           $0.74              $1.41               $1.68               $2.50               $1.54               $1.33               $3.31               $0.95               $7.54                $21.00
  40008010      Y           $0.30              $0.58               $0.69               $1.03               $0.64               $0.55               $1.37               $0.39               $3.11                 $8.67
  40008029      Y           $0.42              $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54               $4.27                $11.89
  40008037      Y           $0.37              $0.71               $0.85               $1.27               $0.78               $0.68               $1.68               $0.48               $3.82                $10.65
  40008045      Y           $1.30              $2.50               $2.98               $4.44               $2.73               $2.37               $5.87               $1.69              $13.38                $37.27
  40008053      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40008061      Y          $16.30             $31.21              $37.28              $55.48              $34.16              $29.60              $73.37              $21.16              $167.21               $465.76
  40008070      Y           $0.54              $1.03               $1.23               $1.84               $1.13               $0.98               $2.43               $0.70               $5.54                $15.42
  40008088      Y           $1.51              $2.89               $3.45               $5.13               $3.16               $2.74               $6.79               $1.96              $15.47                $43.10
  40008096      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81               $6.40                $17.83
  40008100      Y           $2.53              $4.85               $5.79               $8.62               $5.30               $4.60              $11.39               $3.29              $25.96                $72.33
  40008118      Y           $1.94              $3.72               $4.44               $6.61               $4.07               $3.53               $8.74               $2.52              $19.92                $55.48
  40008126      Y           $2.22              $4.25               $5.08               $7.55               $4.65               $4.03               $9.99               $2.88              $22.76                $63.41
  40008134      Y           $0.25              $0.48               $0.57               $0.86               $0.53               $0.46               $1.13               $0.33               $2.58                 $7.18
  40008142      Y           $3.90              $7.47               $8.92              $13.28               $8.17               $7.08              $17.56               $5.06              $40.01                $111.46
  40008150      Y          $10.91             $20.89              $24.95              $37.14              $22.86              $19.81              $49.11              $14.17              $111.92               $311.77
  40008169      Y           $0.13              $0.25               $0.30               $0.44               $0.27               $0.24               $0.59               $0.17               $1.33                 $3.72
  40008177      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81               $6.40                $17.83
  40008185      Y         $7,762.27         $14,861.68          $17,751.35          $26,418.36          $16,265.41          $14,093.80          $34,934.55          $10,077.08          $79,618.87            $221,783.37
  40008193      Y           $0.78              $1.49               $1.78               $2.66               $1.63               $1.42               $3.51               $1.01               $8.00                $22.29
  40008207      Y           $0.43              $0.83               $0.99               $1.48               $0.91               $0.79               $1.95               $0.56               $4.45                $12.38
  40008215      Y           $0.69              $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                $19.82
  40008223      Y          $10.25             $19.62              $23.43              $34.87              $21.47              $18.60              $46.12              $13.30              $105.10               $292.77
  40008231      Y           $0.31              $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.40               $3.20                 $8.91
  40008240      Y           $0.30              $0.58               $0.69               $1.03               $0.63               $0.55               $1.36               $0.39               $3.10                 $8.64
  40008258      Y           $0.28              $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.85                 $7.93
  40008266      Y           $0.13              $0.25               $0.30               $0.44               $0.27               $0.24               $0.59               $0.17               $1.33                 $3.72
  40008274      Y           $0.64              $1.23               $1.47               $2.18               $1.34               $1.16               $2.89               $0.83               $6.58                $18.33
  40008282      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40008290      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40008304      Y          $334.34           $640.13             $764.60             $1,137.91           $700.60             $607.06             $1,504.73           $434.05             $3,429.40             $9,552.81
  40008312      Y           $0.34              $0.65               $0.78               $1.16               $0.71               $0.62               $1.53               $0.44               $3.49                 $9.71

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40008320      Y           $0.12             $0.23               $0.28               $0.41               $0.25               $0.22               $0.55               $0.16               $1.24                  $3.47
  40008339      Y           $0.75             $1.44               $1.72               $2.57               $1.58               $1.37               $3.39               $0.98               $7.74                 $21.55
  40008347      Y           $1.86             $3.57               $4.26               $6.34               $3.91               $3.38               $8.39               $2.42              $19.12                 $53.25
  40008355      Y           $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14               $1.07                  $2.97
  40008363      Y           $2.12             $4.05               $4.84               $7.20               $4.43               $3.84               $9.52               $2.75              $21.70                 $60.44
  40008371      Y           $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41               $3.20                  $8.92
  40008380      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008398      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008401      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008410      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008428      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008436      Y           $0.62             $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81               $6.40                 $17.83
  40008444      Y           $0.36             $0.68               $0.81               $1.21               $0.74               $0.65               $1.60               $0.46               $3.65                 $10.16
  40008452      Y           $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13               $8.89                 $24.77
  40008460      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008479      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008487      Y           $0.08             $0.15               $0.17               $0.26               $0.16               $0.14               $0.34               $0.10               $0.78                  $2.18
  40008495      Y           $0.59             $1.13               $1.35               $2.01               $1.24               $1.07               $2.65               $0.77               $6.05                 $16.84
  40008509      Y           $0.39             $0.76               $0.90               $1.34               $0.83               $0.72               $1.78               $0.51               $4.05                 $11.28
  40008517      Y           $3.37             $6.44               $7.70              $11.45               $7.05               $6.11              $15.15               $4.37              $34.52                 $96.15
  40008525      Y           $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                 $19.82
  40008533      Y           $0.35             $0.66               $0.79               $1.18               $0.73               $0.63               $1.56               $0.45               $3.56                  $9.91
  40008541      Y           $0.26             $0.49               $0.58               $0.87               $0.54               $0.46               $1.15               $0.33               $2.62                  $7.31
  40008550      Y           $0.16             $0.30               $0.36               $0.53               $0.33               $0.28               $0.70               $0.20               $1.60                  $4.44
  40008568      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008576      Y           $0.52             $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68               $5.34                 $14.86
  40008584      Y           $0.16             $0.30               $0.36               $0.53               $0.33               $0.28               $0.70               $0.20               $1.60                  $4.46
  40008592      Y           $0.12             $0.23               $0.28               $0.42               $0.26               $0.22               $0.55               $0.16               $1.25                  $3.49
  40008606      Y           $0.62             $1.19               $1.42               $2.12               $1.31               $1.13               $2.80               $0.81               $6.39                 $17.79
  40008614      Y           $3.86             $7.38               $8.82              $13.12               $8.08               $7.00              $17.35               $5.01              $39.55                $110.18
  40008622      Y           $3.43             $6.57               $7.85              $11.68               $7.19               $6.23              $15.45               $4.46              $35.21                 $98.09
  40008630      Y           $3.40             $6.50               $7.77              $11.56               $7.12               $6.17              $15.29               $4.41              $34.84                 $97.06
  40008649      Y           $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                 $19.82
  40008657      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40008665      Y          $485.46           $929.47            $1,110.20           $1,652.25           $1,017.26            $881.45            $2,184.86            $630.24            $4,979.49             $13,870.68
  40008673      Y           $1.56             $2.98               $3.56               $5.30               $3.26               $2.83               $7.00               $2.02              $15.96                 $44.46
  40008681      Y           $4.46             $8.55              $10.21              $15.19               $9.36               $8.11              $20.09               $5.80              $45.79                $127.56
  40008690      Y           $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13               $8.89                 $24.77
  40008703      Y           $0.70             $1.35               $1.61               $2.39               $1.47               $1.28               $3.16               $0.91               $7.21                 $20.09
  40008711      Y           $0.03             $0.07               $0.08               $0.12               $0.07               $0.06               $0.16               $0.05               $0.36                  $0.99
  40008720      Y           $0.52             $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68               $5.34                 $14.86
  40008738      Y           $0.88             $1.68               $2.01               $2.99               $1.84               $1.60               $3.96               $1.14               $9.03                 $25.14
  40008746      Y           $0.76             $1.46               $1.74               $2.60               $1.60               $1.39               $3.43               $0.99               $7.82                 $21.80

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40008754      Y            $0.31             $0.59              $0.71               $1.06                $0.65               $0.56              $1.40                $0.40              $3.18                  $8.87
  40008762      Y            $0.38             $0.73              $0.87               $1.30                $0.80               $0.69              $1.72                $0.50              $3.91                 $10.90
  40008770      Y         $46,056.18        $88,179.39         $105,324.77         $156,749.13          $96,508.19          $83,623.27         $207,278.57          $59,790.76         $472,405.80           $1,315,916.06
  40008789      Y            $1.73             $3.32              $3.96               $5.90                $3.63               $3.15              $7.80                $2.25             $17.78                 $49.54
  40008797      Y            $1.02             $1.95              $2.33               $3.47                $2.14               $1.85              $4.59                $1.32             $10.46                 $29.12
  40008800      Y            $0.93             $1.79              $2.14               $3.18                $1.96               $1.70              $4.21                $1.21              $9.59                 $26.70
  40008819      Y            $0.27             $0.51              $0.61               $0.91                $0.56               $0.49              $1.21                $0.35              $2.76                  $7.68
  40008827      Y           $11.71            $22.41             $26.77              $39.85               $24.53              $21.26             $52.69               $15.20             $120.08                $334.50
  40008835      Y            $0.71             $1.37              $1.63               $2.43                $1.50               $1.30              $3.22                $0.93              $7.33                 $20.41
  40008843      Y            $0.31             $0.60              $0.71               $1.06                $0.65               $0.57              $1.40                $0.41              $3.20                  $8.92
  40008851      Y            $0.94             $1.79              $2.14               $3.19                $1.96               $1.70              $4.21                $1.22              $9.60                 $26.75
  40008860      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40008878      Y            $0.62             $1.20              $1.43               $2.12                $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  40008886      Y            $0.31             $0.60              $0.71               $1.06                $0.65               $0.57              $1.40                $0.40              $3.20                  $8.91
  40008894      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40008908      Y            $0.21             $0.41              $0.49               $0.73                $0.45               $0.39              $0.96                $0.28              $2.20                  $6.12
  40008916      Y            $0.63             $1.21              $1.45               $2.15                $1.33               $1.15              $2.85                $0.82              $6.49                 $18.08
  40008924      Y            $0.35             $0.66              $0.79               $1.18                $0.73               $0.63              $1.56                $0.45              $3.55                  $9.89
  40008932      Y            $0.10             $0.20              $0.24               $0.35                $0.22               $0.19              $0.47                $0.14              $1.07                  $2.97
  40008940      Y            $1.21             $2.32              $2.78               $4.13                $2.54               $2.20              $5.46                $1.58             $12.45                 $34.68
  40008959      Y            $0.10             $0.20              $0.24               $0.35                $0.22               $0.19              $0.47                $0.14              $1.07                  $2.97
  40008967      Y            $0.95             $1.83              $2.18               $3.25                $2.00               $1.73              $4.29                $1.24              $9.78                 $27.25
  40008975      Y            $1.27             $2.44              $2.91               $4.34                $2.67               $2.31              $5.74                $1.65             $13.07                 $36.41
  40008983      Y            $0.69             $1.33              $1.59               $2.36                $1.45               $1.26              $3.12                $0.90              $7.11                 $19.82
  40008991      Y            $0.62             $1.20              $1.43               $2.12                $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  40009009      Y            $0.21             $0.40              $0.48               $0.71                $0.44               $0.38              $0.94                $0.27              $2.13                  $5.94
  40009017      Y            $0.50             $0.96              $1.15               $1.71                $1.05               $0.91              $2.26                $0.65              $5.14                 $14.32
  40009025      Y            $0.22             $0.41              $0.50               $0.74                $0.45               $0.39              $0.98                $0.28              $2.22                  $6.19
  40009033      Y            $3.94             $7.54              $9.00              $13.40                $8.25               $7.15             $17.71                $5.11             $40.37                 $112.46
  40009041      Y            $0.62             $1.20              $1.43               $2.12                $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  40009050      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40009068      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40009076      Y            $1.51             $2.89              $3.46               $5.15                $3.17               $2.75              $6.80                $1.96             $15.51                 $43.20
  40009084      Y            $3.42             $6.55              $7.82              $11.64                $7.17               $6.21             $15.40                $4.44             $35.09                 $97.74
  40009092      Y            $1.76             $3.36              $4.02               $5.98                $3.68               $3.19              $7.91                $2.28             $18.02                 $50.19
  40009106      Y            $0.42             $0.80              $0.95               $1.42                $0.87               $0.75              $1.87                $0.54              $4.26                 $11.88
  40009114      Y            $0.45             $0.86              $1.03               $1.53                $0.94               $0.82              $2.03                $0.59              $4.62                 $12.88
  40009122      Y            $1.66             $3.19              $3.81               $5.66                $3.49               $3.02              $7.49                $2.16             $17.07                 $47.56
  40009130      Y            $0.33             $0.63              $0.75               $1.12                $0.69               $0.60              $1.48                $0.43              $3.38                  $9.41
  40009149      Y            $0.12             $0.23              $0.28               $0.41                $0.25               $0.22              $0.54                $0.16              $1.24                  $3.46
  40009157      Y            $0.14             $0.27              $0.32               $0.47                $0.29               $0.25              $0.62                $0.18              $1.42                  $3.96
  40009165      Y            $0.31             $0.60              $0.71               $1.06                $0.65               $0.57              $1.40                $0.41              $3.20                  $8.92
  40009173      Y            $0.77             $1.48              $1.76               $2.63                $1.62               $1.40              $3.47                $1.00              $7.91                 $22.04

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40009181      Y           $0.51              $0.98               $1.18               $1.75               $1.08               $0.93               $2.31               $0.67               $5.27                $14.68
  40009190      Y           $0.35              $0.66               $0.79               $1.18               $0.73               $0.63               $1.56               $0.45               $3.56                 $9.91
  40009203      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40009211      Y           $0.42              $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54               $4.27                $11.89
  40009220      Y           $0.44              $0.85               $1.01               $1.50               $0.93               $0.80               $1.99               $0.57               $4.53                $12.63
  40009238      Y           $0.40              $0.76               $0.91               $1.36               $0.84               $0.72               $1.79               $0.52               $4.09                $11.39
  40009246      Y           $0.49              $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63               $4.98                $13.87
  40009254      Y           $0.49              $0.95               $1.13               $1.68               $1.04               $0.90               $2.22               $0.64               $5.07                $14.12
  40009262      Y           $0.52              $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68               $5.34                $14.86
  40009270      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40009289      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40009297      Y           $0.31              $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41               $3.20                 $8.92
  40009300      Y           $0.36              $0.70               $0.83               $1.24               $0.76               $0.66               $1.64               $0.47               $3.73                $10.40
  40009319      Y           $0.07              $0.13               $0.16               $0.24               $0.15               $0.13               $0.31               $0.09               $0.71                 $1.98
  40009327      Y           $1.39              $2.66               $3.17               $4.72               $2.91               $2.52               $6.24               $1.80              $14.23                $39.63
  40009335      Y           $1.56              $2.99               $3.57               $5.31               $3.27               $2.83               $7.02               $2.03              $16.01                $44.58
  40009343      Y           $0.29              $0.55               $0.65               $0.97               $0.60               $0.52               $1.29               $0.37               $2.93                 $8.17
  40009351      Y           $0.49              $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63               $4.98                $13.87
  40009360      Y           $1.82              $3.49               $4.17               $6.20               $3.82               $3.31               $8.20               $2.37              $18.69                $52.05
  40009378      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40009386      Y           $0.45              $0.86               $1.03               $1.53               $0.94               $0.82               $2.03               $0.58               $4.62                $12.87
  40009394      Y           $0.34              $0.65               $0.78               $1.16               $0.71               $0.62               $1.53               $0.44               $3.49                 $9.71
  40009408      Y           $1.22              $2.34               $2.80               $4.16               $2.56               $2.22               $5.50               $1.59              $12.54                $34.92
  40009416      Y           $0.45              $0.86               $1.03               $1.53               $0.94               $0.82               $2.03               $0.59               $4.62                $12.88
  40009424      Y           $0.42              $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54               $4.27                $11.89
  40009432      Y           $0.12              $0.23               $0.28               $0.41               $0.25               $0.22               $0.55               $0.16               $1.24                 $3.47
  40009440      Y           $0.24              $0.46               $0.56               $0.83               $0.51               $0.44               $1.09               $0.32               $2.49                 $6.94
  40009459      Y           $0.48              $0.91               $1.09               $1.62               $1.00               $0.87               $2.15               $0.62               $4.89                $13.62
  40009467      Y           $0.61              $1.16               $1.39               $2.07               $1.27               $1.10               $2.73               $0.79               $6.22                $17.34
  40009475      Y           $0.61              $1.16               $1.38               $2.06               $1.27               $1.10               $2.72               $0.79               $6.21                $17.29
  40009483      Y           $0.28              $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.85                 $7.93
  40009491      Y           $0.06              $0.12               $0.14               $0.21               $0.13               $0.11               $0.28               $0.08               $0.64                 $1.78
  40009505      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81               $6.40                $17.83
  40009513      Y           $0.25              $0.47               $0.56               $0.83               $0.51               $0.45               $1.10               $0.32               $2.52                 $7.01
  40009521      Y          $42.82             $81.97              $97.91              $145.72             $89.72              $77.74              $192.69             $55.58              $439.16              $1,223.31
  40009530      Y          $38.23             $73.20              $87.43              $130.11             $80.11              $69.41              $172.06             $49.63              $392.13              $1,092.32
  40009548      Y           $0.23              $0.44               $0.52               $0.78               $0.48               $0.41               $1.03               $0.30               $2.34                 $6.53
  40009556      Y         $8,392.37         $16,068.08          $19,192.32          $28,562.88          $17,585.76          $15,237.86          $37,770.37          $10,895.09          $86,081.94            $239,786.67
  40009564      Y           $4.09              $7.83               $9.36              $13.93               $8.57               $7.43              $18.42               $5.31              $41.97                $116.91
  40009572      Y          $104.77            $200.58             $239.59             $356.56             $219.53             $190.22             $471.50             $136.01            $1,074.60             $2,993.35
  40009580      Y           $0.50              $0.96               $1.15               $1.71               $1.05               $0.91               $2.26               $0.65               $5.16                $14.37
  40009599      Y          $13.49             $25.82              $30.84              $45.90              $28.26              $24.49              $60.69              $17.51              $138.32               $385.31
  40009602      Y          $923.71           $1,768.53           $2,112.40           $3,143.78           $1,935.58           $1,677.16           $4,157.20           $1,199.17           $9,474.62            $26,392.15

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40009610      Y           $0.31             $0.60               $0.71               $1.06               $0.65               $0.56               $1.40               $0.40               $3.19                  $8.89
  40009629      Y           $0.60             $1.15               $1.37               $2.04               $1.26               $1.09               $2.70               $0.78               $6.16                 $17.15
  40009637      Y           $0.61             $1.16               $1.39               $2.07               $1.27               $1.10               $2.73               $0.79               $6.22                 $17.34
  40009645      Y           $1.16             $2.22               $2.65               $3.95               $2.43               $2.11               $5.22               $1.51              $11.90                 $33.16
  40009653      Y           $1.00             $1.91               $2.28               $3.39               $2.09               $1.81               $4.48               $1.29              $10.22                 $28.46
  40009661      Y           $4.49             $8.59              $10.26              $15.27               $9.40               $8.14              $20.19               $5.82              $46.01                 $128.16
  40009670      Y          $11.48            $21.98              $26.25              $39.06              $24.05              $20.84              $51.66              $14.90              $117.73                $327.94
  40009688      Y           $1.69             $3.24               $3.87               $5.76               $3.55               $3.07               $7.62               $2.20              $17.36                 $48.35
  40009696      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40009700      Y           $0.47             $0.90               $1.07               $1.59               $0.98               $0.85               $2.11               $0.61               $4.80                 $13.38
  40009718      Y           $2.42             $4.63               $5.53               $8.23               $5.07               $4.39              $10.89               $3.14              $24.81                 $69.11
  40009726      Y           $1.35             $2.59               $3.09               $4.60               $2.83               $2.46               $6.09               $1.76              $13.87                 $38.64
  40009734      Y           $0.53             $1.02               $1.22               $1.82               $1.12               $0.97               $2.40               $0.69               $5.48                 $15.26
  40009742      Y          $303.02           $580.16             $692.96            $1,031.30            $634.96             $550.18            $1,363.75            $393.38            $3,108.10              $8,657.80
  40009750      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40009769      Y           $2.95             $5.64               $6.74              $10.03               $6.18               $5.35              $13.27               $3.83              $30.23                 $84.21
  40009777      Y           $0.39             $0.75               $0.89               $1.33               $0.82               $0.71               $1.76               $0.51               $4.00                 $11.15
  40009785      Y           $4.08             $7.82               $9.34              $13.90               $8.56               $7.41              $18.38               $5.30              $41.88                 $116.66
  40009793      Y           $4.38             $8.38              $10.01              $14.89               $9.17               $7.95              $19.69               $5.68              $44.89                 $125.03
  40009807      Y           $1.04             $1.99               $2.38               $3.54               $2.18               $1.89               $4.68               $1.35              $10.67                 $29.72
  40009815      Y           $0.17             $0.33               $0.40               $0.59               $0.36               $0.31               $0.78               $0.23               $1.78                  $4.95
  40009823      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.85                  $7.93
  40009831      Y           $0.50             $0.97               $1.15               $1.72               $1.06               $0.92               $2.27               $0.66               $5.18                 $14.43
  40009840      Y           $0.48             $0.93               $1.11               $1.65               $1.01               $0.88               $2.18               $0.63               $4.96                 $13.82
  40009858      Y           $2.41             $4.61               $5.51               $8.20               $5.05               $4.38              $10.85               $3.13              $24.72                 $68.86
  40009866      Y           $0.32             $0.61               $0.73               $1.09               $0.67               $0.58               $1.44               $0.42               $3.28                  $9.14
  40009874      Y           $1.39             $2.67               $3.19               $4.74               $2.92               $2.53               $6.27               $1.81              $14.29                 $39.81
  40009882      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40009890      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.85                  $7.93
  40009904      Y          $43.26            $82.83              $98.94              $147.24             $90.65              $78.55              $194.70             $56.16              $443.75               $1,236.09
  40009912      Y           $0.36             $0.68               $0.81               $1.21               $0.74               $0.65               $1.60               $0.46               $3.65                 $10.16
  40009920      Y           $0.25             $0.48               $0.57               $0.86               $0.53               $0.46               $1.13               $0.33               $2.58                  $7.18
  40009939      Y           $1.02             $1.95               $2.32               $3.46               $2.13               $1.84               $4.57               $1.32              $10.42                 $29.03
  40009947      Y           $0.27             $0.53               $0.63               $0.93               $0.58               $0.50               $1.24               $0.36               $2.82                  $7.85
  40009955      Y           $0.22             $0.42               $0.51               $0.75               $0.46               $0.40               $0.99               $0.29               $2.27                  $6.32
  40009963      Y           $0.07             $0.13               $0.16               $0.23               $0.14               $0.13               $0.31               $0.09               $0.71                  $1.97
  40009971      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40009980      Y           $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41               $3.20                  $8.92
  40009998      Y           $0.14             $0.27               $0.32               $0.47               $0.29               $0.25               $0.62               $0.18               $1.42                  $3.96
  40010007      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010015      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010023      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010031      Y           $2.77             $5.30               $6.34               $9.43               $5.81               $5.03              $12.47               $3.60              $28.42                 $79.16

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40010040      Y        $113,658.73       $217,611.58         $259,923.44         $386,829.90         $238,165.64         $206,367.86         $511,527.88         $147,553.31        $1,165,816.34          $3,247,454.69
  40010058      Y           $0.21             $0.39               $0.47               $0.70               $0.43               $0.37               $0.93               $0.27               $2.11                  $5.89
  40010066      Y           $1.41             $2.70               $3.23               $4.80               $2.96               $2.56               $6.35               $1.83              $14.48                 $40.32
  40010074      Y           $0.88             $1.68               $2.00               $2.98               $1.83               $1.59               $3.94               $1.14               $8.98                 $25.02
  40010082      Y           $0.14             $0.27               $0.32               $0.47               $0.29               $0.25               $0.62               $0.18               $1.42                  $3.96
  40010090      Y           $0.04             $0.07               $0.09               $0.13               $0.08               $0.07               $0.17               $0.05               $0.39                  $1.09
  40010104      Y           $0.09             $0.17               $0.20               $0.30               $0.18               $0.16               $0.39               $0.11               $0.89                  $2.48
  40010112      Y           $3.50             $6.71               $8.01              $11.92               $7.34               $6.36              $15.77               $4.55              $35.93                 $100.09
  40010120      Y           $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                 $19.82
  40010139      Y         $2,114.22         $4,047.90           $4,834.97           $7,195.62           $4,430.24           $3,838.75           $9,515.19           $2,744.71          $21,685.93             $60,407.53
  40010147      Y           $1.04             $2.00               $2.39               $3.55               $2.19               $1.90               $4.70               $1.36              $10.71                 $29.83
  40010155      Y           $0.92             $1.77               $2.11               $3.15               $1.94               $1.68               $4.16               $1.20               $9.48                 $26.42
  40010163      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010171      Y           $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                 $19.82
  40010180      Y           $1.80             $3.45               $4.12               $6.13               $3.77               $3.27               $8.11               $2.34              $18.47                 $51.46
  40010198      Y           $0.69             $1.33               $1.59               $2.36               $1.45               $1.26               $3.12               $0.90               $7.11                 $19.82
  40010201      Y           $1.27             $2.43               $2.90               $4.31               $2.66               $2.30               $5.70               $1.65              $13.00                 $36.21
  40010210      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010228      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010236      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010244      Y           $0.89             $1.70               $2.03               $3.02               $1.86               $1.61               $4.00               $1.15               $9.11                 $25.36
  40010252      Y           $4.41             $8.44              $10.09              $15.01               $9.24               $8.01              $19.85               $5.73              $45.24                 $126.02
  40010260      Y           $5.43            $10.39              $12.41              $18.47              $11.37               $9.85              $24.42               $7.05              $55.66                 $155.05
  40010279      Y           $1.04             $1.99               $2.38               $3.54               $2.18               $1.89               $4.68               $1.35              $10.67                 $29.72
  40010287      Y           $4.92             $9.41              $11.25              $16.74              $10.30               $8.93              $22.13               $6.38              $50.44                 $140.50
  40010295      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010309      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010317      Y          $15.75            $30.16              $36.02              $53.61              $33.01              $28.60              $70.89              $20.45              $161.57                $450.05
  40010325      Y          $12.28            $23.50              $28.07              $41.78              $25.72              $22.29              $55.25              $15.94              $125.91                $350.73
  40010333      Y           $0.16             $0.30               $0.36               $0.53               $0.33               $0.28               $0.70               $0.20               $1.60                  $4.46
  40010341      Y          $126.78           $242.73             $289.93             $431.49             $265.66             $230.19             $570.58             $164.59            $1,300.41              $3,622.38
  40010350      Y           $9.97            $19.09              $22.81              $33.94              $20.90              $18.11              $44.88              $12.95              $102.29                $284.93
  40010368      Y           $9.52            $18.22              $21.76              $32.39              $19.94              $17.28              $42.83              $12.35              $97.61                 $271.89
  40010376      Y           $0.94             $1.81               $2.16               $3.21               $1.98               $1.71               $4.25               $1.23               $9.68                 $26.97
  40010384      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010392      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40010406      Y           $1.04             $1.99               $2.38               $3.54               $2.18               $1.89               $4.68               $1.35              $10.67                 $29.72
  40010414      Y           $1.94             $3.72               $4.44               $6.61               $4.07               $3.53               $8.74               $2.52              $19.92                 $55.48
  40010422      Y           $0.32             $0.61               $0.73               $1.09               $0.67               $0.58               $1.44               $0.42               $3.29                  $9.16
  40010430      Y          $12.49            $23.92              $28.57              $42.52              $26.18              $22.68              $56.22              $16.22              $128.13                $356.92
  40010449      Y           $0.65             $1.25               $1.49               $2.21               $1.36               $1.18               $2.93               $0.84               $6.67                 $18.58
  40010457      Y           $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13               $8.89                 $24.77
  40010465      Y          $10.12            $19.38              $23.14              $34.44              $21.21              $18.37              $45.54              $13.14              $103.80                $289.14

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 29 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40010473      Y           $11.14            $21.34              $25.49              $37.93              $23.35              $20.23              $50.16              $14.47             $114.31                $318.41
  40010481      Y            $1.00             $1.91               $2.28               $3.39               $2.09               $1.81               $4.48               $1.29             $10.21                 $28.43
  40010490      Y            $0.13             $0.25               $0.30               $0.44               $0.27               $0.24               $0.59               $0.17              $1.33                  $3.72
  40010503      Y            $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14              $1.07                  $2.97
  40010511      Y            $1.57             $3.01               $3.59               $5.34               $3.29               $2.85               $7.06               $2.04             $16.10                 $44.85
  40010520      Y            $1.37             $2.62               $3.13               $4.65               $2.86               $2.48               $6.15               $1.77             $14.02                 $39.05
  40010538      Y            $0.11             $0.22               $0.26               $0.39               $0.24               $0.21               $0.52               $0.15              $1.17                  $3.27
  40010546      Y            $0.09             $0.18               $0.21               $0.32               $0.20               $0.17               $0.42               $0.12              $0.95                  $2.66
  40010554      Y            $0.85             $1.63               $1.94               $2.89               $1.78               $1.54               $3.82               $1.10              $8.71                 $24.27
  40010562      Y            $0.45             $0.86               $1.03               $1.53               $0.94               $0.82               $2.03               $0.59              $4.62                 $12.88
  40010570      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010589      Y            $0.14             $0.28               $0.33               $0.49               $0.30               $0.26               $0.65               $0.19              $1.48                  $4.13
  40010597      Y            $3.75             $7.17               $8.56              $12.75               $7.85               $6.80              $16.85               $4.86             $38.41                 $107.00
  40010600      Y            $1.11             $2.12               $2.54               $3.78               $2.33               $2.01               $4.99               $1.44             $11.38                 $31.70
  40010619      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010627      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010635      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010643      Y            $0.42             $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54              $4.27                 $11.89
  40010651      Y          $2,315.87         $4,433.97           $5,296.11           $7,881.91           $4,852.78           $4,204.88          $10,422.71           $3,006.49         $23,754.25             $66,168.96
  40010660      Y            $1.47             $2.82               $3.37               $5.02               $3.09               $2.68               $6.63               $1.91             $15.12                 $42.11
  40010678      Y            $2.34             $4.48               $5.36               $7.97               $4.91               $4.25              $10.54               $3.04             $24.03                 $66.93
  40010686      Y            $1.79             $3.42               $4.08               $6.08               $3.74               $3.24               $8.04               $2.32             $18.32                 $51.02
  40010694      Y            $0.72             $1.38               $1.65               $2.45               $1.51               $1.31               $3.24               $0.93              $7.38                 $20.56
  40010708      Y            $0.19             $0.37               $0.44               $0.65               $0.40               $0.35               $0.86               $0.25              $1.96                  $5.45
  40010716      Y            $1.19             $2.27               $2.72               $4.04               $2.49               $2.16               $5.35               $1.54             $12.18                 $33.94
  40010724      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010732      Y          $7,038.49        $13,475.94          $16,096.16          $23,955.04          $14,748.78          $12,779.65          $31,677.16           $9,137.47         $72,194.99             $201,103.68
  40010740      Y           $142.37           $272.59             $325.59             $484.56             $298.33             $258.50             $640.76             $184.83           $1,460.34              $4,067.87
  40010759      Y            $0.46             $0.88               $1.05               $1.56               $0.96               $0.83               $2.07               $0.60              $4.71                 $13.13
  40010767      Y            $0.98             $1.88               $2.24               $3.34               $2.05               $1.78               $4.41               $1.27             $10.06                 $28.02
  40010775      Y            $0.49             $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63              $4.98                 $13.87
  40010783      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68              $5.34                 $14.86
  40010791      Y            $4.02             $7.70               $9.19              $13.68               $8.42               $7.30              $18.09               $5.22             $41.23                 $114.86
  40010805      Y          $5,383.64        $10,307.54          $12,311.71          $18,322.84          $11,281.11           $9,774.96          $24,229.37           $6,989.11         $55,220.84             $153,821.11
  40010813      Y           $600.83          $1,150.35           $1,374.02           $2,044.87           $1,259.00           $1,090.91           $2,704.06            $780.00           $6,162.78             $17,166.80
  40010821      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010830      Y         $17,446.22        $33,402.62          $39,897.34          $59,377.05          $36,557.60          $31,676.75          $78,517.75          $22,648.92         $178,948.75            $498,473.00
  40010848      Y           $203.89           $390.36             $466.26             $693.91             $427.23             $370.19             $917.60             $264.69           $2,091.30              $5,825.43
  40010856      Y            $0.74             $1.41               $1.69               $2.51               $1.55               $1.34               $3.32               $0.96              $7.58                 $21.10
  40010864      Y           $158.75           $303.95             $363.05             $540.30             $332.66             $288.24             $714.47             $206.09           $1,628.35              $4,535.86
  40010872      Y            $0.14             $0.27               $0.32               $0.47               $0.29               $0.25               $0.62               $0.18              $1.42                  $3.96
  40010880      Y            $2.38             $4.55               $5.43               $8.08               $4.98               $4.31              $10.69               $3.08             $24.36                 $67.87
  40010899      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 30 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40010902      Y            $1.75             $3.35               $4.00               $5.96               $3.67               $3.18               $7.88               $2.27             $17.96                 $50.02
  40010910      Y            $0.47             $0.90               $1.07               $1.59               $0.98               $0.85               $2.11               $0.61              $4.80                 $13.38
  40010929      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010937      Y            $0.87             $1.66               $1.98               $2.94               $1.81               $1.57               $3.89               $1.12              $8.87                 $24.72
  40010945      Y            $7.55            $14.45              $17.27              $25.70              $15.82              $13.71              $33.98               $9.80             $77.44                 $215.71
  40010953      Y            $0.03             $0.07               $0.08               $0.12               $0.07               $0.06               $0.16               $0.05              $0.36                  $0.99
  40010961      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010970      Y           $16.52            $31.63              $37.78              $56.22              $34.61              $29.99              $74.34              $21.44             $169.43                $471.97
  40010988      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40010996      Y           $499.11           $955.59            $1,141.40           $1,698.68           $1,045.85            $906.22            $2,246.26            $647.95           $5,119.43             $14,260.50
  40011003      Y           $68.34            $130.85             $156.29             $232.59             $143.21             $124.09             $307.57             $88.72             $700.99               $1,952.64
  40011011      Y          $1,870.70         $3,581.66           $4,278.07           $6,366.82           $3,919.96           $3,396.60           $8,419.21           $2,428.57         $19,188.12             $53,449.71
  40011020      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40011038      Y            $0.17             $0.33               $0.40               $0.59               $0.36               $0.31               $0.78               $0.23              $1.78                  $4.95
  40011046      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40011054      Y            $1.17             $2.24               $2.68               $3.98               $2.45               $2.12               $5.27               $1.52             $12.00                 $33.44
  40011062      Y          $1,838.30         $3,519.61           $4,203.96           $6,256.53           $3,852.05           $3,337.76           $8,273.37           $2,386.50         $18,855.73             $52,523.81
  40011070      Y            $0.73             $1.39               $1.67               $2.48               $1.53               $1.32               $3.28               $0.95              $7.47                 $20.81
  40011089      Y            $0.40             $0.76               $0.91               $1.35               $0.83               $0.72               $1.79               $0.52              $4.08                 $11.37
  40011097      Y         $13,870.41        $26,556.35          $31,719.91          $47,207.01          $29,064.68          $25,184.22          $62,424.60          $18,006.75         $142,271.07            $396,305.00
  40011100      Y            $8.13            $15.57              $18.60              $27.68              $17.04              $14.76              $36.60              $10.56             $83.41                 $232.33
  40011119      Y            $0.66             $1.27               $1.52               $2.26               $1.39               $1.20               $2.98               $0.86              $6.80                 $18.95
  40011127      Y            $0.57             $1.10               $1.31               $1.95               $1.20               $1.04               $2.58               $0.74              $5.87                 $16.35
  40011135      Y            $0.42             $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54              $4.27                 $11.89
  40011143      Y            $0.36             $0.70               $0.83               $1.24               $0.76               $0.66               $1.64               $0.47              $3.73                 $10.40
  40011151      Y            $0.80             $1.53               $1.82               $2.71               $1.67               $1.45               $3.59               $1.04              $8.18                 $22.79
  40011160      Y            $0.75             $1.43               $1.70               $2.54               $1.56               $1.35               $3.36               $0.97              $7.65                 $21.30
  40011178      Y            $0.49             $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63              $4.98                 $13.87
  40011186      Y           $10.06            $19.25              $23.00              $34.23              $21.07              $18.26              $45.26              $13.05             $103.15                $287.32
  40011194      Y           $62.05            $118.80             $141.90             $211.19             $130.03             $112.67             $279.27             $80.56             $636.47               $1,772.93
  40011208      Y           $13.94            $26.69              $31.88              $47.44              $29.21              $25.31              $62.74              $18.10             $142.98                $398.29
  40011216      Y            $1.42             $2.72               $3.25               $4.84               $2.98               $2.58               $6.40               $1.85             $14.58                 $40.62
  40011224      Y           $180.77           $346.09             $413.39             $615.22             $378.78             $328.21             $813.55             $234.67           $1,854.14              $5,164.83
  40011232      Y           $13.64            $26.11              $31.18              $46.41              $28.57              $24.76              $61.37              $17.70             $139.86                $389.60
  40011240      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40011259      Y           $14.98            $28.68              $34.26              $50.99              $31.39              $27.20              $67.42              $19.45             $153.67                $428.05
  40011267      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40011275      Y            $1.21             $2.32               $2.78               $4.13               $2.54               $2.20               $5.46               $1.58             $12.45                 $34.68
  40011283      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40011291      Y            $3.78             $7.24               $8.64              $12.86               $7.92               $6.86              $17.01               $4.91             $38.77                 $107.99
  40011305      Y         $12,010.31        $22,995.00          $27,466.09          $40,876.29          $25,166.95          $21,806.88          $54,053.12          $15,591.95         $123,191.74            $343,158.35
  40011313      Y            $0.14             $0.26               $0.32               $0.47               $0.29               $0.25               $0.62               $0.18              $1.42                  $3.94
  40011321      Y            $0.17             $0.33               $0.39               $0.59               $0.36               $0.31               $0.78               $0.22              $1.77                  $4.93

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40011330      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011348      Y            $0.10             $0.20               $0.24              $0.35                $0.22               $0.19              $0.47                $0.13              $1.06                  $2.96
  40011356      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011364      Y            $1.35             $2.59               $3.10              $4.61                $2.84               $2.46              $6.10                $1.76             $13.89                 $38.70
  40011372      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011380      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011399      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011402      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011410      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011429      Y         $33,984.94        $65,067.74          $77,719.35         $115,665.48          $71,213.58          $61,705.77         $152,951.25          $44,119.71         $348,589.14            $971,016.97
  40011437      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011445      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011453      Y            $0.42             $0.80               $0.95              $1.42                $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  40011461      Y           $15.57            $29.80              $35.60             $52.98               $32.62              $28.26             $70.05               $20.21             $159.66                $444.73
  40011470      Y            $0.26             $0.50               $0.59              $0.88                $0.54               $0.47              $1.17                $0.34              $2.66                  $7.42
  40011488      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011496      Y            $1.09             $2.08               $2.48              $3.69                $2.27               $1.97              $4.88                $1.41             $11.13                 $31.01
  40011500      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011518      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011526      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011534      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011542      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011550      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011569      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011577      Y            $2.56             $4.91               $5.86              $8.72                $5.37               $4.65             $11.53                $3.33             $26.29                 $73.23
  40011585      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011593      Y           $41.13            $78.75              $94.06             $139.99              $86.19              $74.68             $185.12              $53.40             $421.90               $1,175.24
  40011607      Y            $0.43             $0.81               $0.97              $1.45                $0.89               $0.77              $1.91                $0.55              $4.36                 $12.16
  40011615      Y            $1.86             $3.55               $4.24              $6.31                $3.89               $3.37              $8.35                $2.41             $19.03                 $53.01
  40011623      Y            $1.99             $3.80               $4.54              $6.76                $4.16               $3.61              $8.94                $2.58             $20.38                 $56.76
  40011631      Y            $0.31             $0.60               $0.71              $1.06                $0.65               $0.57              $1.40                $0.41              $3.20                  $8.92
  40011640      Y            $0.36             $0.70               $0.83              $1.24                $0.76               $0.66              $1.64                $0.47              $3.73                 $10.40
  40011658      Y            $0.88             $1.69               $2.02              $3.01                $1.85               $1.61              $3.98                $1.15              $9.07                 $25.26
  40011666      Y           $41.12            $78.74              $94.05             $139.97              $86.17              $74.67             $185.08              $53.39             $421.82               $1,175.02
  40011674      Y            $0.35             $0.66               $0.79              $1.18                $0.73               $0.63              $1.56                $0.45              $3.56                  $9.91
  40011682      Y            $0.33             $0.64               $0.76              $1.13                $0.70               $0.60              $1.50                $0.43              $3.41                  $9.51
  40011690      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40011704      Y            $0.25             $0.48               $0.57              $0.85                $0.52               $0.45              $1.12                $0.32              $2.56                  $7.13
  40011712      Y            $0.42             $0.80               $0.95              $1.42                $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  40011720      Y            $0.21             $0.40               $0.48              $0.71                $0.44               $0.38              $0.94                $0.27              $2.13                  $5.94
  40011739      Y            $0.21             $0.40               $0.48              $0.71                $0.44               $0.38              $0.94                $0.27              $2.13                  $5.94
  40011747      Y            $0.28             $0.53               $0.63              $0.94                $0.58               $0.50              $1.25                $0.36              $2.85                  $7.93
  40011755      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 32 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

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          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40011763      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40011771      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40011780      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40011798      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40011801      Y          $10.96            $20.98              $25.06              $37.29               $22.96             $19.90              $49.32              $14.23              $112.39                $313.08
  40011810      Y          $262.37           $502.34             $600.01             $892.96              $549.78            $476.38            $1,180.82            $340.61            $2,691.18              $7,496.46
  40011828      Y           $0.04             $0.08               $0.10               $0.15                $0.09              $0.08               $0.20               $0.06               $0.45                  $1.27
  40011836      Y          $11.83            $22.66              $27.07              $40.28               $24.80             $21.49              $53.26              $15.36              $121.39                $338.15
  40011844      Y          $448.32           $858.36            $1,025.26           $1,525.84             $939.44            $814.01            $2,017.70            $582.02            $4,598.52             $12,809.47
  40011852      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40011860      Y           $0.31             $0.60               $0.71               $1.06                $0.65              $0.57               $1.40               $0.41               $3.20                  $8.92
  40011879      Y          $89.09            $170.57             $203.74             $303.21              $186.68            $161.76             $400.95             $115.66             $913.80               $2,545.45
  40011887      Y           $3.62             $6.93               $8.28              $12.32                $7.59              $6.57              $16.29               $4.70              $37.13                 $103.44
  40011895      Y          $33.35            $63.86              $76.28              $113.52              $69.89             $60.56              $150.11             $43.30              $342.11                $952.98
  40011909      Y           $2.34             $4.48               $5.35               $7.97                $4.90              $4.25              $10.53               $3.04              $24.01                 $66.88
  40011917      Y           $0.10             $0.20               $0.24               $0.35                $0.22              $0.19               $0.47               $0.14               $1.07                  $2.97
  40011925      Y        $31,340.64        $60,004.95          $71,672.16          $106,665.77          $65,672.59         $56,904.57          $141,050.41         $40,686.84          $321,466.10           $895,464.03
  40011933      Y        $636,057.79      $1,217,799.45       $1,454,585.35       $2,164,780.19            $0.00          $1,154,877.27       $2,862,615.86        $825,738.87        $6,524,149.48         $16,840,604.27
  40011941      Y          $242.73           $464.74             $555.10             $826.12              $508.63            $440.72            $1,092.43            $315.12            $2,489.74              $6,935.34
  40011950      Y           $6.24            $11.95              $14.27              $21.24               $13.08             $11.33              $28.09               $8.10              $64.02                 $178.34
  40011968      Y           $1.11             $2.13               $2.55               $3.79                $2.33              $2.02               $5.01               $1.45              $11.42                 $31.80
  40011976      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40011984      Y           $5.12             $9.81              $11.72              $17.44               $10.73              $9.30              $23.06               $6.65              $52.55                 $146.37
  40011992      Y           $5.89            $11.29              $13.48              $20.06               $12.35             $10.70              $26.53               $7.65              $60.47                 $168.43
  40012000      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40012018      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40012026      Y           $0.61             $1.17               $1.40               $2.08                $1.28              $1.11               $2.75               $0.79               $6.26                 $17.45
  40012034      Y          $450.79           $863.08            $1,030.90           $1,534.23             $944.60            $818.49            $2,028.80            $585.22            $4,623.81             $12,879.91
  40012042      Y         $7,553.25        $14,461.49          $17,273.35          $25,706.99           $15,827.43         $13,714.29          $33,993.86           $9,805.73          $77,474.95            $215,811.35
  40012050      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40012069      Y          $329.53           $630.91             $753.58            $1,121.52             $690.50            $598.31            $1,483.05            $427.79            $3,380.00              $9,415.21
  40012077      Y         $1,769.11         $3,387.15           $4,045.73           $6,021.05            $3,707.07          $3,212.14           $7,961.98           $2,296.68          $18,146.05             $50,546.95
  40012085      N           $0.00             $0.00               $0.00               $0.00                $0.00              $0.00               $0.00               $0.00               $0.00                  $0.00
  40012093      Y           $0.57             $1.10               $1.31               $1.95                $1.20              $1.04               $2.58               $0.74               $5.87                 $16.35
  40012107      Y           $0.17             $0.32               $0.39               $0.57                $0.35              $0.31               $0.76               $0.22               $1.73                  $4.81
  40012115      Y           $0.88             $1.69               $2.01               $3.00                $1.85              $1.60               $3.96               $1.14               $9.03                 $25.17
  40012123      Y           $0.76             $1.46               $1.74               $2.60                $1.60              $1.39               $3.43               $0.99               $7.82                 $21.80
  40012131      Y           $0.97             $1.86               $2.22               $3.30                $2.03              $1.76               $4.37               $1.26               $9.96                 $27.74
  40012140      Y           $0.96             $1.84               $2.20               $3.27                $2.02              $1.75               $4.33               $1.25               $9.87                 $27.49
  40012158      Y           $1.56             $2.99               $3.57               $5.31                $3.27              $2.83               $7.02               $2.03              $16.01                 $44.58
  40012166      Y           $2.63             $5.03               $6.01               $8.94                $5.50              $4.77              $11.82               $3.41              $26.94                 $75.05
  40012174      Y           $1.86             $3.55               $4.24               $6.31                $3.89              $3.37               $8.35               $2.41              $19.03                 $53.01
  40012182      Y          $13.99            $26.79              $32.00              $47.63               $29.32             $25.41              $62.98              $18.17              $143.54                $399.83

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40012190      Y           $693.52          $1,327.82           $1,586.00           $2,360.35           $1,453.23           $1,259.21          $3,121.23             $900.34           $7,113.55             $19,815.25
  40012204      Y         $23,234.40        $44,484.70          $53,134.19          $79,076.72          $48,686.41          $42,186.23         $104,567.79          $30,163.21         $238,319.05            $663,852.70
  40012212      Y            $2.08             $3.98               $4.76               $7.08               $4.36               $3.78              $9.36                $2.70             $21.34                 $59.45
  40012220      Y           $27.26            $52.19              $62.34              $92.78              $57.12              $49.49             $122.68              $35.39             $279.61                $778.86
  40012239      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012247      Y           $39.09            $74.84              $89.40              $133.04             $81.91              $70.98             $175.93              $50.75             $400.96               $1,116.91
  40012255      Y         $12,640.47        $24,201.51          $28,907.19          $43,021.00          $26,487.41          $22,951.05         $56,889.19           $16,410.03         $129,655.38            $361,163.22
  40012263      Y         $11,127.42        $21,304.61          $25,447.03          $37,871.42          $23,316.89          $20,203.83         $50,079.60           $14,445.76         $114,135.76            $317,932.32
  40012271      Y            $0.59             $1.13               $1.35               $2.01               $1.24               $1.07              $2.66                $0.77              $6.07                 $16.91
  40012280      Y            $0.88             $1.68               $2.01               $2.99               $1.84               $1.60              $3.96                $1.14              $9.02                 $25.11
  40012298      Y         $15,557.92        $29,787.28          $35,579.05          $52,950.36          $32,600.78          $28,248.21         $70,019.36           $20,197.51         $159,580.19            $444,520.66
  40012301      Y           $592.18          $1,133.79           $1,354.24           $2,015.44           $1,240.88           $1,075.21          $2,665.14             $768.77           $6,074.07             $16,919.72
  40012310      Y            $6.47            $12.39              $14.79              $22.02              $13.56              $11.75             $29.11                $8.40             $66.36                 $184.84
  40012328      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012336      Y           $23.30            $44.61              $53.28              $79.30              $48.82              $42.30             $104.86              $30.25             $238.99                $665.71
  40012344      Y          $8,241.62        $15,779.45          $18,847.57          $28,049.82          $17,269.87          $14,964.15         $37,091.92           $10,699.39         $84,535.69             $235,479.48
  40012352      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012360      Y           $246.05           $471.10             $562.69             $837.43             $515.59             $446.75           $1,107.38             $319.43           $2,523.81              $7,030.23
  40012379      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012387      Y           $706.24          $1,352.18           $1,615.09           $2,403.65           $1,479.90           $1,282.31          $3,178.49             $916.86           $7,244.06             $20,178.78
  40012395      Y          $6,996.16        $13,394.88          $15,999.35          $23,810.96          $14,660.07          $12,702.78         $31,486.63            $9,082.51         $71,760.75             $199,894.08
  40012409      Y           $31.94            $61.15              $73.04              $108.70             $66.92              $57.99             $143.74              $41.46             $327.59                $912.52
  40012417      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012425      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012433      Y           $105.67           $202.31             $241.65             $359.64             $221.42             $191.86            $475.57              $137.18           $1,083.86              $3,019.16
  40012441      Y            $0.88             $1.68               $2.01               $2.99               $1.84               $1.60              $3.96                $1.14              $9.02                 $25.12
  40012450      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012468      Y           $30.91            $59.17              $70.68              $105.19             $64.76              $56.12             $139.10              $40.12             $317.01                $883.06
  40012476      Y            $0.17             $0.33               $0.39               $0.58               $0.36               $0.31              $0.76                $0.22              $1.74                  $4.85
  40012484      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012492      Y           $36.16            $69.23              $82.69              $123.07             $75.77              $65.65             $162.74              $46.94             $370.89               $1,033.15
  40012506      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40012514      Y            $0.47             $0.90               $1.08               $1.60               $0.99               $0.85              $2.12                $0.61              $4.83                 $13.44
  40012522      Y            $0.41             $0.79               $0.94               $1.40               $0.86               $0.75              $1.86                $0.54              $4.23                 $11.78
  40012530      Y           $65.80            $125.98             $150.48             $223.95             $137.88             $119.47            $296.14              $85.42             $674.92               $1,880.03
  40012549      Y            $1.13             $2.17               $2.59               $3.85               $2.37               $2.05              $5.09                $1.47             $11.61                 $32.33
  40012557      Y           $40.75            $78.03              $93.20              $138.70             $85.40              $74.00             $183.42              $52.91             $418.02               $1,164.43
  40012565      Y           $26.67            $51.06              $60.99              $90.76              $55.88              $48.42             $120.02              $34.62             $273.54                $761.98
  40012573      Y            $0.50             $0.96               $1.15               $1.71               $1.05               $0.91              $2.26                $0.65              $5.15                 $14.34
  40012581      Y           $37.99            $72.73              $86.87              $129.29             $79.60              $68.97             $170.97              $49.32             $389.65               $1,085.39
  40012590      Y            $9.88            $18.91              $22.59              $33.62              $20.70              $17.94             $44.46               $12.82             $101.33                $282.25
  40012603      Y           $46.84            $89.67              $107.11             $159.41             $98.14              $85.04             $210.79              $60.80             $480.42               $1,338.23
  40012611      Y            $0.76             $1.45               $1.73               $2.57               $1.58               $1.37              $3.40                $0.98              $7.75                 $21.60

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40012620      Y           $1.35             $2.58               $3.08               $4.58               $2.82               $2.44               $6.06               $1.75              $13.80                 $38.44
  40012638      Y         $1,213.78         $2,323.91           $2,775.77           $4,131.02           $2,543.41           $2,203.84           $5,462.69           $1,575.75          $12,449.95             $34,680.11
  40012646      Y          $15.33            $29.35              $35.05              $52.16              $32.12              $27.83              $68.98              $19.90              $157.21                $437.93
  40012654      Y          $14.06            $26.93              $32.16              $47.86              $29.47              $25.53              $63.29              $18.26              $144.25                $401.81
  40012662      Y          $21.38            $40.94              $48.90              $72.78              $44.81              $38.83              $96.24              $27.76              $219.35                $611.00
  40012670      Y          $21.42            $41.01              $48.99              $72.90              $44.89              $38.89              $96.41              $27.81              $219.72                $612.03
  40012689      Y          $11.33            $21.69              $25.91              $38.56              $23.74              $20.57              $50.99              $14.71              $116.20                $323.69
  40012697      Y          $18.84            $36.07              $43.08              $64.12              $39.48              $34.21              $84.79              $24.46              $193.24                $538.28
  40012700      Y          $25.95            $49.69              $59.35              $88.33              $54.38              $47.12              $116.80             $33.69              $266.20                $741.52
  40012719      Y           $0.78             $1.50               $1.79               $2.66               $1.64               $1.42               $3.51               $1.01               $8.01                 $22.31
  40012727      Y          $13.54            $25.92              $30.96              $46.08              $28.37              $24.58              $60.94              $17.58              $138.89                $386.87
  40012735      Y          $14.30            $27.38              $32.70              $48.67              $29.96              $25.96              $64.36              $18.56              $146.67                $408.56
  40012743      Y           $0.51             $0.98               $1.17               $1.74               $1.07               $0.93               $2.31               $0.66               $5.25                 $14.63
  40012751      Y          $10.66            $20.42              $24.39              $36.30              $22.35              $19.36              $48.00              $13.85              $109.39                $304.72
  40012760      Y          $11.49            $21.99              $26.27              $39.09              $24.07              $20.85              $51.69              $14.91              $117.81                $328.17
  40012778      Y           $2.52             $4.82               $5.76               $8.57               $5.28               $4.57              $11.33               $3.27              $25.82                 $71.93
  40012786      Y           $0.10             $0.20               $0.24               $0.36               $0.22               $0.19               $0.47               $0.14               $1.07                  $2.99
  40012794      Y         $5,692.39        $10,898.67          $13,017.78          $19,373.65          $11,928.08          $10,335.55          $25,618.92           $7,389.93          $58,387.73             $162,642.70
  40012808      Y           $2.28             $4.37               $5.22               $7.77               $4.79               $4.15              $10.28               $2.96              $23.42                 $65.25
  40012816      Y          $11.70            $22.40              $26.75              $39.82              $24.52              $21.24              $52.65              $15.19              $120.00                $334.27
  40012824      Y           $0.57             $1.10               $1.31               $1.95               $1.20               $1.04               $2.58               $0.74               $5.87                 $16.35
  40012832      Y           $6.89            $13.19              $15.76              $23.45              $14.44              $12.51              $31.01               $8.94              $70.67                 $196.84
  40012840      Y           $1.76             $3.36               $4.02               $5.98               $3.68               $3.19               $7.91               $2.28              $18.02                 $50.20
  40012859      Y          $19.66            $37.64              $44.95              $66.90              $41.19              $35.69              $88.47              $25.52              $201.62                $561.63
  40012867      Y           $1.18             $2.25               $2.69               $4.00               $2.47               $2.14               $5.29               $1.53              $12.07                 $33.61
  40012875      Y           $1.94             $3.72               $4.44               $6.61               $4.07               $3.53               $8.75               $2.52              $19.93                 $55.52
  40012883      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40012891      Y        $13,339.85        $25,540.54          $30,506.58          $45,401.28          $27,952.92          $24,220.89          $60,036.77          $17,317.97          $136,829.01            $381,145.81
  40012905      Y           $0.38             $0.73               $0.87               $1.30               $0.80               $0.69               $1.72               $0.50               $3.91                 $10.90
  40012913      Y          $20.69            $39.60              $47.31              $70.40              $43.35              $37.56              $93.10              $26.85              $212.18                $591.03
  40012921      Y           $0.43             $0.82               $0.98               $1.46               $0.90               $0.78               $1.92               $0.56               $4.39                 $12.22
  40012930      Y           $0.41             $0.79               $0.94               $1.40               $0.86               $0.75               $1.85               $0.53               $4.21                 $11.74
  40012948      Y        $20,822.95        $39,867.73          $47,619.51          $70,869.52          $43,633.35          $37,807.81          $93,714.93          $27,032.64          $213,584.44            $594,952.88
  40012956      Y        $124,833.68       $239,007.19         $285,479.16         $424,863.09         $261,582.13         $226,657.99         $561,821.39         $162,060.78        $1,280,439.61          $3,566,745.00
  40012964      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40012972      Y        $16,509.20        $31,608.59          $37,754.48          $56,187.94          $34,594.11          $29,975.41          $74,300.62          $21,432.46          $169,337.54            $471,700.36
  40012980      Y           $0.87             $1.67               $1.99               $2.96               $1.82               $1.58               $3.92               $1.13               $8.93                 $24.87
  40012999      Y           $0.60             $1.15               $1.37               $2.04               $1.26               $1.09               $2.70               $0.78               $6.15                 $17.14
  40013006      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013014      Y         $7,807.26        $14,947.83          $17,854.25          $26,571.50          $16,359.69          $14,175.49          $35,137.06          $10,135.50          $80,080.39             $223,068.97
  40013022      Y          $628.65          $1,203.62           $1,437.65           $2,139.58           $1,317.31           $1,141.43           $2,829.29            $816.13            $6,448.19             $17,961.85
  40013030      Y          $539.21          $1,032.38           $1,233.11           $1,835.17           $1,129.89            $979.04            $2,426.76            $700.01            $5,530.79             $15,406.36
  40013049      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40013057      Y          $27.70            $53.03              $63.34              $94.27              $58.04              $50.29              $124.66             $35.96              $284.11                $791.40
  40013065      Y          $25.18            $48.21              $57.58              $85.69              $52.76              $45.72              $113.32             $32.69              $258.26                $719.39
  40013073      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013081      Y          $494.35           $946.49            $1,130.52           $1,682.50           $1,035.89            $897.59            $2,224.86            $641.78            $5,070.65             $14,124.63
  40013090      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013103      Y        $104,028.07       $199,172.66         $237,899.30         $354,052.57         $217,985.10         $188,881.66         $468,184.49         $135,050.65        $1,067,033.00          $2,972,287.50
  40013111      Y         $5,201.40         $9,958.63          $11,894.96          $17,702.63          $10,899.26           $9,444.08          $23,409.22           $6,752.53          $53,351.65             $148,614.38
  40013120      Y        $146,493.15       $280,476.53         $335,011.69         $498,579.66         $306,968.37         $265,984.66         $659,301.14         $190,179.40        $1,502,604.40          $4,185,599.00
  40013138      Y        $115,904.64       $221,911.60         $265,059.54         $394,473.68         $242,871.80         $210,445.70         $521,635.69         $150,468.97        $1,188,852.93          $3,311,624.56
  40013146      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013154      Y           $0.57             $1.10               $1.31               $1.95               $1.20               $1.04               $2.58               $0.74               $5.87                 $16.35
  40013162      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013170      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013189      Y        $50,926.91        $97,504.92          $116,463.53         $173,326.34         $106,714.55         $92,466.96          $229,199.58         $66,114.01          $522,365.70           $1,455,082.49
  40013197      Y           $0.45             $0.87               $1.03               $1.54               $0.95               $0.82               $2.04               $0.59               $4.64                 $12.93
  40013200      Y        $62,769.15        $120,178.13         $143,545.27         $213,630.61         $131,529.31         $113,968.68         $282,496.29         $81,487.77          $643,833.52           $1,793,438.73
  40013219      Y           $6.78            $12.98              $15.50              $23.07              $14.21              $12.31              $30.51               $8.80              $69.53                 $193.69
  40013227      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013235      Y           $0.45             $0.86               $1.03               $1.53               $0.94               $0.82               $2.03               $0.59               $4.62                 $12.88
  40013243      Y           $0.72             $1.38               $1.65               $2.45               $1.51               $1.31               $3.24               $0.93               $7.38                 $20.56
  40013251      Y          $454.74           $870.65            $1,039.94           $1,547.69            $952.89             $825.67            $2,046.60            $590.35            $4,664.38             $12,992.92
  40013260      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013278      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013286      Y          $124.76           $238.86             $285.31             $424.61             $261.43             $226.52             $561.48             $161.96            $1,279.67              $3,564.60
  40013294      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013308      Y           $0.29             $0.56               $0.67               $1.00               $0.62               $0.54               $1.33               $0.38               $3.02                  $8.42
  40013316      Y         $6,907.39        $13,224.92          $15,796.34          $23,508.83          $14,474.05          $12,541.60          $31,087.11           $8,967.26          $70,850.21             $197,357.70
  40013324      Y         $9,138.42        $17,496.46          $20,898.43          $31,102.00          $19,149.05          $16,592.44          $41,128.00          $11,863.62          $93,734.26             $261,102.69
  40013332      Y           $3.12             $5.98               $7.14              $10.62               $6.54               $5.67              $14.05               $4.05              $32.01                 $89.17
  40013340      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013359      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013367      Y           $0.33             $0.63               $0.75               $1.12               $0.69               $0.60               $1.48               $0.43               $3.37                  $9.39
  40013375      Y        $111,475.42       $213,431.41         $254,930.48         $379,399.16         $233,590.63         $202,403.67         $501,701.77         $144,718.91        $1,143,421.78          $3,185,073.23
  40013383      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013391      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013405      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013413      Y        $350,213.10       $670,519.77         $800,893.96        $1,191,926.88        $733,852.33         $635,874.84        $1,576,154.85        $454,651.41        $3,592,193.42         $10,006,280.57
  40013421      Y          $78.27            $149.85             $178.99             $266.37             $164.00             $142.11             $352.24             $101.61             $802.79               $2,236.23
  40013430      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013448      Y           $3.50             $6.71               $8.01              $11.92               $7.34               $6.36              $15.77               $4.55              $35.93                 $100.09
  40013456      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013464      Y        $193,147.61       $369,801.38         $441,704.64         $657,364.97         $404,730.21         $350,694.20         $869,272.27         $250,746.85        $1,981,146.80          $5,518,608.93
  40013472      Y         $1,157.39         $2,215.94           $2,646.80           $3,939.08           $2,425.24           $2,101.44           $5,208.88           $1,502.53          $11,871.49             $33,068.78

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40013480      Y        $19,709.36        $37,735.64          $45,072.86          $67,079.49          $41,299.88          $35,785.89          $88,703.14          $25,586.96          $202,162.14            $563,135.36
  40013499      Y           $0.71             $1.36               $1.62               $2.42               $1.49               $1.29               $3.20               $0.92               $7.28                 $20.29
  40013502      Y         $4,269.12         $8,173.68           $9,762.95          $14,529.67           $8,945.71           $7,751.36          $19,213.44           $5,542.23          $43,789.09             $121,977.26
  40013510      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013529      Y           $1.46             $2.79               $3.33               $4.96               $3.05               $2.64               $6.55               $1.89              $14.94                 $41.61
  40013537      Y        $124,314.31       $238,012.81         $284,291.43         $423,095.46         $260,493.82         $225,714.98         $559,483.94         $161,386.53        $1,275,112.37          $3,551,905.65
  40013545      Y         $5,052.24         $9,673.04          $11,553.85          $17,194.96          $10,586.69           $9,173.25          $22,737.91           $6,558.89          $51,821.66             $144,352.50
  40013553      Y        $81,595.26        $156,222.69         $186,598.25         $277,704.01         $170,978.39         $148,150.86         $367,224.31         $105,928.07         $836,936.01           $2,331,337.86
  40013561      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013570      Y          $796.47          $1,524.93           $1,821.44           $2,710.74           $1,668.97           $1,446.14           $3,584.57           $1,033.99           $8,169.56             $22,756.81
  40013588      Y           $0.00             $0.00               $0.00               $0.00               $0.00            $14,791.05          $36,662.85          $10,575.62          $83,557.82             $145,587.34
  40013596      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013600      Y          $258.35           $494.65             $590.82             $879.29             $541.37             $469.09            $1,162.74            $335.40            $2,649.98              $7,381.68
  40013618      Y          $375.96           $719.82             $859.77            $1,279.56            $787.80             $682.62            $1,692.03            $488.08            $3,856.29             $10,741.93
  40013626      Y        $161,123.58       $308,488.02         $368,469.66         $548,373.34         $337,625.62         $292,548.83         $725,146.24         $209,172.82        $1,652,671.09          $4,603,619.21
  40013634      Y         $1,074.26         $2,056.78           $2,456.69           $3,656.16           $2,251.04           $1,950.50           $4,834.75           $1,394.61          $11,018.82             $30,693.62
  40013642      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013650      Y         $1,920.65         $3,677.29           $4,392.30           $6,536.82           $4,024.62           $3,487.29           $8,644.02           $2,493.42          $19,700.46             $54,876.87
  40013669      Y        $13,870.41        $26,556.35          $31,719.91          $47,207.01          $29,064.68          $25,184.22          $62,424.60          $18,006.75          $142,271.07            $396,305.00
  40013677      Y         $8,507.90        $16,289.26          $19,456.51          $28,956.06          $17,827.83          $15,447.62          $38,290.30          $11,045.07          $87,266.90             $243,087.44
  40013685      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013693      Y        $346,760.22       $663,908.87         $792,997.65        $1,180,175.24        $726,617.02         $629,605.52        $1,560,614.97        $450,168.83        $3,556,776.68          $9,907,625.01
  40013707      Y         $2,133.98         $4,085.73           $4,880.15           $7,262.86           $4,471.64           $3,874.62           $9,604.10           $2,770.36          $21,888.58             $60,972.02
  40013715      Y        $13,479.94        $25,808.77          $30,826.96          $45,878.09          $28,246.48          $24,475.26          $60,667.29          $17,499.85          $138,266.01            $385,148.67
  40013723      Y           $0.56             $1.07               $1.27               $1.89               $1.17               $1.01               $2.50               $0.72               $5.71                 $15.90
  40013731      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013740      Y         $4,254.90         $8,146.45           $9,730.42          $14,481.25           $8,915.90           $7,725.53          $19,149.41           $5,523.76          $43,643.17             $121,570.79
  40013758      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013766      Y           $0.19             $0.36               $0.43               $0.64               $0.39               $0.34               $0.85               $0.24               $1.93                  $5.36
  40013774      Y           $0.32             $0.61               $0.72               $1.08               $0.66               $0.57               $1.42               $0.41               $3.24                  $9.03
  40013782      Y          $67.92            $130.03             $155.32             $231.15             $142.32             $123.32             $305.66             $88.17              $696.64               $1,940.52
  40013790      Y           $0.84             $1.61               $1.92               $2.86               $1.76               $1.53               $3.78               $1.09               $8.63                 $24.03
  40013804      Y           $0.81             $1.56               $1.86               $2.77               $1.70               $1.48               $3.66               $1.06               $8.34                 $23.24
  40013812      Y           $0.83             $1.59               $1.90               $2.83               $1.74               $1.51               $3.75               $1.08               $8.54                 $23.78
  40013820      Y           $0.88             $1.69               $2.02               $3.01               $1.85               $1.61               $3.98               $1.15               $9.07                 $25.26
  40013839      Y           $0.83             $1.59               $1.90               $2.83               $1.74               $1.51               $3.75               $1.08               $8.54                 $23.78
  40013847      Y           $1.41             $2.71               $3.23               $4.81               $2.96               $2.57               $6.36               $1.83              $14.49                 $40.37
  40013855      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013863      Y           $0.90             $1.72               $2.05               $3.05               $1.88               $1.63               $4.04               $1.16               $9.20                 $25.64
  40013871      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013880      Y           $0.17             $0.33               $0.40               $0.59               $0.36               $0.31               $0.78               $0.23               $1.78                  $4.95
  40013898      Y           $0.81             $1.56               $1.86               $2.77               $1.71               $1.48               $3.67               $1.06               $8.36                 $23.28
  40013901      Y           $0.94             $1.79               $2.14               $3.19               $1.96               $1.70               $4.21               $1.22               $9.60                 $26.75

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40013910      Y           $0.89             $1.71               $2.04               $3.04               $1.87               $1.62               $4.02               $1.16               $9.17                 $25.54
  40013928      Y           $0.93             $1.77               $2.12               $3.15               $1.94               $1.68               $4.16               $1.20               $9.49                 $26.43
  40013936      Y           $0.88             $1.69               $2.02               $3.01               $1.85               $1.61               $3.98               $1.15               $9.07                 $25.26
  40013944      Y           $0.87             $1.67               $1.99               $2.97               $1.83               $1.58               $3.92               $1.13               $8.94                 $24.91
  40013952      Y           $0.68             $1.30               $1.55               $2.31               $1.42               $1.23               $3.06               $0.88               $6.97                 $19.41
  40013960      Y           $0.59             $1.13               $1.35               $2.01               $1.24               $1.07               $2.65               $0.77               $6.05                 $16.84
  40013979      Y           $0.73             $1.39               $1.67               $2.48               $1.53               $1.32               $3.28               $0.95               $7.47                 $20.81
  40013987      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40013995      Y           $6.94            $13.28              $15.86              $23.60              $14.53              $12.59              $31.21               $9.00              $71.14                 $198.15
  40014002      Y           $1.18             $2.26               $2.70               $4.01               $2.47               $2.14               $5.31               $1.53              $12.09                 $33.69
  40014010      Y           $4.33             $8.30               $9.91              $14.75               $9.08               $7.87              $19.51               $5.63              $44.46                 $123.85
  40014029      Y           $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13               $8.89                 $24.77
  40014037      Y           $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13               $8.89                 $24.77
  40014045      Y           $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13               $8.89                 $24.77
  40014053      Y           $1.40             $2.69               $3.21               $4.78               $2.94               $2.55               $6.32               $1.82              $14.40                 $40.13
  40014061      Y           $3.47             $6.64               $7.93              $11.80               $7.27               $6.30              $15.61               $4.50              $35.57                 $99.08
  40014070      Y           $1.26             $2.41               $2.87               $4.28               $2.63               $2.28               $5.66               $1.63              $12.89                 $35.92
  40014088      Y           $4.18             $8.01               $9.57              $14.24               $8.77               $7.60              $18.83               $5.43              $42.92                 $119.56
  40014096      Y          $209.88           $401.84             $479.98             $714.32             $439.80             $381.08             $944.59             $272.47            $2,152.81              $5,996.79
  40014100      Y          $11.63            $22.26              $26.59              $39.58              $24.37              $21.11              $52.34              $15.10              $119.28                $332.25
  40014118      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40014126      Y           $0.52             $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.67               $5.33                 $14.85
  40014134      Y           $0.59             $1.13               $1.35               $2.01               $1.23               $1.07               $2.65               $0.76               $6.04                 $16.83
  40014142      Y           $0.17             $0.33               $0.40               $0.59               $0.36               $0.31               $0.78               $0.23               $1.78                  $4.95
  40014150      Y           $0.55             $1.06               $1.27               $1.88               $1.16               $1.01               $2.49               $0.72               $5.68                 $15.82
  40014169      Y           $1.01             $1.93               $2.30               $3.42               $2.11               $1.83               $4.53               $1.31              $10.31                 $28.73
  40014177      Y           $0.59             $1.13               $1.35               $2.01               $1.23               $1.07               $2.65               $0.76               $6.04                 $16.83
  40014185      Y           $3.85             $7.37               $8.80              $13.10               $8.07               $6.99              $17.32               $5.00              $39.48                 $109.97
  40014193      Y           $5.70            $10.92              $13.04              $19.41              $11.95              $10.36              $25.67               $7.41              $58.51                 $162.98
  40014207      Y           $2.13             $4.08               $4.88               $7.26               $4.47               $3.87               $9.60               $2.77              $21.87                 $60.93
  40014215      Y           $1.79             $3.44               $4.10               $6.11               $3.76               $3.26               $8.08               $2.33              $18.41                 $51.27
  40014223      Y           $1.96             $3.75               $4.48               $6.67               $4.11               $3.56               $8.82               $2.54              $20.10                 $55.98
  40014231      Y           $2.03             $3.88               $4.64               $6.90               $4.25               $3.68               $9.13               $2.63              $20.81                 $57.96
  40014240      Y          $602.36          $1,153.29           $1,377.53           $2,050.10           $1,262.22           $1,093.70           $2,710.97            $782.00            $6,178.54             $17,210.70
  40014258      Y           $0.91             $1.73               $2.07               $3.08               $1.90               $1.64               $4.08               $1.18               $9.29                 $25.88
  40014266      Y           $0.96             $1.84               $2.20               $3.28               $2.02               $1.75               $4.33               $1.25               $9.88                 $27.52
  40014274      Y           $0.63             $1.20               $1.43               $2.13               $1.31               $1.14               $2.82               $0.81               $6.43                 $17.92
  40014282      Y           $1.69             $3.24               $3.87               $5.76               $3.55               $3.07               $7.62               $2.20              $17.36                 $48.35
  40014290      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40014304      Y           $0.88             $1.69               $2.02               $3.01               $1.85               $1.61               $3.98               $1.15               $9.07                 $25.26
  40014312      Y           $0.86             $1.65               $1.97               $2.93               $1.80               $1.56               $3.87               $1.12               $8.82                 $24.58
  40014320      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40014339      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40014347      Y            $0.55            $1.06               $1.27               $1.89               $1.16               $1.01               $2.50                $0.72              $5.69                 $15.85
  40014355      Y            $0.38            $0.72               $0.86               $1.29               $0.79               $0.69               $1.70                $0.49              $3.88                 $10.80
  40014363      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014371      Y            $0.62            $1.20               $1.43               $2.12               $1.31               $1.13               $2.81                $0.81              $6.40                 $17.83
  40014380      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014398      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014401      Y            $0.17            $0.33               $0.40               $0.59               $0.36               $0.31               $0.78                $0.23              $1.78                  $4.95
  40014410      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014428      Y            $1.11            $2.13               $2.55               $3.79               $2.33               $2.02               $5.02                $1.45             $11.43                 $31.84
  40014436      Y            $1.98            $3.78               $4.52               $6.73               $4.14               $3.59               $8.90                $2.57             $20.27                 $56.47
  40014444      Y            $0.65            $1.25               $1.50               $2.23               $1.37               $1.19               $2.95                $0.85              $6.71                 $18.70
  40014452      Y            $2.97            $5.69               $6.80              $10.12               $6.23               $5.40              $13.38                $3.86             $30.49                 $84.94
  40014460      Y            $2.03            $3.89               $4.65               $6.91               $4.26               $3.69               $9.14                $2.64             $20.84                 $58.04
  40014479      Y            $3.15            $6.03               $7.20              $10.72               $6.60               $5.72              $14.18                $4.09             $32.31                 $89.99
  40014487      Y            $2.74            $5.24               $6.26               $9.32               $5.74               $4.97              $12.32                $3.55             $28.08                 $78.22
  40014495      Y           $17.17           $32.87              $39.26              $58.43              $35.97              $31.17              $77.26               $22.29             $176.09                $490.51
  40014509      Y            $0.72            $1.37               $1.64               $2.44               $1.50               $1.30               $3.22                $0.93              $7.35                 $20.46
  40014517      Y            $0.65            $1.24               $1.49               $2.21               $1.36               $1.18               $2.93                $0.84              $6.67                 $18.58
  40014525      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014533      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014541      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014550      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014568      Y           $62.78           $120.20             $143.57             $213.67             $131.55             $113.99             $282.54              $81.50             $643.94               $1,793.74
  40014576      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014584      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014592      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014606      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014614      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014622      Y            $0.24            $0.45               $0.54               $0.81               $0.50               $0.43               $1.07                $0.31              $2.43                  $6.78
  40014630      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014649      Y            $0.69            $1.33               $1.59               $2.36               $1.45               $1.26               $3.12                $0.90              $7.11                 $19.82
  40014657      Y            $0.67            $1.29               $1.54               $2.29               $1.41               $1.22               $3.02                $0.87              $6.89                 $19.19
  40014665      Y            $0.19            $0.36               $0.44               $0.65               $0.40               $0.35               $0.86                $0.25              $1.95                  $5.44
  40014673      Y            $2.24            $4.28               $5.11               $7.61               $4.69               $4.06              $10.07                $2.90             $22.94                 $63.90
  40014681      Y            $3.75            $7.19               $8.58              $12.78               $7.87               $6.82              $16.90                $4.87             $38.51                 $107.26
  40014690      Y            $3.52            $6.75               $8.06              $11.99               $7.38               $6.40              $15.86                $4.57             $36.15                 $100.69
  40014703      Y            $4.01            $7.67               $9.16              $13.63               $8.39               $7.27              $18.03                $5.20             $41.08                 $114.43
  40014711      Y            $0.52            $1.00               $1.19               $1.77               $1.09               $0.94               $2.34                $0.68              $5.34                 $14.86
  40014720      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014738      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  40014746      Y            $0.14            $0.27               $0.32               $0.47               $0.29               $0.25               $0.62                $0.18              $1.42                  $3.96
  40014754      Y            $1.63            $3.13               $3.74               $5.56               $3.42               $2.97               $7.36                $2.12             $16.76                 $46.70
  40014762      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40014770      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40014789      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40014797      Y            $0.61             $1.16               $1.39               $2.07               $1.27               $1.10               $2.74               $0.79              $6.24                 $17.38
  40014800      Y            $1.30             $2.48               $2.96               $4.41               $2.71               $2.35               $5.83               $1.68             $13.28                 $37.00
  40014819      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68              $5.34                 $14.86
  40014827      Y            $1.21             $2.32               $2.78               $4.13               $2.54               $2.20               $5.46               $1.58             $12.45                 $34.68
  40014835      Y            $0.24             $0.46               $0.56               $0.83               $0.51               $0.44               $1.09               $0.32              $2.49                  $6.94
  40014843      Y            $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36              $2.84                  $7.92
  40014851      Y            $0.21             $0.40               $0.48               $0.71               $0.44               $0.38               $0.94               $0.27              $2.13                  $5.94
  40014860      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40014878      Y            $0.31             $0.59               $0.71               $1.05               $0.65               $0.56               $1.39               $0.40              $3.17                  $8.83
  40014886      Y            $0.56             $1.08               $1.28               $1.91               $1.18               $1.02               $2.53               $0.73              $5.76                 $16.05
  40014894      Y            $0.19             $0.37               $0.44               $0.66               $0.41               $0.35               $0.87               $0.25              $1.99                  $5.55
  40014908      Y            $0.37             $0.70               $0.84               $1.25               $0.77               $0.67               $1.65               $0.48              $3.76                 $10.48
  40014916      Y            $0.50             $0.95               $1.14               $1.69               $1.04               $0.90               $2.24               $0.65              $5.11                 $14.23
  40014924      Y            $0.21             $0.40               $0.48               $0.71               $0.44               $0.38               $0.94               $0.27              $2.14                  $5.96
  40014932      Y            $0.41             $0.79               $0.94               $1.40               $0.86               $0.75               $1.86               $0.54              $4.23                 $11.78
  40014940      Y            $1.00             $1.92               $2.30               $3.42               $2.11               $1.82               $4.52               $1.30             $10.31                 $28.71
  40014959      Y            $0.20             $0.37               $0.45               $0.66               $0.41               $0.35               $0.88               $0.25              $2.00                  $5.57
  40014967      Y            $4.51             $8.63              $10.31              $15.34               $9.45               $8.18              $20.29               $5.85             $46.24                 $128.80
  40014975      Y            $2.08             $3.98               $4.76               $7.08               $4.36               $3.78               $9.36               $2.70             $21.34                 $59.45
  40014983      Y            $1.73             $3.32               $3.96               $5.90               $3.63               $3.15               $7.80               $2.25             $17.78                 $49.54
  40014991      Y            $1.25             $2.39               $2.85               $4.25               $2.62               $2.27               $5.62               $1.62             $12.80                 $35.67
  40015009      Y            $0.83             $1.59               $1.90               $2.83               $1.74               $1.51               $3.75               $1.08              $8.54                 $23.78
  40015017      Y            $0.87             $1.66               $1.98               $2.95               $1.82               $1.57               $3.90               $1.13              $8.89                 $24.77
  40015025      Y            $1.39             $2.66               $3.17               $4.72               $2.91               $2.52               $6.24               $1.80             $14.23                 $39.63
  40015033      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015041      Y            $0.13             $0.25               $0.30               $0.44               $0.27               $0.24               $0.59               $0.17              $1.33                  $3.72
  40015050      Y            $0.17             $0.33               $0.40               $0.59               $0.36               $0.31               $0.78               $0.23              $1.78                  $4.95
  40015068      Y            $0.90             $1.73               $2.06               $3.07               $1.89               $1.64               $4.06               $1.17              $9.26                 $25.78
  40015076      Y            $0.90             $1.73               $2.06               $3.07               $1.89               $1.64               $4.06               $1.17              $9.25                 $25.76
  40015084      Y            $1.09             $2.09               $2.50               $3.72               $2.29               $1.98               $4.92               $1.42             $11.20                 $31.21
  40015092      Y            $0.12             $0.23               $0.28               $0.41               $0.25               $0.22               $0.55               $0.16              $1.24                  $3.47
  40015106      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015114      Y            $1.01             $1.94               $2.32               $3.45               $2.13               $1.84               $4.56               $1.32             $10.40                 $28.98
  40015122      Y           $11.81            $22.61              $27.00              $40.18              $24.74              $21.44              $53.14              $15.33             $121.11                $337.35
  40015130      Y            $0.37             $0.71               $0.85               $1.27               $0.78               $0.68               $1.68               $0.48              $3.83                 $10.66
  40015149      Y            $0.62             $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81              $6.40                 $17.83
  40015157      Y            $0.83             $1.59               $1.90               $2.83               $1.74               $1.51               $3.75               $1.08              $8.54                 $23.78
  40015165      Y            $0.45             $0.85               $1.02               $1.52               $0.93               $0.81               $2.00               $0.58              $4.57                 $12.72
  40015173      Y            $0.20             $0.38               $0.45               $0.67               $0.41               $0.36               $0.89               $0.26              $2.03                  $5.65
  40015181      Y            $0.94             $1.81               $2.16               $3.22               $1.98               $1.72               $4.25               $1.23              $9.69                 $27.00
  40015190      Y            $2.24             $4.28               $5.11               $7.61               $4.69               $4.06              $10.07               $2.90             $22.94                 $63.90

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40015203      Y            $1.06             $2.02               $2.42               $3.59               $2.21               $1.92              $4.75                $1.37             $10.83                 $30.17
  40015211      Y            $0.41             $0.79               $0.94               $1.40               $0.86               $0.74              $1.85                $0.53              $4.21                 $11.72
  40015220      Y            $0.62             $1.20               $1.43               $2.12               $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  40015238      Y            $5.51            $10.56              $12.61              $18.76              $11.55              $10.01             $24.81                $7.16             $56.55                 $157.53
  40015246      Y            $3.18             $6.08               $7.26              $10.81               $6.66               $5.77             $14.30                $4.12             $32.58                 $90.75
  40015254      Y            $2.79             $5.34               $6.38               $9.50               $5.85               $5.07             $12.56                $3.62             $28.62                 $79.71
  40015262      Y            $1.99             $3.81               $4.56               $6.78               $4.17               $3.62              $8.97                $2.59             $20.43                 $56.92
  40015270      Y            $1.48             $2.84               $3.39               $5.05               $3.11               $2.69              $6.67                $1.92             $15.21                 $42.36
  40015289      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94              $2.34                $0.67              $5.33                 $14.85
  40015297      Y            $1.94             $3.72               $4.44               $6.61               $4.07               $3.53              $8.74                $2.52             $19.91                 $55.47
  40015300      Y            $0.26             $0.50               $0.59               $0.89               $0.54               $0.47              $1.17                $0.34              $2.67                  $7.43
  40015319      Y            $1.47             $2.82               $3.37               $5.02               $3.09               $2.68              $6.63                $1.91             $15.12                 $42.11
  40015327      Y            $1.01             $1.93               $2.30               $3.42               $2.11               $1.83              $4.53                $1.31             $10.31                 $28.73
  40015335      Y            $1.20             $2.29               $2.74               $4.07               $2.51               $2.17              $5.38                $1.55             $12.27                 $34.18
  40015343      Y            $0.94             $1.79               $2.14               $3.19               $1.96               $1.70              $4.21                $1.22              $9.60                 $26.75
  40015351      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015360      Y            $1.18             $2.26               $2.70               $4.01               $2.47               $2.14              $5.31                $1.53             $12.09                 $33.69
  40015378      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015386      Y            $0.29             $0.56               $0.67               $1.00               $0.62               $0.54              $1.33                $0.38              $3.02                  $8.42
  40015394      Y            $0.25             $0.49               $0.58               $0.87               $0.53               $0.46              $1.15                $0.33              $2.61                  $7.28
  40015408      Y            $0.44             $0.84               $1.01               $1.50               $0.92               $0.80              $1.98                $0.57              $4.52                 $12.58
  40015416      Y            $0.46             $0.88               $1.05               $1.56               $0.96               $0.83              $2.07                $0.60              $4.71                 $13.13
  40015424      Y            $0.44             $0.84               $1.01               $1.50               $0.92               $0.80              $1.98                $0.57              $4.51                 $12.56
  40015432      Y            $0.22             $0.42               $0.51               $0.75               $0.46               $0.40              $0.99                $0.29              $2.27                  $6.32
  40015440      Y            $1.04             $1.99               $2.38               $3.54               $2.18               $1.89              $4.68                $1.35             $10.67                 $29.72
  40015459      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015467      Y            $0.28             $0.53               $0.63               $0.94               $0.58               $0.50              $1.25                $0.36              $2.85                  $7.93
  40015475      Y           $23.12            $44.26              $52.87              $78.68              $48.44              $41.98             $104.05              $30.01             $237.13                $660.55
  40015483      Y            $1.13             $2.16               $2.58               $3.83               $2.36               $2.05              $5.07                $1.46             $11.55                 $32.18
  40015491      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015505      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015513      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015521      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015530      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015548      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015556      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015564      Y           $10.82            $20.71              $24.74              $36.81              $22.67              $19.64             $48.68               $14.04             $110.95                $309.04
  40015572      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015580      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015599      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015602      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40015610      Y            $2.21             $4.24               $5.06               $7.53               $4.64               $4.02              $9.96                $2.87             $22.69                 $63.21
  40015629      Y            $6.69            $12.81              $15.30              $22.78              $14.02              $12.15             $30.12                $8.69             $68.65                 $191.22

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40015637      Y            $0.48             $0.92               $1.09               $1.63               $1.00               $0.87               $2.15               $0.62              $4.91                 $13.67
  40015645      Y           $13.63            $26.09              $31.16              $46.38              $28.56              $24.74              $61.33              $17.69             $139.78                $389.37
  40015653      Y            $4.33             $8.30               $9.91              $14.75               $9.08               $7.87              $19.51               $5.63             $44.46                 $123.85
  40015661      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015670      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015688      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015696      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015700      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40015718      Y            $0.05             $0.10               $0.12               $0.18               $0.11               $0.09               $0.23               $0.07              $0.53                  $1.49
  40015726      Y            $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41              $3.20                  $8.92
  40015734      Y            $0.10             $0.20               $0.24               $0.35               $0.22               $0.19               $0.47               $0.14              $1.07                  $2.97
  40157373      Y            $0.62             $1.19               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81              $6.39                 $17.81
  40157381      Y            $1.21             $2.32               $2.78               $4.13               $2.54               $2.20               $5.46               $1.58             $12.45                 $34.68
  40157390      Y            $5.82            $11.15              $13.32              $19.82              $12.21              $10.58              $26.22               $7.56             $59.75                 $166.43
  40157403      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157411      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157420      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157438      Y            $1.18             $2.27               $2.71               $4.03               $2.48               $2.15               $5.33               $1.54             $12.15                 $33.83
  40157446      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157454      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157462      Y            $0.77             $1.48               $1.76               $2.63               $1.62               $1.40               $3.47               $1.00              $7.91                 $22.04
  40157470      Y            $1.02             $1.96               $2.34               $3.48               $2.14               $1.86               $4.60               $1.33             $10.49                 $29.23
  40157489      Y            $2.81             $5.38               $6.42               $9.56               $5.88               $5.10              $12.64               $3.65             $28.80                 $80.23
  40157497      Y            $0.61             $1.16               $1.39               $2.07               $1.27               $1.10               $2.73               $0.79              $6.22                 $17.34
  40157500      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157519      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157527      Y            $1.14             $2.19               $2.62               $3.89               $2.40               $2.08               $5.15               $1.49             $11.74                 $32.70
  40157535      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157543      Y            $0.76             $1.46               $1.74               $2.60               $1.60               $1.39               $3.43               $0.99              $7.82                 $21.80
  40157551      Y            $0.59             $1.13               $1.35               $2.01               $1.24               $1.07               $2.65               $0.77              $6.05                 $16.84
  40157560      Y            $0.76             $1.46               $1.74               $2.60               $1.60               $1.39               $3.43               $0.99              $7.82                 $21.80
  40157578      Y            $1.01             $1.93               $2.31               $3.44               $2.12               $1.83               $4.55               $1.31             $10.36                 $28.86
  40157586      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157594      Y            $0.73             $1.39               $1.67               $2.48               $1.53               $1.32               $3.28               $0.95              $7.47                 $20.81
  40157608      Y            $0.48             $0.93               $1.11               $1.64               $1.01               $0.88               $2.17               $0.63              $4.96                 $13.81
  40157616      Y            $1.53             $2.92               $3.49               $5.19               $3.20               $2.77               $6.87               $1.98             $15.65                 $43.59
  40157624      Y            $0.33             $0.63               $0.75               $1.12               $0.69               $0.60               $1.48               $0.43              $3.38                  $9.41
  40157632      Y            $1.30             $2.49               $2.97               $4.43               $2.72               $2.36               $5.85               $1.69             $13.34                 $37.15
  40157640      Y           $13.00            $24.90              $29.74              $44.26              $27.25              $23.61              $58.52              $16.88             $133.38                $371.54
  40157659      Y            $0.07             $0.13               $0.16               $0.24               $0.15               $0.13               $0.31               $0.09              $0.71                  $1.98
  40157667      Y            $0.56             $1.08               $1.29               $1.92               $1.18               $1.02               $2.54               $0.73              $5.78                 $16.10
  40157675      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40157683      Y            $2.25             $4.31               $5.15               $7.66               $4.72               $4.09              $10.13               $2.92             $23.09                 $64.33

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40157691      Y           $2.89              $5.54               $6.62               $9.85               $6.06               $5.25              $13.02              $3.76               $29.68                $82.67
  40157705      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157713      Y           $0.55              $1.05               $1.25               $1.86               $1.14               $0.99               $2.46              $0.71                $5.60                $15.60
  40157721      Y           $1.21              $2.32               $2.78               $4.13               $2.54               $2.20               $5.46              $1.58               $12.45                $34.68
  40157730      Y           $0.59              $1.13               $1.35               $2.02               $1.24               $1.08               $2.67              $0.77                $6.08                $16.92
  40157748      Y           $1.91              $3.65               $4.36               $6.49               $3.99               $3.46               $8.58              $2.47               $19.55                $54.46
  40157756      Y           $0.52              $1.00               $1.19               $1.77               $1.09               $0.94               $2.34              $0.68                $5.34                $14.86
  40157764      Y           $3.38              $6.46               $7.72              $11.49               $7.07               $6.13              $15.19              $4.38               $34.63                $96.45
  40157772      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157780      Y           $0.15              $0.28               $0.34               $0.50               $0.31               $0.27               $0.66              $0.19                $1.50                 $4.19
  40157799      Y           $3.60              $6.89               $8.23              $12.25               $7.54               $6.53              $16.20              $4.67               $36.92                $102.84
  40157802      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157810      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157829      Y           $1.21              $2.32               $2.78               $4.13               $2.54               $2.20               $5.46              $1.58               $12.45                $34.68
  40157837      Y           $0.52              $0.99               $1.18               $1.76               $1.08               $0.94               $2.33              $0.67                $5.31                $14.79
  40157845      Y           $1.52              $2.90               $3.47               $5.16               $3.18               $2.75               $6.83              $1.97               $15.56                $43.35
  40157853      Y           $0.77              $1.47               $1.75               $2.61               $1.61               $1.39               $3.45              $1.00                $7.87                $21.92
  40157861      Y           $1.01              $1.94               $2.32               $3.45               $2.13               $1.84               $4.56              $1.32               $10.40                $28.98
  40157870      Y           $5.53             $10.59              $12.64              $18.82              $11.59              $10.04              $24.88              $7.18               $56.71                $157.98
  40157888      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157896      Y           $0.40              $0.76               $0.91               $1.36               $0.84               $0.72               $1.80              $0.52                $4.10                $11.41
  40157900      Y           $1.07              $2.06               $2.46               $3.66               $2.25               $1.95               $4.84              $1.40               $11.03                $30.71
  40157918      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157926      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40157934      Y           $0.50              $0.96               $1.15               $1.71               $1.05               $0.91               $2.26              $0.65                $5.16                $14.37
  40157942      Y           $1.08              $2.07               $2.47               $3.68               $2.27               $1.96               $4.87              $1.40               $11.10                $30.91
  40157950      Y           $5.56             $10.64              $12.70              $18.91              $11.64              $10.09              $25.00              $7.21               $56.98                $158.72
  40157969      Y           $0.12              $0.23               $0.28               $0.42               $0.26               $0.22               $0.55              $0.16                $1.25                 $3.49
  40157977      Y           $1.13              $2.16               $2.58               $3.83               $2.36               $2.05               $5.07              $1.46               $11.55                $32.18
  40157985      Y           $1.05              $2.01               $2.40               $3.57               $2.20               $1.90               $4.72              $1.36               $10.76                $29.97
  40157993      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40158000      Y           $2.49              $4.78               $5.70               $8.49               $5.23               $4.53              $11.23              $3.24               $25.59                $71.28
  40158019      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40158027      Y           $0.52              $1.00               $1.19               $1.77               $1.09               $0.94               $2.34              $0.68                $5.34                $14.86
  40158035      Y           $1.52              $2.90               $3.47               $5.16               $3.18               $2.75               $6.82              $1.97               $15.54                $43.30
  40158043      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40158051      Y           $4.16              $7.97               $9.52              $14.16               $8.72               $7.56              $18.73              $5.40               $42.68                $118.89
  40158060      Y           $6.06             $11.61              $13.86              $20.63              $12.70              $11.01              $27.28              $7.87               $62.18                $173.20
  40158078      Y           $5.43             $10.40              $12.42              $18.49              $11.38               $9.86              $24.44              $7.05               $55.71                $155.18
  40158086      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40158094      Y           $0.73              $1.39               $1.67               $2.48               $1.53               $1.32               $3.28              $0.95                $7.47                $20.81
  40158108      Y           $0.74              $1.42               $1.69               $2.52               $1.55               $1.35               $3.34              $0.96                $7.60                $21.17
  40158116      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40158124      Y            $3.40             $6.51               $7.77             $11.57                $7.12               $6.17             $15.29                $4.41             $34.86                 $97.09
  40158132      Y            $0.93             $1.78               $2.13              $3.17                $1.95               $1.69              $4.19                $1.21              $9.56                 $26.63
  40158140      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158159      Y            $1.49             $2.85               $3.41              $5.07                $3.12               $2.71              $6.71                $1.94             $15.29                 $42.60
  40158167      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158175      Y            $1.92             $3.68               $4.40              $6.55                $4.03               $3.49              $8.66                $2.50             $19.74                 $54.99
  40158183      Y            $0.32             $0.62               $0.74              $1.10                $0.68               $0.59              $1.46                $0.42              $3.33                  $9.26
  40158191      Y            $0.56             $1.07               $1.27              $1.90                $1.17               $1.01              $2.51                $0.72              $5.71                 $15.92
  40158205      Y           $42.48            $81.33              $97.14             $144.57              $89.01              $77.13             $191.18              $55.15             $435.71               $1,213.68
  40158213      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158221      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158230      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158248      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158256      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158264      Y            $0.76             $1.46               $1.74              $2.60                $1.60               $1.39              $3.43                $0.99              $7.82                 $21.80
  40158272      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158280      Y            $0.63             $1.20               $1.44              $2.14                $1.32               $1.14              $2.82                $0.81              $6.44                 $17.93
  40158299      Y            $1.77             $3.38               $4.04              $6.01                $3.70               $3.21              $7.95                $2.29             $18.13                 $50.49
  40158302      Y            $0.47             $0.90               $1.07              $1.59                $0.98               $0.85              $2.11                $0.61              $4.80                 $13.38
  40158310      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158329      Y            $0.21             $0.40               $0.48              $0.71                $0.44               $0.38              $0.94                $0.27              $2.13                  $5.94
  40158337      Y            $0.28             $0.53               $0.63              $0.94                $0.58               $0.50              $1.25                $0.36              $2.85                  $7.93
  40158345      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158353      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158361      Y            $0.45             $0.87               $1.04              $1.55                $0.95               $0.82              $2.04                $0.59              $4.66                 $12.98
  40158370      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158388      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158396      Y            $1.67             $3.20               $3.82              $5.69                $3.50               $3.03              $7.52                $2.17             $17.14                 $47.75
  40158400      Y            $1.82             $3.49               $4.16              $6.20                $3.81               $3.31              $8.19                $2.36             $18.67                 $52.02
  40158418      Y            $0.71             $1.36               $1.63              $2.43                $1.49               $1.29              $3.21                $0.93              $7.31                 $20.36
  40158426      Y            $0.17             $0.33               $0.40              $0.59                $0.36               $0.31              $0.78                $0.23              $1.78                  $4.95
  40158434      Y            $0.42             $0.80               $0.95              $1.42                $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  40158442      Y            $0.35             $0.66               $0.79              $1.18                $0.73               $0.63              $1.56                $0.45              $3.56                  $9.91
  40158450      Y            $1.39             $2.66               $3.17              $4.72                $2.91               $2.52              $6.24                $1.80             $14.23                 $39.63
  40158469      Y            $1.04             $1.99               $2.38              $3.54                $2.18               $1.89              $4.68                $1.35             $10.67                 $29.72
  40158477      Y            $0.34             $0.65               $0.77              $1.15                $0.71               $0.61              $1.52                $0.44              $3.47                  $9.66
  40158485      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158493      Y            $0.21             $0.40               $0.48              $0.71                $0.44               $0.38              $0.94                $0.27              $2.13                  $5.94
  40158507      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40158515      Y            $3.90             $7.47               $8.92             $13.28                $8.17               $7.08             $17.56                $5.06             $40.01                 $111.46
  40158523      Y            $0.68             $1.29               $1.55              $2.30                $1.42               $1.23              $3.04                $0.88              $6.94                 $19.32
  40158531      Y            $0.53             $1.01               $1.21              $1.80                $1.11               $0.96              $2.38                $0.69              $5.41                 $15.08
  40158540      Y            $1.26             $2.41               $2.88              $4.28                $2.64               $2.28              $5.66                $1.63             $12.90                 $35.93

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40158558      Y           $2.30              $4.41               $5.27               $7.84               $4.83              $4.18               $10.37              $2.99               $23.64                $65.85
  40158566      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158574      Y           $0.31              $0.60               $0.71               $1.06               $0.65              $0.57                $1.40              $0.41                $3.20                 $8.92
  40158582      Y           $0.70              $1.34               $1.61               $2.39               $1.47              $1.27                $3.16              $0.91                $7.20                $20.06
  40158590      Y           $0.88              $1.69               $2.02               $3.01               $1.85              $1.61                $3.98              $1.15                $9.07                $25.26
  40158604      Y           $0.80              $1.53               $1.82               $2.71               $1.67              $1.45                $3.59              $1.04                $8.18                $22.79
  40158612      Y           $0.90              $1.73               $2.06               $3.07               $1.89              $1.64                $4.06              $1.17                $9.25                $25.76
  40158620      Y           $2.39              $4.58               $5.47               $8.14               $5.01              $4.34               $10.77              $3.11               $24.54                $68.36
  40158639      Y           $0.68              $1.29               $1.55               $2.30               $1.42              $1.23                $3.04              $0.88                $6.94                $19.32
  40158647      Y           $0.61              $1.16               $1.39               $2.07               $1.27              $1.10                $2.73              $0.79                $6.22                $17.34
  40158655      Y           $1.04              $1.99               $2.38               $3.54               $2.18              $1.89                $4.68              $1.35               $10.67                $29.72
  40158663      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158671      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158680      Y           $1.11              $2.12               $2.54               $3.78               $2.33              $2.01                $4.99              $1.44               $11.38                $31.70
  40158698      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158701      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158710      Y           $1.01              $1.93               $2.30               $3.42               $2.11              $1.83                $4.53              $1.31               $10.31                $28.73
  40158728      Y           $0.29              $0.56               $0.67               $1.00               $0.62              $0.54                $1.33              $0.38                $3.02                 $8.42
  40158736      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158744      Y           $0.73              $1.39               $1.67               $2.48               $1.53              $1.32                $3.28              $0.95                $7.47                $20.81
  40158752      Y           $0.94              $1.79               $2.14               $3.19               $1.96              $1.70                $4.21              $1.22                $9.60                $26.74
  40158760      Y           $0.24              $0.46               $0.56               $0.83               $0.51              $0.44                $1.09              $0.32                $2.49                 $6.94
  40158779      Y           $0.16              $0.30               $0.36               $0.53               $0.33              $0.28                $0.70              $0.20                $1.60                 $4.46
  40158787      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158795      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158809      Y           $0.71              $1.36               $1.63               $2.42               $1.49              $1.29                $3.20              $0.92                $7.29                $20.31
  40158817      Y           $1.58              $3.02               $3.61               $5.37               $3.30              $2.86                $7.10              $2.05               $16.17                $45.05
  40158825      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158833      Y           $1.24              $2.37               $2.83               $4.21               $2.59              $2.25                $5.57              $1.61               $12.69                $35.35
  40158841      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158850      Y           $5.46             $10.46              $12.50              $18.60              $11.45              $9.92               $24.59              $7.09               $56.05                $156.13
  40158868      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158876      Y           $0.82              $1.58               $1.88               $2.80               $1.72              $1.49                $3.70              $1.07                $8.44                $23.51
  40158884      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158892      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158906      Y           $1.82              $3.49               $4.16               $6.20               $3.81              $3.31                $8.19              $2.36               $18.67                $52.02
  40158914      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158922      Y           $0.21              $0.40               $0.48               $0.71               $0.44              $0.38                $0.94              $0.27                $2.13                 $5.94
  40158930      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158949      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158957      Y           $0.85              $1.62               $1.94               $2.89               $1.78              $1.54                $3.82              $1.10                $8.70                $24.24
  40158965      N           $0.00              $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  40158973      Y           $0.40              $0.76               $0.91               $1.36               $0.84              $0.72                $1.79              $0.52                $4.09                $11.39

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40158981      Y            $1.01             $1.94               $2.32               $3.45               $2.13               $1.84              $4.56                $1.32             $10.40                 $28.98
  40158990      Y           $15.36            $29.41              $35.12              $52.27              $32.18              $27.89             $69.12               $19.94             $157.54                $438.84
  40159007      Y            $0.15             $0.28               $0.34               $0.50               $0.31               $0.27              $0.66                $0.19              $1.51                  $4.21
  40159015      Y            $0.42             $0.80               $0.95               $1.42               $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  40159023      Y           $15.60            $29.88              $35.68              $53.11              $32.70              $28.33             $70.23               $20.26             $160.05                $445.84
  40159031      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159040      Y            $4.53             $8.66              $10.35              $15.40               $9.48               $8.22             $20.37                $5.87             $46.42                 $129.29
  40159058      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159066      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159074      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159082      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159090      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159104      Y            $0.55             $1.06               $1.27               $1.89               $1.16               $1.01              $2.50                $0.72              $5.69                 $15.85
  40159112      Y            $0.55             $1.06               $1.27               $1.89               $1.16               $1.01              $2.50                $0.72              $5.69                 $15.85
  40159120      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159139      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159147      Y            $0.31             $0.60               $0.71               $1.06               $0.65               $0.57              $1.40                $0.41              $3.20                  $8.92
  40159155      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159163      Y            $6.24            $11.95              $14.27              $21.24              $13.08              $11.33             $28.09                $8.10             $64.02                 $178.34
  40159171      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159180      Y            $3.71             $7.10               $8.49              $12.63               $7.77               $6.74             $16.70                $4.82             $38.06                 $106.01
  40159198      Y            $0.57             $1.10               $1.31               $1.95               $1.20               $1.04              $2.58                $0.74              $5.87                 $16.35
  40159201      Y            $0.43             $0.83               $0.99               $1.48               $0.91               $0.79              $1.95                $0.56              $4.45                 $12.38
  40159210      Y            $0.96             $1.83               $2.18               $3.25               $2.00               $1.73              $4.30                $1.24              $9.80                 $27.30
  40159228      Y            $8.08            $15.47              $18.48              $27.51              $16.93              $14.67             $36.37               $10.49             $82.89                 $230.91
  40159236      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159244      Y            $3.45             $6.60               $7.88              $11.73               $7.22               $6.26             $15.52                $4.48             $35.37                 $98.51
  40159252      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159260      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159279      Y            $1.03             $1.96               $2.35               $3.49               $2.15               $1.86              $4.62                $1.33             $10.52                 $29.31
  40159287      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159295      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159309      Y           $24.86            $47.60              $56.85              $84.61              $52.09              $45.14             $111.89              $32.27             $255.00                $710.32
  40159317      Y            $1.47             $2.82               $3.37               $5.02               $3.09               $2.68              $6.63                $1.91             $15.12                 $42.11
  40159325      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159333      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159341      Y            $0.56             $1.07               $1.28               $1.90               $1.17               $1.02              $2.52                $0.73              $5.74                 $15.99
  40159350      Y            $2.13             $4.07               $4.87               $7.24               $4.46               $3.86              $9.57                $2.76             $21.82                 $60.78
  40159368      Y            $1.13             $2.16               $2.58               $3.84               $2.36               $2.05              $5.07                $1.46             $11.56                 $32.20
  40159376      Y            $1.29             $2.47               $2.95               $4.39               $2.70               $2.34              $5.81                $1.68             $13.24                 $36.87
  40159384      Y            $0.73             $1.41               $1.68               $2.50               $1.54               $1.33              $3.30                $0.95              $7.53                 $20.97
  40159392      Y            $6.87            $13.15              $15.70              $23.37              $14.39              $12.47             $30.90                $8.91             $70.42                 $196.17
  40159406      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40159414      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159422      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159430      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159449      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159457      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159465      Y           $0.58              $1.11               $1.33               $1.98               $1.22               $1.05               $2.61               $0.75               $5.95                $16.58
  40159473      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159481      Y           $1.34              $2.57               $3.07               $4.57               $2.82               $2.44               $6.05               $1.74              $13.78                $38.39
  40159490      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159503      Y           $3.79              $7.26               $8.68              $12.91               $7.95               $6.89              $17.07               $4.92              $38.91                $108.39
  40159511      Y           $2.92              $5.58               $6.67               $9.93               $6.11               $5.29              $13.12               $3.79              $29.91                $83.32
  40159520      Y           $1.95              $3.73               $4.46               $6.63               $4.08               $3.54               $8.77               $2.53              $19.99                $55.68
  40159538      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159546      Y           $0.50              $0.96               $1.14               $1.70               $1.05               $0.91               $2.25               $0.65               $5.12                $14.27
  40159554      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159562      Y           $2.92              $5.59               $6.68               $9.94               $6.12               $5.30              $13.15               $3.79              $29.97                $83.47
  40159570      Y           $2.61              $5.00               $5.97               $8.89               $5.47               $4.74              $11.75               $3.39              $26.78                $74.60
  40159589      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159597      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159600      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159619      Y           $7.81             $14.95              $17.86              $26.58              $16.37              $14.18              $35.15              $10.14              $80.12                $223.17
  40159627      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159635      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159643      Y           $1.31              $2.51               $3.00               $4.46               $2.75               $2.38               $5.90               $1.70              $13.45                $37.47
  40159651      Y           $2.20              $4.21               $5.02               $7.48               $4.60               $3.99               $9.89               $2.85              $22.53                $62.76
  40159660      Y           $6.43             $12.31              $14.71              $21.89              $13.48              $11.68              $28.94               $8.35              $65.96                $183.74
  40159678      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159686      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159694      Y           $5.17              $9.89              $11.82              $17.58              $10.83               $9.38              $23.25               $6.71              $53.00                $147.62
  40159708      Y           $0.62              $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81               $6.40                $17.83
  40159716      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159724      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159732      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159740      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159759      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159767      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159775      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159783      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159791      Y           $0.33              $0.64               $0.76               $1.14               $0.70               $0.61               $1.50               $0.43               $3.42                 $9.54
  40159805      Y           $3.29              $6.31               $7.53              $11.21               $6.90               $5.98              $14.83               $4.28              $33.79                $94.12
  40159813      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159821      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40159830      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40159848      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159856      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159864      Y            $0.54             $1.04               $1.24              $1.84                $1.14               $0.98              $2.44                $0.70              $5.56                 $15.48
  40159872      Y            $1.06             $2.03               $2.42              $3.61                $2.22               $1.92              $4.77                $1.38             $10.87                 $30.27
  40159880      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159899      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159902      Y            $0.14             $0.27               $0.32              $0.47                $0.29               $0.25              $0.62                $0.18              $1.42                  $3.96
  40159910      Y            $1.27             $2.44               $2.91              $4.34                $2.67               $2.31              $5.73                $1.65             $13.07                 $36.40
  40159929      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159937      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159945      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159953      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159961      Y           $35.53            $68.03              $81.26             $120.93              $74.46              $64.51             $159.91              $46.13             $364.46               $1,015.22
  40159970      Y            $0.28             $0.54               $0.64              $0.95                $0.59               $0.51              $1.26                $0.36              $2.87                  $8.00
  40159988      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40159996      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160005      Y            $1.04             $1.99               $2.37              $3.53                $2.18               $1.89              $4.67                $1.35             $10.65                 $29.66
  40160013      Y            $0.80             $1.52               $1.82              $2.71                $1.67               $1.44              $3.58                $1.03              $8.16                 $22.74
  40160021      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160030      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160048      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160056      Y            $0.99             $1.90               $2.26              $3.37                $2.07               $1.80              $4.46                $1.29             $10.15                 $28.29
  40160064      Y            $0.75             $1.44               $1.72              $2.56                $1.58               $1.37              $3.39                $0.98              $7.73                 $21.52
  40160072      Y           $24.50            $46.90              $56.02             $83.37               $51.33              $44.48             $110.25              $31.80             $251.26                $699.91
  40160080      Y            $0.26             $0.50               $0.59              $0.89                $0.54               $0.47              $1.17                $0.34              $2.67                  $7.43
  40160099      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160102      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160110      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160129      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160137      Y            $0.94             $1.80               $2.15              $3.20                $1.97               $1.71              $4.23                $1.22              $9.65                 $26.88
  40160145      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160153      Y            $4.19             $8.02               $9.58             $14.25                $8.77               $7.60             $18.84                $5.44             $42.95                 $119.63
  40160161      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160170      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160188      Y            $1.11             $2.12               $2.54              $3.78                $2.32               $2.01              $4.99                $1.44             $11.38                 $31.69
  40160196      Y           $20.11            $38.51              $45.99             $68.45               $42.14              $36.52             $90.52               $26.11             $206.29                $574.64
  40160200      Y            $1.36             $2.61               $3.12              $4.64                $2.86               $2.48              $6.14                $1.77             $13.99                 $38.96
  40160218      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160226      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160234      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160242      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160250      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40160269      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 48 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40160277      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160285      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160293      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160307      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160315      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160323      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160331      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160340      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160358      Y            $3.99             $7.65               $9.13              $13.60               $8.37               $7.25              $17.98               $5.19             $40.97                 $114.13
  40160366      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160374      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160382      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160390      Y           $14.65            $28.05              $33.50              $49.86              $30.70              $26.60              $65.94              $19.02             $150.27                $418.60
  40160404      Y            $0.36             $0.70               $0.83               $1.24               $0.76               $0.66               $1.64               $0.47              $3.73                 $10.38
  40160412      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160420      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160439      Y            $2.03             $3.88               $4.64               $6.90               $4.25               $3.68               $9.12               $2.63             $20.79                 $57.92
  40160447      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160455      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160463      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160471      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160480      Y            $0.93             $1.78               $2.12               $3.16               $1.94               $1.69               $4.18               $1.20              $9.52                 $26.52
  40160498      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160501      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160510      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160528      Y            $3.81             $7.30               $8.72              $12.98               $7.99               $6.93              $17.17               $4.95             $39.12                 $108.98
  40160536      Y            $4.68             $8.96              $10.71              $15.93               $9.81               $8.50              $21.07               $6.08             $48.02                 $133.75
  40160544      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160552      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160560      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160579      Y            $2.77             $5.31               $6.34               $9.44               $5.81               $5.04              $12.48               $3.60             $28.45                 $79.26
  40160587      Y            $3.55             $6.81               $8.13              $12.10               $7.45               $6.45              $16.00               $4.61             $36.46                 $101.55
  40160595      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160609      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160617      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160625      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160633      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160641      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160650      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160668      Y            $0.86             $1.65               $1.97               $2.94               $1.81               $1.57               $3.89               $1.12              $8.85                 $24.67
  40160676      Y            $0.65             $1.24               $1.49               $2.21               $1.36               $1.18               $2.93               $0.84              $6.67                 $18.58
  40160684      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40160692      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40160706      Y           $2.87             $5.50               $6.57               $9.78               $6.02               $5.22              $12.93               $3.73              $29.47                 $82.09
  40160714      Y           $2.05             $3.93               $4.69               $6.98               $4.30               $3.72               $9.23               $2.66              $21.03                 $58.57
  40160722      Y           $3.02             $5.79               $6.92              $10.29               $6.34               $5.49              $13.61               $3.93              $31.03                 $86.42
  40160730      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160749      Y           $3.42             $6.55               $7.83              $11.65               $7.17               $6.22              $15.41               $4.44              $35.12                 $97.82
  40160757      Y           $2.43             $4.65               $5.55               $8.26               $5.08               $4.41              $10.92               $3.15              $24.89                 $69.33
  40160765      Y          $138.26           $264.71             $316.17             $470.54             $289.71             $251.03             $622.23             $179.49            $1,418.11              $3,950.24
  40160773      Y           $0.63             $1.20               $1.43               $2.13               $1.31               $1.14               $2.82               $0.81               $6.42                 $17.89
  40160781      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160790      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160803      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160811      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160820      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160838      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160846      Y           $0.99             $1.89               $2.26               $3.36               $2.07               $1.79               $4.45               $1.28              $10.14                 $28.24
  40160854      Y           $4.33             $8.30               $9.91              $14.75               $9.08               $7.87              $19.51               $5.63              $44.46                 $123.85
  40160862      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160870      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160889      Y           $3.99             $7.63               $9.12              $13.57               $8.36               $7.24              $17.95               $5.18              $40.90                 $113.94
  40160897      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160900      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160919      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160927      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160935      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160943      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160951      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160960      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160978      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160986      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40160994      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161001      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161010      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161028      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161036      Y           $6.59            $12.61              $15.07              $22.42              $13.81              $11.96              $29.65               $8.55              $67.58                 $188.24
  40161044      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161052      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161060      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161079      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161087      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161095      Y           $5.55            $10.62              $12.69              $18.88              $11.63              $10.07              $24.97               $7.20              $56.91                 $158.52
  40161109      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161117      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40161125      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40161133      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161141      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161150      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161168      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161176      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161184      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161192      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161206      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161214      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161222      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161230      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161249      Y           $1.04              $1.99               $2.38               $3.54               $2.18               $1.89               $4.68              $1.35               $10.67                $29.72
  40161257      Y           $1.70              $3.25               $3.89               $5.78               $3.56               $3.09               $7.65              $2.21               $17.43                $48.55
  40161265      Y           $1.75              $3.35               $4.00               $5.96               $3.67               $3.18               $7.88              $2.27               $17.96                $50.03
  40161273      Y           $2.12              $4.05               $4.84               $7.20               $4.43               $3.84               $9.52              $2.75               $21.70                $60.44
  40161281      Y          $49.55             $94.86             $113.30             $168.62             $103.82              $89.96             $222.98             $64.32              $508.19               $1,415.60
  40161290      Y           $1.42              $2.72               $3.25               $4.84               $2.98               $2.58               $6.40              $1.85               $14.59                $40.65
  40161303      Y           $2.65              $5.08               $6.07               $9.03               $5.56               $4.82              $11.94              $3.44               $27.21                $75.79
  40161311      Y           $3.40              $6.51               $7.77              $11.57               $7.12               $6.17              $15.29              $4.41               $34.86                $97.09
  40161320      Y           $0.97              $1.86               $2.22               $3.30               $2.03               $1.76               $4.37              $1.26                $9.96                $27.74
  40161338      Y           $7.94             $15.20              $18.16              $27.03              $16.64              $14.42              $35.74             $10.31               $81.45                $226.88
  40161346      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161354      Y           $0.93              $1.78               $2.12               $3.16               $1.94               $1.68               $4.17              $1.20                $9.51                $26.50
  40161362      Y           $6.06             $11.61              $13.86              $20.63              $12.70              $11.01              $27.28              $7.87               $62.18                $173.20
  40161370      Y           $4.90              $9.38              $11.20              $16.67              $10.26               $8.89              $22.04              $6.36               $50.24                $139.95
  40161389      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161397      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161400      Y           $3.85              $7.37               $8.80              $13.10               $8.07               $6.99              $17.32              $5.00               $39.48                $109.97
  40161419      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161427      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161435      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161443      Y           $0.49              $0.93               $1.11               $1.65               $1.02               $0.88               $2.18              $0.63                $4.98                $13.87
  40161451      Y           $7.21             $13.81              $16.49              $24.55              $15.11              $13.10              $32.46              $9.36               $73.98                $206.08
  40161460      Y           $6.24             $11.95              $14.27              $21.24              $13.08              $11.33              $28.09              $8.10               $64.02                $178.34
  40161478      Y           $6.59             $12.61              $15.07              $22.42              $13.81              $11.96              $29.65              $8.55               $67.58                $188.24
  40161486      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161494      Y           $6.05             $11.59              $13.84              $20.59              $12.68              $10.99              $27.23              $7.86               $62.07                $172.89
  40161508      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161516      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161524      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  40161532      Y           $1.25              $2.39               $2.85               $4.25               $2.62               $2.27               $5.62              $1.62               $12.80                $35.67
  40161540      Y           $1.80              $3.45               $4.12               $6.14               $3.78               $3.27               $8.11              $2.34               $18.49                $51.50
  40161559      Y         $6,179.97         $11,832.21          $14,132.83          $21,033.12          $12,949.79          $11,220.85          $27,813.33          $8,022.92           $63,388.99            $176,574.01

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40161567      Y            $3.75             $7.17               $8.56              $12.75               $7.85               $6.80              $16.85               $4.86             $38.41                 $107.00
  40161575      Y            $1.66             $3.17               $3.79               $5.64               $3.47               $3.01               $7.45               $2.15             $16.98                 $47.31
  40161583      Y            $0.52             $1.00               $1.19               $1.77               $1.09               $0.94               $2.34               $0.68              $5.34                 $14.86
  40161591      Y           $12.83            $24.56              $29.34              $43.67              $26.88              $23.30              $57.74              $16.66             $131.60                $366.58
  40161605      Y            $0.71             $1.35               $1.62               $2.41               $1.48               $1.28               $3.18               $0.92              $7.26                 $20.21
  40161613      Y            $2.96             $5.68               $6.78              $10.09               $6.21               $5.38              $13.34               $3.85             $30.41                 $84.71
  40161621      Y            $1.31             $2.50               $2.99               $4.45               $2.74               $2.37               $5.88               $1.70             $13.41                 $37.36
  40161630      Y            $1.54             $2.95               $3.53               $5.25               $3.23               $2.80               $6.94               $2.00             $15.83                 $44.09
  40161648      Y            $1.40             $2.69               $3.21               $4.78               $2.94               $2.55               $6.32               $1.82             $14.40                 $40.13
  40161656      Y            $4.76             $9.11              $10.88              $16.20               $9.97               $8.64              $21.42               $6.18             $48.82                 $135.99
  40161664      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161672      Y            $1.02             $1.95               $2.32               $3.46               $2.13               $1.84               $4.57               $1.32             $10.42                 $29.03
  40161680      Y            $1.56             $2.99               $3.57               $5.31               $3.27               $2.83               $7.02               $2.03             $16.01                 $44.58
  40161699      Y            $0.49             $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63              $4.98                 $13.87
  40161702      Y            $0.62             $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81              $6.40                 $17.83
  40161710      Y            $0.52             $0.99               $1.19               $1.77               $1.09               $0.94               $2.34               $0.67              $5.33                 $14.85
  40161729      Y            $2.65             $5.08               $6.07               $9.03               $5.56               $4.82              $11.94               $3.44             $27.21                 $75.78
  40161737      Y            $2.57             $4.91               $5.87               $8.73               $5.38               $4.66              $11.55               $3.33             $26.32                 $73.32
  40161745      Y            $4.44             $8.50              $10.15              $15.11               $9.30               $8.06              $19.98               $5.76             $45.53                 $126.82
  40161753      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161761      Y            $2.90             $5.54               $6.62               $9.85               $6.07               $5.26              $13.03               $3.76             $29.70                 $82.73
  40161770      Y            $0.07             $0.13               $0.16               $0.24               $0.15               $0.13               $0.31               $0.09              $0.71                  $1.98
  40161788      Y            $0.48             $0.91               $1.09               $1.62               $1.00               $0.86               $2.14               $0.62              $4.88                 $13.60
  40161796      Y            $0.16             $0.30               $0.36               $0.53               $0.33               $0.28               $0.70               $0.20              $1.60                  $4.46
  40161800      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161818      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161826      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161834      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161842      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161850      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161869      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161877      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161885      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161893      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161907      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161915      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161923      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161931      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161940      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161958      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161966      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161974      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00
  40161982      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40161990      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162008      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162016      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162024      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162032      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162040      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162059      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162067      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162075      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162083      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162091      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162105      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162113      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162121      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162130      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162148      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162156      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162164      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162172      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162180      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162199      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162202      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162210      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162229      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162237      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162245      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162253      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162261      Y           $0.15              $0.28               $0.33               $0.50               $0.31               $0.26               $0.66               $0.19               $1.49                 $4.16
  40162270      Y           $1.10              $2.11               $2.52               $3.75               $2.31               $2.00               $4.95               $1.43              $11.29                $31.45
  40162288      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162296      Y           $2.13              $4.08               $4.87               $7.25               $4.47               $3.87               $9.59               $2.77              $21.86                $60.89
  40162300      Y           $2.22              $4.25               $5.08               $7.55               $4.65               $4.03               $9.99               $2.88              $22.76                $63.41
  40162318      Y           $4.94              $9.46              $11.30              $16.82              $10.35               $8.97              $22.24               $6.41              $50.68                $141.18
  40162326      Y           $5.08              $9.73              $11.62              $17.29              $10.64               $9.22              $22.86               $6.59              $52.11                $145.15
  40162334      Y           $5.53             $10.59              $12.65              $18.82              $11.59              $10.04              $24.89               $7.18              $56.73                $158.03
  40162342      Y           $7.44             $14.24              $17.01              $25.31              $15.59              $13.51              $33.48               $9.66              $76.29                $212.52
  40162350      Y           $0.83              $1.60               $1.91               $2.84               $1.75               $1.51               $3.75               $1.08               $8.55                $23.80
  40162369      Y           $0.45              $0.86               $1.02               $1.52               $0.94               $0.81               $2.02               $0.58               $4.59                $12.80
  40162377      Y           $0.49              $0.95               $1.13               $1.68               $1.04               $0.90               $2.23               $0.64               $5.07                $14.13
  40162385      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  40162393      Y           $6.81             $13.05              $15.58              $23.19              $14.28              $12.37              $30.67               $8.85              $69.89                $194.68
  40162407      Y           $7.82             $14.97              $17.88              $26.60              $16.38              $14.19              $35.18              $10.15              $80.18                $223.34
  40162415      Y           $0.62              $1.19               $1.42               $2.11               $1.30               $1.12               $2.79               $0.80               $6.35                $17.69

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40162423      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162431      Y           $3.16             $6.04               $7.22              $10.74               $6.61               $5.73              $14.20               $4.10              $32.37                 $90.16
  40162440      Y           $4.56             $8.73              $10.43              $15.52               $9.56               $8.28              $20.52               $5.92              $46.77                 $130.29
  40162458      Y          $12.14            $23.24              $27.75              $41.31              $25.43              $22.04              $54.62              $15.76              $124.49                $346.77
  40162466      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162474      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162482      Y          $21.10            $40.40              $48.26              $71.82              $44.22              $38.31              $94.97              $27.39              $216.44                $602.90
  40162490      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162504      Y           $6.07            $11.63              $13.89              $20.66              $12.72              $11.02              $27.33               $7.88              $62.28                 $173.48
  40162512      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162520      Y           $0.16             $0.30               $0.36               $0.53               $0.33               $0.28               $0.70               $0.20               $1.60                  $4.46
  40162539      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162547      Y           $1.39             $2.66               $3.17               $4.72               $2.91               $2.52               $6.24               $1.80              $14.23                 $39.63
  40162555      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162563      Y           $0.36             $0.69               $0.82               $1.22               $0.75               $0.65               $1.61               $0.47               $3.68                 $10.24
  40162571      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162580      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162598      Y          $23.41            $44.81              $53.53              $79.66              $49.05              $42.50              $105.34             $30.39              $240.08                $668.76
  40162601      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162610      Y          $179.26           $343.21             $409.95             $610.10             $375.63             $325.48             $806.77             $232.72            $1,838.71              $5,121.83
  40162628      Y           $0.49             $0.93               $1.11               $1.65               $1.02               $0.88               $2.18               $0.63               $4.98                 $13.87
  40162636      Y          $14.46            $27.69              $33.07              $49.22              $30.30              $26.26              $65.09              $18.77              $148.34                $413.21
  40162644      Y          $37.45            $71.70              $85.64              $127.46             $78.47              $68.00              $168.55             $48.62              $384.13               $1,070.02
  40162652      Y           $0.78             $1.49               $1.78               $2.66               $1.64               $1.42               $3.51               $1.01               $8.00                 $22.30
  40162660      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162679      Y           $2.69             $5.15               $6.15               $9.16               $5.64               $4.88              $12.11               $3.49              $27.60                 $76.87
  40162687      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162695      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162709      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162717      Y           $1.48             $2.83               $3.38               $5.04               $3.10               $2.69               $6.66               $1.92              $15.18                 $42.29
  40162725      Y           $1.56             $2.99               $3.57               $5.31               $3.27               $2.83               $7.02               $2.03              $16.01                 $44.58
  40162733      Y           $5.55            $10.62              $12.69              $18.88              $11.63              $10.07              $24.97               $7.20              $56.91                 $158.52
  40162741      Y           $7.63            $14.61              $17.45              $25.96              $15.99              $13.85              $34.33               $9.90              $78.25                 $217.97
  40162750      Y          $13.61            $26.06              $31.13              $46.33              $28.53              $24.72              $61.27              $17.67              $139.64                $388.96
  40162768      Y          $20.11            $38.51              $45.99              $68.45              $42.14              $36.52              $90.52              $26.11              $206.29                $574.64
  40162776      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162784      Y           $6.94            $13.28              $15.86              $23.60              $14.53              $12.59              $31.21               $9.00              $71.14                 $198.15
  40162792      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162806      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162814      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162822      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162830      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40162849      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40162857      Y            $0.98             $1.88               $2.24               $3.34               $2.06               $1.78              $4.42                $1.27             $10.06                 $28.03
  40162865      Y           $23.67            $45.31              $54.12              $80.55              $49.59              $42.97             $106.51              $30.72             $242.75                $676.20
  40162873      Y            $3.86             $7.39               $8.83              $13.14               $8.09               $7.01             $17.37                $5.01             $39.60                 $110.30
  40162881      Y            $1.52             $2.90               $3.47               $5.16               $3.18               $2.75              $6.83                $1.97             $15.56                 $43.35
  40162890      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40162903      Y            $0.42             $0.80               $0.95               $1.42               $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  40162911      Y            $0.38             $0.73               $0.87               $1.30               $0.80               $0.69              $1.72                $0.50              $3.91                 $10.90
  40162920      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40162938      Y            $0.34             $0.65               $0.77               $1.15               $0.71               $0.61              $1.52                $0.44              $3.47                  $9.66
  40162946      Y            $1.23             $2.36               $2.82               $4.19               $2.58               $2.24              $5.54                $1.60             $12.63                 $35.17
  40162954      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40162962      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40162970      Y            $1.20             $2.29               $2.74               $4.08               $2.51               $2.18              $5.39                $1.56             $12.29                 $34.24
  40162989      Y            $0.26             $0.50               $0.59               $0.89               $0.54               $0.47              $1.17                $0.34              $2.67                  $7.43
  40162997      Y           $12.14            $23.24              $27.75              $41.31              $25.43              $22.04             $54.62               $15.76             $124.49                $346.77
  40163004      Y            $1.60             $3.05               $3.65               $5.43               $3.34               $2.90              $7.18                $2.07             $16.36                 $45.58
  40163012      Y            $0.38             $0.72               $0.86               $1.28               $0.79               $0.68              $1.69                $0.49              $3.86                 $10.75
  40163020      Y            $0.95             $1.83               $2.18               $3.24               $2.00               $1.73              $4.29                $1.24              $9.78                 $27.24
  40163039      Y            $1.73             $3.32               $3.96               $5.90               $3.63               $3.15              $7.80                $2.25             $17.78                 $49.54
  40163047      Y            $0.93             $1.78               $2.12               $3.16               $1.94               $1.68              $4.17                $1.20              $9.51                 $26.50
  40163055      Y            $2.10             $4.02               $4.80               $7.14               $4.40               $3.81              $9.44                $2.72             $21.52                 $59.94
  40163063      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163071      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163080      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163098      Y            $0.52             $0.99               $1.19               $1.77               $1.09               $0.94              $2.34                $0.67              $5.33                 $14.84
  40163101      Y            $0.62             $1.20               $1.43               $2.12               $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  40163110      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163128      Y           $28.69            $54.94              $65.62              $97.66              $60.13              $52.10             $129.14              $37.25             $294.32                $819.86
  40163136      Y            $1.33             $2.56               $3.05               $4.54               $2.80               $2.42              $6.01                $1.73             $13.69                 $38.13
  40163144      Y            $1.94             $3.72               $4.44               $6.61               $4.07               $3.53              $8.74                $2.52             $19.92                 $55.48
  40163152      Y            $1.39             $2.66               $3.18               $4.73               $2.91               $2.52              $6.25                $1.80             $14.24                 $39.67
  40163160      Y            $0.10             $0.20               $0.24               $0.35               $0.22               $0.19              $0.47                $0.14              $1.07                  $2.97
  40163179      Y            $1.45             $2.77               $3.30               $4.92               $3.03               $2.62              $6.50                $1.88             $14.82                 $41.29
  40163187      Y            $1.86             $3.56               $4.25               $6.33               $3.89               $3.37              $8.36                $2.41             $19.06                 $53.10
  40163195      Y            $0.52             $0.99               $1.18               $1.76               $1.08               $0.94              $2.33                $0.67              $5.30                 $14.76
  40163209      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163217      Y            $1.54             $2.95               $3.53               $5.25               $3.23               $2.80              $6.94                $2.00             $15.83                 $44.09
  40163225      Y           $20.29            $38.84              $46.39              $69.04              $42.51              $36.83             $91.30               $26.33             $208.07                $579.60
  40163233      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163241      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163250      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  40163268      Y            $0.36             $0.70               $0.83               $1.24               $0.76               $0.66              $1.64                $0.47              $3.73                 $10.40
  40163276      Y            $1.51             $2.90               $3.46               $5.15               $3.17               $2.75              $6.81                $1.96             $15.52                 $43.23

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40163284      Y            $0.66             $1.26              $1.51               $2.24               $1.38                $1.20              $2.97                $0.86              $6.76                 $18.82
  40163292      Y            $0.92             $1.77              $2.11               $3.14               $1.93                $1.68              $4.16                $1.20              $9.47                 $26.38
  40163306      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163314      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163322      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163330      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163349      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163357      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163365      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163373      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163381      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163390      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163403      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163411      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163420      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163438      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163446      Y            $0.67             $1.28              $1.52               $2.27               $1.40                $1.21              $3.00                $0.86              $6.83                 $19.04
  40163454      Y            $2.88             $5.51              $6.58               $9.80               $6.03                $5.23             $12.95                $3.74             $29.52                 $82.23
  40163462      Y            $9.09            $17.40             $20.79              $30.94              $19.05               $16.50             $40.91               $11.80             $93.23                 $259.70
  40163470      Y            $0.21             $0.40              $0.48               $0.71               $0.44                $0.38              $0.94                $0.27              $2.13                  $5.94
  40163489      Y           $52.01            $99.59             $118.95             $177.03             $108.99              $94.44             $234.09              $67.53             $533.52               $1,486.14
  40163497      Y            $2.20             $4.21              $5.03               $7.49               $4.61                $3.99              $9.90                $2.86             $22.56                 $62.85
  40163500      Y           $11.44            $21.91             $26.17              $38.95              $23.98               $20.78             $51.50               $14.86             $117.37                $326.95
  40163519      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163527      Y            $0.20             $0.38              $0.45               $0.67               $0.41                $0.36              $0.89                $0.26              $2.02                  $5.64
  40163535      Y            $0.59             $1.13              $1.35               $2.01               $1.24                $1.07              $2.65                $0.77              $6.05                 $16.84
  40163543      Y            $3.09             $5.91              $7.06              $10.51               $6.47                $5.61             $13.90                $4.01             $31.69                 $88.27
  40163551      Y            $3.09             $5.91              $7.06              $10.50               $6.47                $5.60             $13.89                $4.01             $31.66                 $88.18
  40163560      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163578      Y            $0.76             $1.46              $1.74               $2.60               $1.60                $1.39              $3.43                $0.99              $7.82                 $21.80
  40163586      Y            $0.59             $1.13              $1.35               $2.01               $1.24                $1.07              $2.65                $0.77              $6.05                 $16.84
  40163594      Y            $0.52             $1.00              $1.19               $1.77               $1.09                $0.94              $2.34                $0.68              $5.34                 $14.86
  40163608      Y            $0.12             $0.23              $0.28               $0.41               $0.25                $0.22              $0.55                $0.16              $1.24                  $3.47
  40163616      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163624      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163632      Y            $0.49             $0.93              $1.11               $1.65               $1.02                $0.88              $2.18                $0.63              $4.98                 $13.87
  40163640      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163659      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163667      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163675      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163683      N            $0.00             $0.00              $0.00               $0.00               $0.00                $0.00              $0.00                $0.00              $0.00                  $0.00
  40163691      Y            $3.09             $5.91              $7.06              $10.50               $6.47                $5.60             $13.89                $4.01             $31.66                 $88.18
  40163705      Y            $3.09             $5.91              $7.06              $10.50               $6.47                $5.60             $13.89                $4.01             $31.66                 $88.18

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
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                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  40163713      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40163721      Y           $6.42            $12.28              $14.67              $21.83              $13.44              $11.65              $28.87               $8.33              $65.80                 $183.29
  40163730      Y           $1.46             $2.79               $3.33               $4.96               $3.05               $2.64               $6.55               $1.89              $14.94                 $41.61
  40163748      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40163756      Y           $1.18             $2.25               $2.69               $4.01               $2.47               $2.14               $5.30               $1.53              $12.08                 $33.65
  40163764      Y           $3.46             $6.62               $7.91              $11.77               $7.25               $6.28              $15.57               $4.49              $35.48                 $98.82
  40163772      Y           $2.71             $5.18               $6.19               $9.22               $5.67               $4.92              $12.19               $3.52              $27.78                 $77.37
  40163780      Y           $0.21             $0.40               $0.47               $0.71               $0.43               $0.38               $0.93               $0.27               $2.13                  $5.93
  40163799      Y           $2.84             $5.43               $6.49               $9.66               $5.95               $5.15              $12.77               $3.68              $29.11                 $81.09
  40163802      Y           $1.38             $2.64               $3.15               $4.69               $2.89               $2.50               $6.20               $1.79              $14.14                 $39.38
  40163810      Y           $1.22             $2.33               $2.78               $4.14               $2.55               $2.21               $5.48               $1.58              $12.48                 $34.78
  40163829      Y          $357.95           $685.33             $818.58            $1,218.25            $750.06             $649.92            $1,610.96            $464.69            $3,671.51             $10,227.24
  40163837      Y           $0.26             $0.50               $0.59               $0.89               $0.54               $0.47               $1.17               $0.34               $2.67                  $7.43
  40163845      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40163853      Y           $0.26             $0.50               $0.60               $0.90               $0.55               $0.48               $1.19               $0.34               $2.70                  $7.53
  40163861      Y           $0.13             $0.25               $0.30               $0.45               $0.28               $0.24               $0.59               $0.17               $1.35                  $3.76
  40163870      Y           $0.57             $1.10               $1.31               $1.95               $1.20               $1.04               $2.58               $0.74               $5.87                 $16.35
  40163888      Y           $0.64             $1.22               $1.46               $2.17               $1.34               $1.16               $2.87               $0.83               $6.54                 $18.21
  40163896      Y           $0.28             $0.53               $0.63               $0.94               $0.58               $0.50               $1.25               $0.36               $2.85                  $7.93
  40163900      Y           $0.21             $0.40               $0.48               $0.71               $0.44               $0.38               $0.94               $0.27               $2.13                  $5.94
  40163918      Y           $2.29             $4.38               $5.24               $7.79               $4.80               $4.16              $10.31               $2.97              $23.49                 $65.43
  40163926      Y           $5.84            $11.19              $13.36              $19.88              $12.24              $10.61              $26.29               $7.58              $59.93                 $166.93
  40163934      Y           $0.42             $0.80               $0.95               $1.42               $0.87               $0.76               $1.87               $0.54               $4.27                 $11.89
  40163942      Y           $0.62             $1.20               $1.43               $2.12               $1.31               $1.13               $2.81               $0.81               $6.40                 $17.83
  40163950      Y           $0.63             $1.21               $1.45               $2.15               $1.33               $1.15               $2.85               $0.82               $6.49                 $18.08
  40163969      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40163977      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40163985      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40163993      Y           $1.25             $2.39               $2.85               $4.25               $2.62               $2.27               $5.62               $1.62              $12.80                 $35.67
  40164000      Y           $1.39             $2.66               $3.17               $4.72               $2.91               $2.52               $6.24               $1.80              $14.23                 $39.63
  40164019      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  40164027      Y           $0.69             $1.33               $1.58               $2.36               $1.45               $1.26               $3.12               $0.90               $7.10                 $19.79
  40164035      Y           $1.93             $3.70               $4.42               $6.57               $4.05               $3.51               $8.69               $2.51              $19.81                 $55.20
  40164043      Y           $0.31             $0.60               $0.71               $1.06               $0.65               $0.57               $1.40               $0.41               $3.20                  $8.92
  40164051      Y           $2.00             $3.82               $4.56               $6.79               $4.18               $3.62               $8.98               $2.59              $20.47                 $57.02
  40164060      Y           $0.19             $0.37               $0.44               $0.66               $0.41               $0.35               $0.87               $0.25               $1.98                  $5.53
  40164078      Y           $0.24             $0.45               $0.54               $0.80               $0.49               $0.43               $1.06               $0.31               $2.42                  $6.74
  40164086      Y           $0.10             $0.19               $0.22               $0.33               $0.21               $0.18               $0.44               $0.13               $1.00                  $2.80
  40164094      Y           $0.97             $1.85               $2.21               $3.29               $2.03               $1.76               $4.35               $1.26               $9.92                 $27.64
  40164108      Y           $1.18             $2.26               $2.70               $4.01               $2.47               $2.14               $5.31               $1.53              $12.09                 $33.69
  70000018      Y          $78.97            $151.20             $180.59             $268.77             $165.48             $143.38             $355.41             $102.52             $810.01               $2,256.33
  70000026      Y          $111.13           $212.78             $254.15             $378.23             $232.87             $201.78             $500.16             $144.27            $1,139.91              $3,175.28
  70000034      Y           $0.21             $0.40               $0.48               $0.71               $0.44               $0.38               $0.94               $0.27               $2.13                  $5.94

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 57 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70000042      Y         $11,329.24        $21,691.03          $25,908.57         $38,558.32           $23,739.81          $20,570.28         $50,987.93           $14,707.78         $116,205.91            $323,698.86
  70000050      Y            $3.42             $6.54               $7.81             $11.62                $7.16               $6.20             $15.37                $4.43             $35.03                 $97.59
  70000069      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000077      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000085      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000093      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000107      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000115      Y            $1.29             $2.47               $2.95              $4.40                $2.71               $2.35              $5.81                $1.68             $13.25                 $36.91
  70000123      Y            $0.42             $0.80               $0.95              $1.42                $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  70000131      Y            $1.73             $3.30               $3.95              $5.87                $3.61               $3.13              $7.76                $2.24             $17.69                 $49.29
  70000140      Y          $1,157.66         $2,216.45           $2,647.41          $3,940.00            $2,425.80           $2,101.93          $5,210.10            $1,502.88         $11,874.26             $33,076.50
  70000158      Y          $7,085.10        $13,565.16          $16,202.73         $24,113.65           $14,846.43          $12,864.26         $31,886.89            $9,197.97         $72,672.99             $202,435.17
  70000166      Y            $2.02             $3.88               $4.63              $6.89                $4.24               $3.68              $9.11                $2.63             $20.76                 $57.84
  70000174      Y           $42.30            $81.00              $96.75             $143.98              $88.65              $76.81             $190.40              $54.92             $433.93               $1,208.73
  70000182      Y           $43.91            $84.07              $100.41            $149.44              $92.01              $79.72             $197.61              $57.00             $450.37               $1,254.53
  70000190      Y           $80.91            $154.92             $185.04            $275.39              $169.55             $146.91            $364.16              $105.04            $829.95               $2,311.87
  70000204      Y            $0.23             $0.43               $0.51              $0.77                $0.47               $0.41              $1.01                $0.29              $2.31                  $6.43
  70000212      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000220      Y            $0.42             $0.80               $0.95              $1.42                $0.87               $0.76              $1.87                $0.54              $4.27                 $11.89
  70000239      Y            $3.55             $6.80               $8.12             $12.09                $7.44               $6.45             $15.98                $4.61             $36.43                 $101.48
  70000247      Y           $637.79          $1,221.12           $1,458.55          $2,170.69            $1,336.46           $1,158.03          $2,870.43             $827.99           $6,541.95             $18,223.01
  70000255      Y           $50.92            $97.49              $116.44            $173.30              $106.70             $92.45             $229.16              $66.10             $522.27               $1,454.82
  70000263      Y         $10,846.48        $20,766.72          $24,804.55         $36,915.27           $22,728.20          $19,693.73         $48,815.22           $14,081.05         $111,254.12            $309,905.34
  70000271      Y         $34,261.16        $65,596.59          $78,351.03         $116,605.57          $71,792.38          $62,207.30         $154,194.39          $44,478.31         $351,422.37            $978,909.11
  70000280      Y           $193.76           $370.98             $443.11            $659.46              $406.02             $351.81            $872.05              $251.55           $1,987.47              $5,536.21
  70000298      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000301      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000310      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000328      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000336      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000344      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000352      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000360      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000379      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000387      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000395      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000409      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000417      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000425      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000433      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000441      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000450      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70000468      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70000476      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000484      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000492      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000506      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000514      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000522      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000530      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000549      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000557      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000565      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000573      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000581      Y         $2,709.04         $5,186.75           $6,195.25           $9,220.05           $5,676.65           $4,918.76          $12,192.21           $3,516.92          $27,787.10             $77,402.73
  70000590      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000603      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000611      Y        $351,754.80       $673,471.50         $804,419.62        $1,197,173.94        $737,082.87         $638,674.07        $1,583,093.34        $456,652.85        $3,608,006.84         $10,050,329.82
  70000620      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000638      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000646      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000654      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000662      Y        $16,360.12        $31,323.16          $37,413.56          $55,680.56          $34,281.73          $29,704.73          $73,629.68          $21,238.93          $167,808.41           $467,440.87
  70000670      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000689      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000697      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000700      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000719      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000727      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000735      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000743      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000751      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000760      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000778      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000786      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000794      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000808      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000816      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000824      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000832      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000840      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000859      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000867      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000875      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000883      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000891      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 59 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

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Final Net Fund Amount:
        Sum Approved
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          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70000905      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000913      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000921      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000930      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000948      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000956      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000964      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000972      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000980      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70000999      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001006      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001014      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001022      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001030      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001049      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001057      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001065      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001073      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001081      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001090      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001103      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001111      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001120      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001138      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001146      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001154      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001162      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001170      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001189      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001197      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001200      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001219      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001227      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001235      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001243      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001251      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001260      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001278      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001286      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001294      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001308      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001316      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001324      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70001332      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001340      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001359      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001367      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001375      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001383      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001391      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001405      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001413      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001421      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001430      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001448      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001456      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001464      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001472      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001480      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001499      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001502      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001510      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001529      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001537      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001545      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001553      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001561      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001570      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001588      Y           $57.46           $110.01             $131.40             $195.56             $120.40             $104.33             $258.59              $74.59             $589.36               $1,641.69
  70001596      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001600      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001618      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001626      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001634      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001642      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001650      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001669      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001677      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001685      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001693      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001707      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001715      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001723      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001731      Y           $16.33           $31.26              $37.34              $55.57              $34.21              $29.64              $73.48               $21.19             $167.46                $466.47
  70001740      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70001758      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70001766      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001774      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001782      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001790      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001804      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001812      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001820      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001839      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001847      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001855      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001863      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001871      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001880      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001898      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001901      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001910      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001928      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001936      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001944      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001952      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001960      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001979      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001987      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70001995      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002002      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002010      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002029      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002037      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002045      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002053      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002061      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002070      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002088      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002096      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002100      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002118      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002126      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002134      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002142      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002150      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002169      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002177      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002185      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
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                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70002193      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002207      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002215      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002223      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002231      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002240      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002258      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002266      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002274      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002282      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002290      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002304      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002312      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002320      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002339      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002347      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002355      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002363      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002371      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002380      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002398      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002401      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002410      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002428      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002436      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002444      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002452      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002460      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002479      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002487      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002495      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002509      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002517      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002525      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002533      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002541      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002550      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002568      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002576      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002584      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002592      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002606      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002614      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70002622      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002630      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002649      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002657      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002665      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002673      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002681      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002690      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002703      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002711      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002720      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002738      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002746      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002754      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002762      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002770      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002789      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002797      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002800      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002819      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002827      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002835      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002843      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002851      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002860      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002878      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002886      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002894      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002908      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002916      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002924      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002932      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002940      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002959      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002967      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002975      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002983      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70002991      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003009      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003017      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003025      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003033      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003041      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70003050      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003068      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003076      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003084      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003092      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003106      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003114      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003122      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003130      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003149      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003157      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003165      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003173      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003181      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003190      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003203      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003211      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003220      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003238      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003246      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003254      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003262      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003270      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003289      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003297      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003300      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003319      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003327      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003335      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003343      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003351      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003360      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003378      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003386      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003394      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003408      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003416      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003424      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003432      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003440      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003459      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003467      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003475      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70003483      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003491      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003505      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003513      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003521      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003530      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003548      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003556      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003564      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003572      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003580      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003599      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003602      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003610      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003629      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003637      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003645      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003653      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003661      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003670      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003688      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003696      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003700      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003718      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003726      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003734      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003742      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003750      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003769      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003777      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003785      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003793      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003807      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003815      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003823      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003831      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003840      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003858      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003866      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003874      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003882      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003890      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003904      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70003912      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003920      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003939      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003947      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003955      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003963      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003971      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003980      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70003998      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004005      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004013      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004021      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004030      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004048      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004056      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004064      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004072      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004080      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004099      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004102      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004110      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004129      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004137      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004145      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004153      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004161      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004170      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004188      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004196      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004200      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004218      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004226      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004234      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004242      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004250      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004269      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004277      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004285      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004293      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004307      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004315      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004323      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004331      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70004340      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004358      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004366      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004374      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004382      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004390      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004404      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004412      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004420      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004439      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004447      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004455      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004463      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004471      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004480      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004498      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004501      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004510      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004528      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004536      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004544      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004552      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004560      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004579      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004587      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004595      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004609      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004617      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004625      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004633      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004641      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004650      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004668      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004676      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004684      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004692      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004706      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004714      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004722      Y         $6,312.16         $12,085.30          $14,435.13          $21,483.02          $13,226.79          $11,460.87          $28,408.26          $8,194.54           $64,744.89            $180,350.96
  70004730      Y         $3,778.47          $7,234.28           $8,640.90          $12,859.78           $7,917.58           $6,860.50          $17,005.24          $4,905.26           $38,756.41            $107,958.42
  70004749      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004757      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00
  70004765      N           $0.00              $0.00               $0.00              $0.00                $0.00               $0.00              $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70004773      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004781      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004790      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004803      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004811      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004820      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004838      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004846      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004854      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004862      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004870      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004889      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004897      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004900      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004919      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004927      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004935      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004943      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004951      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004960      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004978      Y         $7,956.32         $15,233.21          $18,195.12          $27,078.80          $16,672.03          $14,446.13          $35,807.89          $10,329.00          $81,609.28            $227,327.78
  70004986      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70004994      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005001      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005010      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005028      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005036      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005044      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005052      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005060      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005079      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005087      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005095      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005109      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005117      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005125      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005133      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005150      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005168      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005176      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005184      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005192      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005206      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70005214      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005222      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005230      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005249      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005257      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005265      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005273      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005281      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005290      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005303      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005311      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005320      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005338      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005346      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005354      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005362      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005370      Y         $60,683.04       $116,184.05         $138,774.59         $206,530.67         $127,157.98         $110,180.97         $273,107.62          $78,779.55         $622,435.92           $1,733,834.38
  70005389      Y           $23.99           $45.94              $54.87              $81.66              $50.28              $43.57              $107.99              $31.15             $246.11                $685.56
  70005397      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005400      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005419      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005427      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005435      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005443      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005451      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005460      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005478      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005486      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005494      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005508      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005516      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005524      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005532      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005540      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005559      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005567      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005575      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005583      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005591      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005605      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005613      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005621      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70005630      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70005648      Y          $346.76           $663.91             $793.00            $1,180.18            $726.62             $629.61            $1,560.61            $450.17            $3,556.78              $9,907.63
  70005656      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005664      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005672      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005680      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005699      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005702      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005710      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005729      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005737      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005745      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005753      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005761      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005770      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005788      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005796      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005800      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005818      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005826      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005834      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005842      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005850      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005869      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005877      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005885      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005893      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005907      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005915      Y        $12,499.70        $23,931.99          $28,585.27          $42,541.90          $26,192.44          $22,695.45          $56,255.64          $16,227.28          $128,211.49            $357,141.15
  70005923      Y           $3.05             $5.84               $6.97              $10.37               $6.39               $5.53              $13.72               $3.96              $31.26                 $87.08
  70005931      Y        $15,784.40        $30,220.89          $36,096.96          $53,721.14          $33,075.34          $28,659.41          $71,038.61          $20,491.52          $161,903.15            $450,991.41
  70005940      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005958      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005966      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005974      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70005982      Y        $55,916.71        $107,058.41         $127,874.58         $190,308.78         $117,170.40         $101,526.84         $251,656.47         $72,591.83          $573,546.89           $1,597,650.92
  70005990      Y        $142,041.97       $271,954.26         $324,832.37         $483,430.34         $297,641.14         $257,902.72         $639,268.30         $184,400.81        $1,456,947.82          $4,058,419.74
  70006008      Y         $5,991.83        $11,471.99          $13,702.58          $20,392.80          $12,555.56             $0.00               $0.00               $0.00               $0.00               $64,114.76
  70006016      Y        $22,319.82        $42,733.63          $51,042.65          $75,964.00          $46,769.95          $40,525.64          $100,451.65         $28,975.89          $228,938.02            $637,721.25
  70006024      Y          $346.76           $663.91             $793.00            $1,180.18            $726.62             $629.61            $1,560.61            $450.17            $3,556.78              $9,907.63
  70006032      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006040      Y         $2,052.70         $3,930.10           $4,694.26           $6,986.21           $4,301.31           $3,727.04           $9,238.28           $2,664.84          $21,054.84             $58,649.58
  70006059      Y          $13.83            $26.48              $31.62              $47.06              $28.98              $25.11              $62.23              $17.95              $141.84                $395.09
  70006067      Y         $4,780.85         $9,153.45          $10,933.22          $16,271.32          $10,018.02           $8,680.50          $21,516.52           $6,206.57          $49,038.01             $136,598.46

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70006075      Y        $121,273.41       $232,190.69         $277,337.27         $412,745.96         $254,121.78         $220,193.69         $545,798.20         $157,438.79        $1,243,921.37          $3,465,021.17
  70006083      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006091      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006105      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006113      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006121      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006130      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006148      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006156      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006164      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006172      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006180      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006199      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006202      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006210      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006229      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006237      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006245      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006253      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006261      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006270      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006288      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006296      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006300      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006318      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006326      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006334      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006342      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006350      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006369      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006377      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006385      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006393      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006407      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006415      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006423      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006431      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006440      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006458      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006466      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006474      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006482      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006490      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70006504      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006512      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006520      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006539      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006547      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006555      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006563      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006571      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006580      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006598      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006601      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006610      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006628      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006636      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006644      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006652      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006660      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006679      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006687      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006695      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006709      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006717      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006725      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006733      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006741      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006750      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006768      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006776      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006784      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006792      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006806      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006814      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006822      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006830      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006849      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006857      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006865      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006873      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006881      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006890      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006903      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006911      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006920      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 73 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

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                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70006938      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006946      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006954      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006962      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006970      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006989      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70006997      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007004      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007012      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007020      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007039      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007047      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007055      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007063      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007071      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007080      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007098      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007101      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007110      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007128      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007136      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007144      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007152      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007160      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007179      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007187      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007195      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007209      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007217      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007225      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007233      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007241      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007250      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007268      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007276      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007284      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007292      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007306      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007314      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007322      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007330      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007349      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007357      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70007365      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007373      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007381      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007390      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007403      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007411      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007420      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007438      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007446      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007454      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007462      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007470      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007489      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007497      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007500      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007519      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007527      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007535      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007543      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007551      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007560      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007578      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007586      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007594      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007608      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007616      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007624      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007632      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007640      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007659      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007667      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007675      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007683      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007691      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007705      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007713      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007721      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007730      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007748      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007756      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007764      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007772      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007780      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70007799      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007802      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007810      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007829      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007837      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007845      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007853      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007861      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007870      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007888      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007896      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007900      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007918      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007926      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007934      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007942      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007950      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007969      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007977      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007985      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70007993      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008000      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008019      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008027      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008035      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008043      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008051      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008060      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008078      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008086      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008094      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008108      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008116      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008124      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008132      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008140      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008159      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008167      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008175      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008183      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008191      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008205      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008213      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70008221      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008230      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008248      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008256      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008264      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008272      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008280      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008299      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008302      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008310      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008329      Y         $10,402.81        $19,917.27          $23,789.93          $35,405.26          $21,798.51          $18,888.17          $46,818.45          $13,505.06         $106,703.30            $297,228.75
  70008337      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008345      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008353      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008361      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008370      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008388      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008396      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008400      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008418      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008426      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008434      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008442      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008450      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008469      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008477      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008485      Y          $7,277.83        $13,934.18          $16,643.50          $24,769.62          $15,250.30          $13,214.21          $32,754.32           $9,448.18         $74,649.93             $207,942.07
  70008493      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008507      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008515      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008523      Y           $44.50            $85.20             $101.77             $151.46              $93.25              $80.80             $200.28              $57.77             $456.46               $1,271.50
  70008531      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008540      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008558      Y            $1.70             $3.25              $3.88               $5.77                $3.55               $3.08              $7.64                $2.20             $17.40                 $48.47
  70008566      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008574      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008582      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008590      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008604      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008612      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008620      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008639      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  70008647      N            $0.00             $0.00              $0.00               $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70008655      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008663      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008671      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008680      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008698      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008701      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008710      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008728      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008736      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008744      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008752      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008760      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008779      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008787      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008795      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008809      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008817      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008825      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008833      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008841      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008850      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008868      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008876      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008884      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008892      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008906      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008914      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008922      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008930      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008949      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008957      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008965      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008973      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008981      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70008990      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009007      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009015      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009023      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009031      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009040      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009058      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009066      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009074      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70009082      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009090      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009104      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009112      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009120      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009139      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009147      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009155      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009163      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009171      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009180      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009198      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009201      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009210      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009228      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009236      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009244      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009252      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009260      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009279      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009287      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009295      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009309      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009317      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009325      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009333      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009341      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009350      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009368      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009376      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009384      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009392      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009406      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009414      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009422      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009430      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009449      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009457      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009465      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009473      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009481      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009490      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009503      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70009511      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009520      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009538      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009546      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009554      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009562      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009570      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009589      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009597      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009600      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009619      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009627      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009635      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009643      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009651      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009660      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009678      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009686      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009694      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009708      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009716      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009724      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009732      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009740      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009759      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009767      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009775      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009783      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009791      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009805      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009813      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009821      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009830      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009848      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009856      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009864      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009872      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009880      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009899      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009902      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009910      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009929      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009937      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 80 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70009945      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009953      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009961      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009970      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009988      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70009996      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010005      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010013      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010021      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010030      Y          $354.88           $679.46             $811.57            $1,207.82            $743.64             $644.35            $1,597.17            $460.71            $3,640.10             $10,139.72
  70010048      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010056      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010064      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010072      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010080      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010099      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010102      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010110      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010129      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010137      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010145      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010153      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010161      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010170      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010188      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010196      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010200      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010218      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010226      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010234      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010242      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010250      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010269      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010277      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010285      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010293      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010307      Y           $0.11             $0.20               $0.24               $0.36               $0.22               $0.19               $0.48               $0.14               $1.08                  $3.02
  70010315      Y          $18.71            $35.82              $42.78              $63.67              $39.20              $33.96              $84.19              $24.28              $191.87                $534.48
  70010323      Y           $1.16             $2.23               $2.66               $3.96               $2.44               $2.11               $5.24               $1.51              $11.93                 $33.24
  70010331      Y          $21.65            $41.46              $49.52              $73.70              $45.37              $39.32              $97.45              $28.11              $222.11                $618.69
  70010340      Y           $2.84             $5.44               $6.49               $9.67               $5.95               $5.16              $12.78               $3.69              $29.13                 $81.14
  70010358      Y        $121,366.08       $232,368.10         $277,549.18         $413,061.34         $254,315.96         $220,361.93         $546,215.24         $157,559.09        $1,244,871.84          $3,467,668.75
  70010366      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 81 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70010374      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010382      Y        $12,797.47        $24,502.11          $29,266.24          $43,555.34          $26,816.40          $23,236.11          $57,595.79          $16,613.85          $131,265.79            $365,649.11
  70010390      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010404      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010412      Y          $87.76            $168.02             $200.69             $298.68             $183.89             $159.34             $394.96             $113.93             $900.14               $2,507.39
  70010420      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010439      Y        $23,926.46        $45,809.71          $54,716.84          $81,432.09          $50,136.57          $43,442.78          $107,682.43         $31,061.65          $245,417.59            $683,626.13
  70010447      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010455      Y         $4,723.73         $9,044.08          $10,802.58          $16,076.90           $9,898.32           $8,576.78          $21,259.43           $6,132.41          $48,452.07             $134,966.29
  70010463      Y         $2,760.43         $5,285.14           $6,312.77           $9,394.95           $5,784.34           $5,012.07          $12,423.50           $3,583.63          $28,314.23             $78,871.08
  70010471      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010480      Y          $447.29           $856.38            $1,022.89           $1,522.32            $937.27             $812.13            $2,013.05            $580.68            $4,587.91             $12,779.90
  70010498      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010501      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010510      Y          $209.17           $400.48             $478.35             $711.91             $438.31             $379.79             $941.40             $271.55            $2,145.52              $5,976.49
  70010528      Y         $3,782.14         $7,241.31           $8,649.29          $12,872.27           $7,925.28           $6,867.16          $17,021.76           $4,910.03          $38,794.07             $108,063.33
  70010536      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010544      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010552      Y         $8,322.25        $15,933.81          $19,031.94          $28,324.21          $17,438.81          $15,110.53          $37,454.76          $10,804.05          $85,362.64             $237,783.00
  70010560      Y         $1,667.97         $3,193.51           $3,814.45           $5,676.84           $3,495.15           $3,028.51           $7,506.82           $2,165.39          $17,108.69             $47,657.33
  70010579      Y           $7.49            $14.34              $17.13              $25.49              $15.70              $13.60              $33.71               $9.72              $76.83                 $214.01
  70010587      Y          $26.54            $50.82              $60.70              $90.34              $55.62              $48.19              $119.46             $34.46              $272.26                $758.41
  70010595      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010609      Y        $22,265.31        $42,629.28          $50,918.01          $75,778.50          $46,655.74          $40,426.67          $100,206.35         $28,905.13          $228,378.96            $636,163.95
  70010617      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010625      Y        $31,193.40        $59,723.03          $71,335.43          $106,164.64         $65,364.05          $56,637.22          $140,387.73         $40,495.69          $319,955.80            $891,256.98
  70010633      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010641      Y         $5,230.90        $10,015.10          $11,962.41          $17,803.01          $10,961.06           $9,497.64          $23,541.97           $6,790.82          $53,654.18             $149,457.09
  70010650      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010668      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010676      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010684      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010692      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010706      Y         $2,785.73         $5,333.57           $6,370.61           $9,481.03           $5,837.34           $5,057.99          $12,537.33           $3,616.47          $28,573.65             $79,593.71
  70010714      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010722      Y        $151,993.18       $291,006.90         $347,589.56         $517,298.62         $318,493.36         $275,970.94         $684,054.31         $197,319.61        $1,559,019.03          $4,342,745.50
  70010730      Y          $36.07            $69.05              $82.48              $122.75             $75.57              $65.48              $162.32             $46.82              $369.93               $1,030.47
  70010749      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010757      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010765      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010773      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010781      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70010790      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70010803      Y         $4,784.26         $9,159.96           $10,941.00          $16,282.90          $10,025.15          $8,686.68           $21,531.83          $6,210.99           $49,072.91            $136,695.68
  70010811      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010820      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010838      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010846      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010854      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010862      Y          $502.51           $962.11             $1,149.18           $1,710.27           $1,052.99           $912.40             $2,261.59           $652.37             $5,154.36            $14,357.78
  70010870      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010889      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010897      Y          $148.89           $285.06              $340.48             $506.72             $311.98            $270.33              $670.07            $193.28             $1,527.14             $4,253.95
  70010900      Y          $360.71           $690.62              $824.90            $1,227.66            $755.85            $654.94             $1,623.40           $468.28             $3,699.88            $10,306.25
  70010919      Y          $22.02            $42.16               $50.36              $74.94              $46.14             $39.98               $99.10             $28.59               $225.86               $629.13
  70010927      Y         $3,098.48         $5,932.37            $7,085.85          $10,545.48           $6,492.70          $5,625.85           $13,944.91          $4,022.49           $31,781.65            $88,529.78
  70010935      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010943      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010951      Y          $88.79            $170.01              $203.06             $302.20             $186.06            $161.22              $399.62            $115.27              $910.77              $2,537.02
  70010960      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010978      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010986      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70010994      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011001      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011010      Y          $599.30          $1,147.42            $1,370.52           $2,039.67           $1,255.80          $1,088.13            $2,697.18           $778.02             $6,147.10            $17,123.14
  70011028      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011036      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011044      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011052      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011060      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011079      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011087      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011095      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011109      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011117      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011125      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011133      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011141      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011150      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011168      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011176      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011184      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011192      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011206      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011214      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00
  70011222      N           $0.00             $0.00                $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                $0.00                 $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70011230      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011249      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011257      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011265      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011273      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011281      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011290      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011303      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011311      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011320      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011338      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011346      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011354      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011362      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011370      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011389      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011397      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011400      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011419      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011427      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011435      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011443      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011451      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011460      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011478      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011486      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011494      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011508      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011516      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011524      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011532      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011540      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011559      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011567      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011575      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011583      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011591      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011605      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011613      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011621      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011630      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011648      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011656      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70011664      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011672      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011680      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011699      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011702      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011710      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011729      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011737      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011745      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011753      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011761      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011770      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011788      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011796      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011800      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011818      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011826      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011834      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011842      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011850      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011869      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011877      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011885      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011893      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011907      Y         $6,085.06         $11,650.50          $13,915.79          $20,710.11          $12,750.92          $11,048.53          $27,386.20          $7,899.71           $62,415.51            $173,862.33
  70011915      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011923      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011931      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011940      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011958      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011966      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011974      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011982      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70011990      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012008      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012016      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012024      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012032      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012040      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012059      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012067      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012075      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012083      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70012091      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012105      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012113      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012121      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012130      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012148      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012156      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012164      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012172      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012180      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012199      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012202      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012210      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012229      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012237      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012245      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012253      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012261      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012270      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012288      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012296      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012300      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012318      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012326      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012334      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012342      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012350      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012369      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012377      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012385      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012393      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012407      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012415      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012423      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012431      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012440      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012458      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012466      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012474      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012482      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012490      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012504      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  70012512      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70012520      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012539      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012547      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012555      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012563      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012571      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012580      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012598      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012601      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012610      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012628      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012636      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012644      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012652      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012660      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012679      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012687      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012695      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012709      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012717      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012725      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012733      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012741      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012750      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012768      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012776      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012784      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012792      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012806      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012814      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012822      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012830      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012849      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012857      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012865      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012873      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012881      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012890      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012903      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012911      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012920      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012938      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                 $0.00
  70012946      Y          $970.15          $1,857.46           $2,218.62           $3,301.86           $2,032.91           $1,761.49           $4,366.24           $1,259.47           $9,951.04             $27,719.23

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  70012954      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70012962      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70012970      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70012989      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70012997      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013004      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013012      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013020      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013039      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013047      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013055      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013063      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013071      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013080      Y           $21.89           $41.91              $50.06              $74.50              $45.87              $39.74              $98.51               $28.42             $224.52                $625.41
  70013098      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013101      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013110      Y          $5,982.80       $11,454.70          $13,681.93          $20,362.07          $12,536.63          $10,862.85          $26,925.95            $7,766.95         $61,366.58             $170,940.47
  70013128      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013136      Y         $68,123.30       $130,429.22         $155,789.55         $231,853.11         $142,748.64         $123,690.10         $306,592.97          $88,438.60         $698,751.93           $1,946,417.43
  70013144      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013152      Y           $27.87           $53.36              $63.74              $94.85              $58.40              $50.60              $125.43              $36.18             $285.87                $796.30
  70013160      Y          $2,036.31        $3,898.73           $4,656.79           $6,930.45           $4,266.98           $3,697.29           $9,164.53            $2,643.57         $20,886.77             $58,181.40
  70013179      Y           $233.22          $446.53             $533.35             $793.76             $488.71             $423.46            $1,049.64             $302.77           $2,392.22              $6,663.67
  70013187      Y          $9,973.43       $19,095.18          $22,808.00          $33,943.91          $20,898.78          $18,108.56          $44,886.02           $12,947.64         $102,299.12            $284,960.63
  70013195      Y          $9,089.88       $17,403.53          $20,787.43          $30,936.80          $19,047.35          $16,504.31          $40,909.55           $11,800.61         $93,236.40             $259,715.86
  70013209      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  70013217      Y            $0.99            $1.89               $2.25               $3.35               $2.06               $1.79               $4.43                $1.28             $10.11                 $28.15
  70013225      Y            $2.50            $4.79               $5.72               $8.51               $5.24               $4.54              $11.26                $3.25             $25.66                 $71.47
  70013233      Y            $1.22            $2.33               $2.79               $4.15               $2.55               $2.21               $5.48                $1.58             $12.49                 $34.80
  70013241      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  90000030      Y           $45.56           $87.24              $104.20             $155.08             $95.48              $82.73              $205.06              $59.15             $467.36               $1,301.86
  90000170      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  90000188      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  90000218      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  90000234      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  90000269      Y            $0.49            $0.93               $1.11               $1.65               $1.02               $0.88               $2.18                $0.63              $4.98                 $13.87
  90000285      Y            $3.45            $6.61               $7.89              $11.74               $7.23               $6.26              $15.53                $4.48             $35.39                 $98.58
  90000315      Y            $0.08            $0.14               $0.17               $0.26               $0.16               $0.14               $0.34                $0.10              $0.78                  $2.16
  90000331      Y            $0.09            $0.17               $0.20               $0.30               $0.18               $0.16               $0.39                $0.11              $0.89                  $2.48
  90000366      Y            $4.65            $8.90              $10.63              $15.82               $9.74               $8.44              $20.92                $6.03             $47.68                 $132.81
  90000390      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00
  90000439      Y            $1.32            $2.52               $3.01               $4.48               $2.76               $2.39               $5.93                $1.71             $13.52                 $37.65
  90000463      N            $0.00            $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90000617      Y            $3.52             $6.74               $8.05             $11.99                $7.38               $6.40             $15.85                $4.57             $36.13                 $100.64
  90000633      Y            $0.16             $0.30               $0.36              $0.53                $0.33               $0.28              $0.70                $0.20              $1.60                  $4.46
  90000650      Y            $0.62             $1.20               $1.43              $2.12                $1.31               $1.13              $2.81                $0.81              $6.40                 $17.83
  90000684      Y            $1.17             $2.25               $2.68              $3.99                $2.46               $2.13              $5.28                $1.52             $12.04                 $33.54
  90000714      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90000722      Y            $0.28             $0.53               $0.63              $0.94                $0.58               $0.50              $1.25                $0.36              $2.85                  $7.93
  90000790      Y           $15.09            $28.90              $34.52             $51.37               $31.63              $27.40             $67.93               $19.59             $154.81                $431.23
  90000803      Y            $0.18             $0.34               $0.40              $0.60                $0.37               $0.32              $0.80                $0.23              $1.82                  $5.06
  90000811      Y            $9.88            $18.92              $22.60             $33.63               $20.71              $17.94             $44.48               $12.83             $101.37                $282.37
  90000820      Y            $0.20             $0.39               $0.46              $0.69                $0.43               $0.37              $0.91                $0.26              $2.08                  $5.80
  90000838      Y           $10.23            $19.59              $23.39             $34.82               $21.44              $18.57             $46.04               $13.28             $104.92                $292.27
  90000846      Y            $3.32             $6.35               $7.58             $11.29                $6.95               $6.02             $14.92                $4.30             $34.01                 $94.74
  90000854      Y            $2.20             $4.22               $5.04              $7.49                $4.61               $4.00              $9.91                $2.86             $22.59                 $62.91
  90000862      Y           $39.82            $76.23              $91.06             $135.51              $83.43              $72.29             $179.20              $51.69             $408.41               $1,137.64
  90000870      Y            $1.27             $2.42               $2.89              $4.31                $2.65               $2.30              $5.70                $1.64             $12.98                 $36.16
  90000889      Y            $0.49             $0.93               $1.11              $1.65                $1.02               $0.88              $2.19                $0.63              $4.98                 $13.89
  90000943      Y           $11.44            $21.91              $26.17             $38.95               $23.98              $20.78             $51.50               $14.86             $117.37                $326.95
  90000978      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90000986      Y           $36.93            $70.71              $84.45             $125.69              $77.38              $67.05             $166.21              $47.94             $378.80               $1,055.16
  90001010      Y            $0.54             $1.03               $1.23              $1.83                $1.13               $0.98              $2.42                $0.70              $5.51                 $15.36
  90001079      Y            $1.73             $3.32               $3.96              $5.90                $3.63               $3.15              $7.80                $2.25             $17.78                 $49.54
  90001109      Y            $0.46             $0.88               $1.05              $1.57                $0.96               $0.84              $2.07                $0.60              $4.72                 $13.15
  90001117      Y            $1.58             $3.02               $3.61              $5.37                $3.31               $2.86              $7.10                $2.05             $16.18                 $45.08
  90001125      Y            $3.35             $6.42               $7.67             $11.41                $7.02               $6.09             $15.09                $4.35             $34.39                 $95.78
  90001141      Y            $9.36            $17.93              $21.41             $31.86               $19.62              $17.00             $42.14               $12.15             $96.03                 $267.51
  90001150      Y            $0.09             $0.18               $0.21              $0.32                $0.19               $0.17              $0.42                $0.12              $0.95                  $2.65
  90001168      Y            $0.35             $0.66               $0.79              $1.18                $0.73               $0.63              $1.56                $0.45              $3.56                  $9.91
  90001184      Y            $0.26             $0.50               $0.59              $0.88                $0.54               $0.47              $1.17                $0.34              $2.66                  $7.40
  90001192      Y            $2.63             $5.04               $6.02              $8.97                $5.52               $4.78             $11.86                $3.42             $27.02                 $75.26
  90001206      Y            $1.11             $2.12               $2.54              $3.78                $2.33               $2.01              $4.99                $1.44             $11.38                 $31.70
  90001214      Y            $0.92             $1.77               $2.11              $3.14                $1.93               $1.68              $4.16                $1.20              $9.47                 $26.38
  90001230      Y            $3.05             $5.84               $6.97             $10.37                $6.39               $5.53             $13.72                $3.96             $31.26                 $87.08
  90001249      Y            $0.58             $1.12               $1.34              $1.99                $1.23               $1.06              $2.63                $0.76              $6.00                 $16.71
  90001257      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001265      Y            $0.45             $0.86               $1.03              $1.53                $0.94               $0.82              $2.03                $0.59              $4.62                 $12.88
  90001281      Y            $2.82             $5.39               $6.44              $9.59                $5.90               $5.12             $12.68                $3.66             $28.90                 $80.50
  90001290      Y            $4.33             $8.30               $9.91             $14.75                $9.08               $7.87             $19.51                $5.63             $44.46                 $123.85
  90001338      Y            $4.77             $9.13              $10.90             $16.23                $9.99               $8.66             $21.46                $6.19             $48.91                 $136.23
  90001346      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001354      Y            $0.31             $0.59               $0.71              $1.06                $0.65               $0.56              $1.40                $0.40              $3.18                  $8.87
  90001362      Y            $1.42             $2.72               $3.25              $4.84                $2.98               $2.58              $6.40                $1.85             $14.58                 $40.62
  90001370      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001389      N            $0.00             $0.00               $0.00              $0.00                $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 89 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90001397      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001400      Y           $11.10            $21.25              $25.38              $37.77              $23.25              $20.15             $49.94               $14.41             $113.82                $317.04
  90001419      Y            $0.24             $0.45               $0.54               $0.81               $0.50               $0.43              $1.07                $0.31              $2.44                  $6.79
  90001427      Y            $1.08             $2.07               $2.48               $3.69               $2.27               $1.97              $4.88                $1.41             $11.11                 $30.96
  90001435      Y            $1.01             $1.94               $2.32               $3.45               $2.13               $1.84              $4.56                $1.32             $10.40                 $28.98
  90001443      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001451      Y            $0.27             $0.51               $0.61               $0.90               $0.56               $0.48              $1.19                $0.34              $2.72                  $7.58
  90001460      Y           $29.14            $55.79              $66.64              $99.17              $61.06              $52.91             $131.14              $37.83             $298.88                $832.54
  90001478      Y            $5.17             $9.90              $11.83              $17.60              $10.84               $9.39             $23.28                $6.71             $53.05                 $147.79
  90001486      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001494      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001508      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001516      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001524      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001532      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001540      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001559      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001567      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001575      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001583      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001591      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001605      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001613      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001621      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001630      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001648      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001656      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001664      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001672      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001680      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001699      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001702      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001710      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001729      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001737      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001745      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001753      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001761      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001770      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001788      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001796      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001800      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00
  90001818      N            $0.00             $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00              $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90001826      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001834      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001842      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001850      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001869      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001877      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001885      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001893      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001907      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001915      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001923      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001931      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001940      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001958      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001966      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001974      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001982      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90001990      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002008      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002016      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002024      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002032      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002040      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002059      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002067      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002075      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002083      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002091      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002105      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002113      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002121      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002130      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002148      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002156      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002164      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002172      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002180      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002199      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002202      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002210      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002229      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002237      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002245      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90002253      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002261      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002270      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002288      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002296      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002300      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002318      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002326      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002334      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002342      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002350      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002369      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002377      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002385      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002393      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002407      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002415      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002423      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002431      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002440      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002458      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002466      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002474      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002482      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002490      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002504      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002512      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002520      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002539      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002547      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002555      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002563      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002571      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002580      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002598      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002601      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002610      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002628      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002636      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002644      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002652      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002660      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002679      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
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                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90002687      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002695      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002709      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002717      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002725      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002733      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002741      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002750      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002768      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002776      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002784      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002792      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002806      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002814      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002822      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002830      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002849      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002857      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002865      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002873      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002881      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002890      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002903      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002911      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002920      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002938      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002946      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002954      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002962      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002970      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002989      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90002997      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003004      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003012      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003020      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003039      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003047      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003055      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003063      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003071      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003080      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003098      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003101      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 93 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90003110      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003128      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003136      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003144      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003152      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003160      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003179      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003187      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003195      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003209      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003217      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003225      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003233      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003241      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003250      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003268      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003276      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003284      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003292      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003306      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003314      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003322      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003330      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003349      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003357      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003365      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003373      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003381      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003390      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003403      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003411      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003420      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003438      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003446      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003454      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003462      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003470      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003489      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003497      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003500      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003519      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003527      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003535      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 94 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90003543      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003551      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003560      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003578      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003586      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003594      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003608      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003616      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003624      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003632      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003640      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003659      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003667      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003675      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003683      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003691      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003705      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003713      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003721      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003730      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003748      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003756      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003764      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003772      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003780      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003799      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003802      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003810      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003829      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003837      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003845      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003853      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003861      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003870      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003888      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003896      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003900      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003918      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003926      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003934      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003942      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003950      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003969      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

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                                               Case 4:07-cv-05944-JST Document 6005-6 Filed 03/31/22 Page 95 of 96



     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
Final Net Fund Amount:
        Sum Approved
                     $7,202,938,719.97   $7,202,938,719.97   $7,458,815,028.91   $7,202,938,719.97   $6,285,795,184.10   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24   $7,244,689,862.24
          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
Claim ID     Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90003977      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003985      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90003993      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004000      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004019      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004027      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004035      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004043      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004051      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004060      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004078      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004086      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004094      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004108      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004116      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004124      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004132      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004140      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004159      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004167      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004175      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004183      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004191      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004205      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004213      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004221      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004230      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004248      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004256      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004264      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004272      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004280      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004299      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004302      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004310      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004329      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004337      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004345      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004353      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004361      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004370      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004388      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00
  90004396      N           $0.00             $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00               $0.00                  $0.00

                                                                                                                                                                                                                  Page 94 of 95
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     In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST Direct Purchaser Settlements
     All Claims Filed with Strict Pro Rata Share of Individual Settlement Funds Sorted by Claim ID

                         $4,995,385.28    $9,564,189.78       $11,829,645.65      $17,001,459.93      $9,134,731.48       $9,122,593.49       $22,612,342.89      $6,522,667.16       $51,535,487.94
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          Purchases:

                                                                                                                                                                                                         Total Strict Pro Rata
 Claim ID    Payable     Chunghwa            Philips           Panasonic               LG                Toshiba             Hitachi            Samsung             Thomson            Mitsubishi
                                                                                                                                                                                                                Share*
  90004400      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004418      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004426      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004434      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004442      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004450      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004469      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004477      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004485      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004493      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004507      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004515      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004523      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004531      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004540      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004558      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004566      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004574      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004582      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004590      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004604      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004612      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004620      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004639      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004647      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004655      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004663      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004671      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004680      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004698      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004701      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004710      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004728      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004744      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004752      N           $0.00              $0.00               $0.00               $0.00               $0.00               $0.00               $0.00              $0.00                $0.00                 $0.00
  90004760      Y         $6,935.20         $13,278.18          $15,859.95          $23,603.50          $14,532.34          $12,592.11          $31,212.30          $9,003.38           $71,135.53            $198,152.50
  90004779      Y          $182.45            $349.32             $417.25             $620.96             $382.32             $331.28             $821.14            $236.86             $1,871.44             $5,213.02
  90004787      Y          $855.07           $1,637.12           $1,955.43           $2,910.17           $1,791.75           $1,552.53           $3,848.28          $1,110.06            $8,770.57            $24,430.98


*Note: Individual fund payments are rounded to fractional cents. When single Claim ID individual payments displayed above are added manually, they may sum to                             Total           $142,318,503.60
slightly higher or lower than the Total Strict Pro Rata Share. This is adjusted in the proposed re-calculation described in ⁋34 and Exhibit D by rounding down to
ensure the distribution does not exceed the amount availble to distribute.
                                                                                                                                                                                                                  Page 95 of 95
